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 4
                             UNITED STATES DISTRICT COURT
 5                         NORTHERN DISTRICT OF CALIFORNIA
 6

 7                                                   Case No: 3:22-cv-00142-JSC

 8
     TRI MINH HUYNH,                                 VERIFIED FIRST AMENDED COM-
 9                                                   PLAINT FOR DAMAGES FOR:
     Plaintiff,
10                        v.                         1.   Violations of the Racketeer Influ-
                                                          enced and Corrupt Organizations
11   Walmart INC., a Delaware Corporation;                Act (18 U.S.C. § 1962(c));
     WAL-MART.COM USA LLC, a California
12                                                   2.   Violations of the Racketeer Influ-
     Limited Liability Corporation; Doug McMil-           enced and Corrupt Organizations
13   lon; Brett Biggs; Marc Lore; GIBSON,                 Act (18 U.S.C. § 1962(d));
     DUNN & CRUTCHER LLP a Limited Lia-
14                                                   3.   Bivens Actions;
     bility Partnership; Theodore J. Boutrous Jr.;
15   Rachel S. Brass; Eugene Scalia; Mark Mar-
     chione; The deRubertis Law Firm, APC is a             JURY TRIAL DEMANDED
16   Professional Law; David deRubertis; Kari
17   deRubertis; Epig eDiscovery Solutions, Inc.;
     Douglas Kasales; Kathy von Lindern; Light-
18   house Document Technologies, Inc.; Renee
19   Quezada ; Orrick Herrington & Sutcliffe
     LLP a Limited Liability Partnership; Payne
20   & Fears LLP a Limited Liability Partnership;
21   BOFA SECURITIES, INC., a Delaware Cor-
     poration; Robert F. Ohmes; Matthew Boyle.
22

23   Defendant(s).
24

25

26

27

28

              VERIFIED FIRST AMENDED COMPLAINT – DEMAND FOR JURY TRIAL
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 1                                              INTRODUCTION
 2
             “Power Tends to Corrupt and Absolute Power Corrupts Absolutely” Lord Acton.
 3

 4            1.    This case is about the arrogance of power, and the institutionalization of a cul-

 5   ture of greed, dishonesty, and ethical blindness by Walmart’s senior executives to defraud in-
 6   vestors to the tune of $140 Bil then acted criminally in an attempt to cover it up.
 7

 8            2.    This case is not about the fact that Walmart ripped off their shareholders to the
 9   tune of $140 Billion (that is for Walmart’s shareholders to take legal actions against Walmart
10
     and their executives to make their injuries whole). Rather this case is about how the Walmart
11
     Participants formed an association in fact enterprise (The Walmart Shareholder Fraud Cov-
12
     erup Enterprise) with the other RICO Defendants to design and execute a wicked, insidious,
13

14   and nefarious six-pronged illegal coverup scheme to achieve the RICO Enterprise’s common

15   purpose of covering up Walmart massive shareholder fraud and ensures a risk free civil and

16   criminal liabilities future for all of the members of the Enterprise.
17

18            3.    The paragraphs below discussed in details how the RICO Defendants commit-
19   ted numerous predicate acts and overt acts to effectuate the criminal enterprise’s common pur-
20
     pose and, in the process, the RICO Defendants caused injuries to Huynh’s properties, personal
21
     and professional reputation which gave rise to the nine causes of actions asserted in this litiga-
22
     tion.
23

24
              4.    In this complaint, DC Dkt referred to the United States District Court, North-
25
     ern District of California Docket for the case Tri Huynh Plaintiff(s) v. WAL-MART
26

27   STORES, INC., et al. Case 3:18-cv-01631-VC.

28
     ‘                                                   2
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 1            5.    In this complaint, COA Dkt referred to the United States Court of Appeals for
 2   the Ninth Circuit Docket for the case TRI MINH HUYNH, Plaintiff-Appellant, v. WAL-
 3
     MART STORES, INC., WAL-MART ASSOCIATES, INC., and WAL-MART.COM, INC.
 4
     Case: 20-15211.
 5

 6
                                                THE PARTIES
 7

 8
     PLAINTIFF
 9

10            6.    Plaintiff Tri Minh Huynh is a citizen of the United States and citizen of the

11   State of Washington. Huynh currently resides in King County - Bellevue, Washington.
12

13   RICO DEFENDANTS

14
              7.    Walmart INC., a Delaware Corporation, headquartered at 702 S.W. 8th Street,
15
     Bentonville AR; WAL-MART.COM USA LLC, a California Limited Liability Corporation,
16
     headquartered at 850 Cherry Avenue, San Bruno, CA. WAL-MART.COM USA LLC is a
17

18   wholly-owned subsidiaries of Walmart, INC. (collectively, “Walmart”). Walmart is being

19   sued for the conducts of its employees, board of directors, and agents.
20
              8.    Defendant Doug McMillon (“McMillon”) is an individual residing in Benton-
21

22   ville, Arkansas. McMillon is being sued in his official and individual capacity.

23
              9.    Defendant Brett Biggs (“Biggs”) is an individual residing in Bentonville, Ar-
24
     kansas. Biggs is being sued in his official and individual capacity.
25

26
              10.   Defendant Marc Lore (“Lore”) is an individual residing in New York City,
27
     New York. Lore is being sued in his official and individual capacity.
28
     ‘                                                 3
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 1             11.   Defendant GIBSON, DUNN & CRUTCHER LLP is a Limited Liability Part-
 2   nership located at 333 South Grand Avenue, Los Angeles, CA 90071-3197. Gibson Dunn
 3
     Crutcher is being sue for the conducts of its employees and agents.
 4

 5             12.   Defendant Theodore J. Boutrous Jr. ("Boutrous ") is an individual licensed to
 6   practice law in the State of California under State Bar No. 132099. Boutrous is an individual
 7
     residing in Los Angeles, California. Boutrous is being sued in his official and individual ca-
 8
     pacity.
 9

10             13.   Defendant Rachel S. Brass ("Brass ") is an individual licensed to practice law
11
     in the State of California under State Bar No. 219301. Brass is an individual residing in San
12
     Francisco, California. Brass is being sued in her official and individual capacity.
13

14             14.   Defendant Eugene Scalia ("Scalia ") is an individual licensed to practice law in
15   the State of California under State Bar No. 151540. Scalia is an individual residing in Mc
16
     Lean, Virginia. Scalia is being sued in his official and individual capacity.
17

18             15.   Defendant Mark Marchione (“Marchione”) is an individual residing Bakers-
19   field, California. Marchione is being sued in his individual capacity.
20

21             16.   Defendant The deRubertis Law Firm, APC is a Professional Law Corporation

22   located at 4219 Coldwater Canyon Ave, Studio City, CA 91604-1934 The deRubertis Law

23   Firm, APC. The deRubertis Law Firm, APC. is being sued for the conducts of its employees
24
     and agents.
25

26             17.   Defendant David deRubertis ("deRubertis ") is an individual licensed to prac-

27   tice law in the State of California under State Bar No. 208709. deRubertis is being sued in his
28
     ‘                                                  4
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 1   official and individual capacity.
 2
            18.     Defendant Kari deRubertis ("Kari deRubertis ") is an individual residing in
 3

 4   Studio City, California. Kari deRubertis being sued in her individual capacity.

 5
            19.     Defendant EPIQ EDISCOVERY SOLUTIONS, INC., a DELAWARE Corpo-
 6
     ration, locate at 777 3rd Ave, 12th Floor, New York, New York 10017, is being sued for the
 7

 8   conducts of its employees and agents.

 9
            20.     Defendant Douglas Kasales ("Kasales "). Kasales is an individual believed to
10
     be residing in Henderson, Nevada. Kasales is being sued in his official and individual capac-
11

12   ity.

13
            21.     Defendant Kathy von Lindern ("Lindern "). Lindern is an individual residing in
14
     Hermosa Beach, California. Lindern is being sued in her official and individual capacity.
15

16          22.     Defendant LIGHTHOUSE DOCUMENT TECHNOLOGIES, INC., a WASH-
17
     INGTONH State Corporation, head Quarter at 51 University Street, Suite 400, Seattle, WA
18
     98101, is being sued for the conducts of its employees and agents.
19

20          23.     Defendant Renee Quezada (“Quezada”) is an individual residing Bakersfield,
21
     California. Quezada is being sued in her official and individual capacity.
22

23          24.     Defendant Orrick Herrington & Sutcliffe LLP is a Limited Liability Partner-

24   ship located at 405 Howard Street San Francisco, CA. Orrick Herrington & Sutcliffe LLP is
25
     being sued for the conducts of its employees and agents.
26

27          25.      Defendant Payne & Fears LLP is a Limited Liability Partnership located at 4

28   Park Plaza, Suite 1100 Irvine, CA 92614. Payne & Fears LLP is being sued for the conducts
     ‘                                              5
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 1   of its employees and agents.
 2
              26.    BOFA SECURITIES, INC., a Delaware Corporation, located at 1 BRYANT
 3

 4   PARK, NEW YORK, NY, 10036, is being sued for the conducts of its employees and agents.

 5
              27.    Defendant Robert F. Ohmes (“Ohmes”) is an individual believed to be residing
 6
     in the State of New York. Ohmes is being sued in his official and individual capacity.
 7

 8
              28.    Defendant Matthew Boyle (“Boyle”) is an individual believed to be residing in
 9
     the State of New York. Boyle is being sued in his individual capacity
10

11                                   Subject Matter Jurisdiction and Venue
12

13            29.    This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 be-

14   cause this action arises under the laws of the United States, and 18 U.S.C. § 1964(c), because

15   this action alleges violations of the Racketeer Influenced Corrupt Organizations Act
16   (“RICO”), 18 U.S.C. § 1962.
17

18            30.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2), as a substantial

19   number of the events giving rise to this action occurred in this District, and/or a substantial
20   part of property that is the subject of the action is situated in the District.
21

22

23

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     ‘                                                    6
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 1                                         Statement of Facts
 2
                         Walmart’s $140 Billion Shareholder Fraud Scheme
 3

 4
              31.   Long before the rise of Jeff Bezos and the Amazon machine, Walmart was
 5
     struggling to grow its new store sales and same store sales starting in the early 2000’s and
 6
     continued to the early part of 2010’s. The slower sales growth was due to geographic con-
 7

 8   straints, cannibalizations, and high-income customer constraint and other competitive factors

 9   i.e., from Dollar Stores and pure play online retailers like Amazon.com. See Exhibit 1 at page

10   21-22.
11

12            32.   Walmart’s senior executives attempted to fix these problems by broadening its

13   general merchandise offerings, specifically in the Apparel and Home Categories, to get the

14   Walmart’s selective customers who shopped most of their grocery and consumer products
15   from Walmart but spent very little on Walmart’s General Merchandise products. These cus-
16
     tomers, instead shopped for General Merchandise products from other retailers like Best Buy
17
     and increasing from pure online players like Amazon.com. However, despite Walmart’s ef-
18
     forts to get the selective customers to cross the grocery and consumable aisles to the general
19

20   merchandise aisles to shop Walmart’s apparel and home products, Walmart had little success.

21
              33.   As a result of Walmart’s inability to accelerate growth and broaden its general
22
     and merchandise product appeals with the mid and high-income customer segments, investors
23

24   pushed down Walmart’s PE Ratio from a height of roughly 40 in the late 1990’s to about 16

25   (a 20+ turns drop). See Exhibit 1 at page 12, 19, and 34.

26
              34.   To make matter worse for Walmart, Jeff Bezos and the Amazon machine came
27
     out of nowhere and dominated the online General Merchandise categories as more and more
28
     ‘                                              7
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 1   and more of customers’ purchasing dollars for General Merchandise products shifted from
 2   physical retails to online retail. See Exhibit 1 at page 22. Analysts and investors were wor-
 3
     ried that many of the pureplay physical retailers may not be able to survive the Amazon’s re-
 4
     tail apocalypse (i.e., these retailers were put in the non-survival bucket. For example, Circuit
 5
     City and Border Book Stores went out of business).
 6

 7
            35.      In an effort to grow its online business, Walmart made significant invest-
 8
     ments (burning a lot of money) between 2012 and 2016. During this period, Walmart’s
 9
     Global Ecommerce Sales grew from about $6 Billion to $13.7 Billon. However, despite these
10

11   significant losses, Walmart’s Global Ecommerce growth rate dropped from 27% in Q1 FY15

12   to about 10% in Q3 FY16. Investors reacted negatively and sent Walmart’s stock price down-

13   ward by 10% on Oct 14, 2015 due to Walmart’s slower reported Ecommerce Quarterly Sales
14   Growth. Investors put Walmart in the “non-survival” retailer bucket.
15

16          36.     To purportedly shifted investors’ and analysts’ perception of Walmart from a

17   “non-survival” retailer bucket to a company that would be an alternative to Amazon, McMil-
18   lon and team communicated to investors and analysts Walmart’s new Ecommerce basket
19
     strategies. In this new strategy, Walmart will not only grow its Ecommerce Sales but do so
20
     with an eye toward future profitability by getting customers to buy high margin “General
21
     Merchandise” products on Walmart.com from the Marketplace and 1P General Merchandise
22

23   assortment, something that Walmart failed to do in the physical world.

24
            37.     To execute this strategy, Walmart laid out a two prong approaches. First,
25
     Walmart would offer online grocery and consumable products at very competitive prices ver-
26
     sus other competitors (either at a loss or low margin to Walmart. See Exhibit 1 at page 29 and
27

28   31) to lure customers to place their orders for grocery and consumable products on Walmart’s
     ‘                                                  8
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 1   grocery apps (not integrated with Walmart.com) then come to Walmart stores’ parking lot to
 2   pick up their orders. Second, Walmart leveraged these customers traffics to drive these cus-
 3
     tomers to Walmart.com where they would by high margin General Merchandise Products
 4
     from Walmart’s Marketplace Sellers’ and Walmart’s own 1P products. See Exhibit 1 at 30.
 5
     Therefore, Walmart purportedly communicated to investors that Walmart will not only accel-
 6

 7   erate its Ecommerce sales but will also improve its profitability.

 8
              38.   To purportedly prove to investors and analysts, its Ecommerce Basket Strategy
 9
     worked, Walmart’s executives purportedly showed Walmart’s Ecommerce explosive sales
10

11   growth during FY18 from an average Quarterly Ecommerce Sales growth rate of roughly 16%

12   to an average growth rate of 58% (See Exhibit 1 at 34). However, Huynh recently discovered

13   that Walmart reported inflated Ecommerce sales growth in FY18 by artificially inflation of
14   Jet.com’s Ecommerce Sales for FY17 and FY18).
15

16            39.   Walmart executives also made misleading statements about the total number of

17   SKUs on Walmart’s Marketplace (See Exhibit 1 at 48) to investors and analysts in FY17,
18   knowing that investors relied on this material metric to assess Walmart’s future eCommerce
19
     profitability outlook and value Walmart’s stock price. Walmart’s executives then purportedly
20
     correlated the accelerated Marketplace SKU growth to faster Walmart’s Marketplace Sales
21
     growth. See Exhibit 1 at 43. Walmart then assert that Walmart’s Marketplace is highly profit-
22

23   able. See Exhibit 1 at page 44. However, it is important to note that Walmart’s Marketplace

24   sales was quite small in FY 17 roughly 100 Mil (($1 Bil GMV * 10% commission fee). Even

25   by FY2020, Walmart’s Marketplace sales was only about 250 Mil (FY20 = 2.5*1 Bil*10% =
26   roughly 250 Mil). These misleading statements were made to investors and analysts during
27

28
     ‘                                                  9
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 1   Walmart’s Quarterly Earnings Calls and Walmart’s Annual Meeting with the investment com-
 2   munity during FY17. Investors and analysts relied and cited on this material assortment met-
 3
     ric as one of the key reasons to expand Walmart’s PE multiples and Market Cap as they be-
 4
     lieved Walmart’s Ecommerce will improve over time. See Exhibit 1 at page 45 to 47. Exhibit
 5
     2 at 17.
 6

 7
                40.   Based on the purportedly explosive Ecommerce quarterly sales growth and
 8
     purportedly growth in the high margin Walmart’s Marketplace business, investors no longer
 9
     categorized Walmart in the “Non-Survival Retailer” bucket. See Exhibit 1 at page 35 and 41.
10

11   As a result, Walmart Market Cap increase by roughly $140 Billion during this misleading pe-

12   riod. See Exhibit 1 at page 35 and 47.

13
     Huynh Submitted Hundreds of Pages of High-Quality Original Analyses and Documen-
14   tary Evidence to the SEC to Prove That Walmart Violated Rule 10b-5
15
                41.   Between Mid-2017 to late Sept 2018, Huynh submitted hundreds of pages of
16
     original analyses and documentary evidence to prove to the SEC that Walmart’s senior execu-
17
     tives knowingly made misleading statements of material facts regarding the total number of
18

19   SKUs on Walmart Marketplace at Walmart’s Q2 FY17 earning calls and Walmart’s Annual

20   Meeting with the investment community on Oct 2016, knowing that investors and analysts re-

21   lied on this critical metric to value Walmart Market Cap and Stock Price. The total number of
22
     SKUs on Walmart’s Marketplace is a material metric because investors and analysts relied on
23
     this metric to assess Walmart’s Ecommerce profit outlooks to value Walmart’s stock. See Ex-
24
     hibit 7 at 6; Exhibit 3 at page 7-8; Exhibit 4; Exhibit 5 at page 4.
25

26

27

28
     ‘                                                  10
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 1
                     Inflated Total Number of SKUs on Walmart’s Marketplace
 2
      Time         Walmart’s Reported Inflated Total # Walmart’s Senior Executives Knew the
 3                 of SKUs on Its Marketplace          Falsity of These Reported Numbers
 4    Jan 2016     McMillion reported to investors that   Seth Beal emailed McMillon and in-
 5    (Begin-      Walmart Marketplace had 8 Mil SKUs formed him that Walmart Marketplace
      ning of      when in fact it only had 6.2 Mil SKUs had 6.2 Mil SKUs. Exhibit 7 at 8.
 6    FY17)        (1.8 Mil SKUs inflation). See Exhibit
                   7 at page 6-7 and 9. Exhibit 8 at 4-5.
 7
                   See Exhibit 10 – Walmart’s FY17
 8                 10K showed that Walmart.com had 8
                   Mil SKUs not Marketplace.
 9
      Aug          McMillon reported to investors that       Beal emailed to McMillion that Walmart
10
      2016 (Q2     Walmart’s Marketplace had 15 Mil          Marketplace had 10.9 Mil SKUs not 15
11    FY17)        SKUs when in fact it only had 10.9        Mil on July 30, 2016 (end of Q2 FY17).
                   Mil SKUs (4.1 Mil SKUs inflation).        See Exhibit 8 at 22.
12
                   See Exhibit 8 at 5-6 and 23-24.
13
      Oct 2016     McMillon reported to investors that       Beal emailed McMillion on Oct 2, 2016
14
                   Walmart’s Marketplace had 20 Mil          that Walmart Marketplace had 16.5 Mil
15                 SKUs when in fact it only had 16.5        SKUs not 20 Mil SKUs. See Exhibit 8 at
                   Mil SKUs (3.5 Mil inflation). See Ex-     26-27.
16
                   hibit 8 at 5-6, 25-26, and 31
17

18
             42.    There are three critical questions that Huynh needed to answer. First, could the
19

20   SEC use the evidence that Huynh provided to them to prove in Federal Court that Walmart is

21   civilly liable for violating Rule 10b-5 as a matter of law?
22
             The Evidence Huynh Submitted to the SEC Proved With Ease That Walmart Is
23
             Civilly Liable for Violation of section 10(b) and Rule 10b-5
24
             43.    To obtain judgement against Walmart for violation of section 10(b) and Rule
25
     10b-5, the SEC must prove by preponderance of evidence that Walmart has made misleading
26

27   statements of material fact or omission of material fact, made with scienter." Ponce v. SEC,

28   345 F.3d 722, 729 (9th Cir. 2003) (quoting SEC v. Fehn, 97 F.3d 1276, 1289 (9th Cir. 1996))
     ‘                                              11
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 1   (internal quotation marks omitted); see also SEC v. Rana Research, Inc., 8 F.3d 1358, 1364
 2   (9th Cir. 1993) (discussing the elements the SEC must prove to establish a misrepresentation
 3
     violating Rule 10b-5), and they were made in connection with the purchase or sale of a secu-
 4
     rity. See McGann v. Ernst *29 & Young, 102 F.3d 390, 393 (9th Cir. 1996) (quoting Wessel
 5
     v. Buhler, 237 F.2d 279, 282 (9th Cir. 1971)).
 6

 7
            No 1: A material misrepresentation or omission
 8

 9          44.     Misleading: “[A] statement is misleading if it would give a reasonable inves-

10   tor the impression of a state of affairs that differs in a material way from the one that actually
11
     exists.” Berson v. Applied Signal Tech., Inc., 527 F.3d 982, 985 (9th Cir. 2008).
12

13          45.     Materiality: In Basic Inc. v. Levinson, 485 U.S. 224, 231 (1988), the Supreme

14   Court adopted the standard for materiality developed in TSC Industries, Inc. v. Northway,
15   Inc., 426 U.S. 438, 449 (1976), (whether a reasonable shareholder would “consider it im-
16
     portant” or whether the fact would have “assumed actual significance”) as the standard for ac-
17
     tions under 15 U.S.C. § 78j(b). Ninth Circuit: Kaplan v. Rose, 49 F.3d 1363, 1371 (9th Cir.
18
     1994) (applying test of whether omission or misrepresentation would have misled reasonable
19

20   investor about nature of his or her investment); McGonigle v. Combs, 968 F.2d 810, 817 (9th

21   Cir. 1992) (applying test of whether there was substantial likelihood that, under all the cir-

22   cumstances, omitted fact would have assumed actual significance in deliberations of reasona-
23
     ble shareholder)
24

25          No 2: Scienter

26
            46.     Scienter may be established, therefore, by showing that the defendants knew
27

28
     ‘                                                  12
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 1   their statements were false, or by showing that defendants were reckless as to the truth or fal-
 2   sity of their statements. See Ponce, 345 F.3d at 72930 (scienter is established where defend-
 3
     ants make "statements that they know, or are reckless in not knowing, are false"); In re Van-
 4
     tive Corp. Sec. Litig., 283 F.3d 1079, 1085 (9th Cir. 2002) (scienter is established where "the
 5
     defendant made false or misleading statements either intentionally or with deliberate reckless-
 6

 7   ness"), abrogation on other grounds recognized by South Ferry LP, No. 2 v. Killinger, 542

 8   F.3d 776, 784 (9th Cir. 2008); United States v. Farris, 614 F.2d 634, 638 (9th Cir. 1979)

 9   ("[T]he reckless disregard for truth or falsity is sufficient to sustain a finding of securities
10
     fraud.").
11

12           No 3: In connection with the purchase or sale of a security

13
             47.     " A statement is made "in connection with" purchase or sale of securities if it
14
     was made "in a manner reasonably calculated to influence the investing public." McGann v.
15

16   Ernst *29 & Young, 102 F.3d 390, 393 (9th Cir. 1996) (quoting Wessel v. Buhler, 237 F.2d

17   279, 282 (9th Cir. 1971)). Therefore, Walmart make misleading statements of material facts
18   during its Quarterly Earnings Call, Meeting with Analysts, and Annual Meetings etc. satisfied
19
     this requirement.
20

21           SEC’s Burden of Production Against Walmart in a Rule 10b-5 Action

22
             48.     Production Burden. A party has the production burden when, if he allows the
23

24   evidence to stay as it is, the factual issue will be concluded against him by the judge (regard-

25   less of the jurors) as a “matter of law.” This is all that “production burden” means. Whether a

26   burden of production has been satisfied is only for the judge to decide. Satisfaction of a
27   party’s production burden merely and solely means the judge will not direct a verdict or make
28
     ‘                                                   13
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 1   an equivalent peremptory legal ruling that would foreclose jury consideration of that party’s
 2   case or issue (i.e., the evidence is enough to get a reasonable trier of facts to rule for the party
 3
     that bear the burden production. This usually means that the evidence produced is substantial
 4
     i.e., more than mere scintilla of evidence but less than preponderance of evidence). In other
 5
     words, a determination that the burden of production of evidence has been carried means the
 6

 7   party’s case (or the particular issue on which the burden has been satisfied) will survive

 8   enough to be able to “get to the jury” for resolution, rather than being thrown out beforehand

 9   by the judge.
10

11           49.     It is obvious that as to most issues, the plaintiff in a civil case bears the produc-

12   tion burden initially, in that if no evidence on the issue is adduced, they will suffer a peremp-

13   tory ruling. The adduction of sufficient evidence by plaintiff to get to the jury (i.e., a reasona-
14   ble trier of fact could rule for the plaintiff of the factual issue) does not shift the production
15
     burden to the defendant. Only when plaintiff’s evidence is so overwhelming that it permits
16
     no reasonable contrary conclusion (thus subjecting defendant to the specter of a peremptory
17
     ruling if the evidence remains in that state) do we say the production burden has shifted to
18

19   defendant.

20
             The SEC Would Be Able to Prove With Ease That as a Matter of Law, Walmart
21           Is Liable for Violating Rule 10b-5
22
             50.     The Burden of Production Adduced by the SEC (Using Huynh’s Evidence) Is
23
     So Overwhelming That a Federal Court Will Render Judgement Against Walmart as Matter of
24
     Law for Violation of section 10(b) and Rule 10b-5.
25

26           Element No 1: Misleading Statements of Material Facts
27

28           51.     The evidence discussed in paragraph 47, proved with ease that Walmart and
     ‘                                                14
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 1   Walmart’s Senior Executives made misleading statements of material facts to investors re-
 2   garding the total number of SKUs on Walmart Marketplace and this metric is material to
 3
     Walmart’s investors.
 4

 5          Element No 2: Scienter
 6
            52.    The evidence discussed in paragraph 45 above, the third column of the table,
 7

 8   proved beyond reasonable doubt that Doug McMillion and Walmart knew the falsity of the

 9   reported Marketplace assortment metric he reported to investors in Jan 2016, Aug 2016, and

10   Oct 2016. However, Mr. McMillon intentionally made these misleading statements to deceive
11
     investors and analysts to drive up Walmart’s Market Cap by $140 Bil
12

13          Element No 3: In connection with the purchase or sale of a security

14
            53.    Walmart and Doug McMillion made misleading statements to investors and
15
     analysts during Walmart’s Quarterly earnings call and Walmart’s annual meeting with the in-
16

17   vestment community. Therefore, it proved beyond reasonable doubt that these statements

18   were made in connection with the purchase or sales of Walmart’s stock.
19
            54.    In short, giving the strength of the evidence produced by the SEC to support
20

21   their rule 10b-5 claim against Walmart, the burden of production shifted to Walmart to prove

22   the non-existence of the three legal elements above. However, since the evidence proved be-

23   yond reasonable that Walmart was liable for violating Rule 10b-5, Walmart had no evidence
24
     to rebut the SEC’s production.
25

26          The SEC Should Have Levied a $500,000,000 Civil Penalty Against Walmart Inc.

27
            55.    Second, given that Walmart is liable for violating section 10(b) and Rule 10b-
28
     ‘                                               15
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 1   5, how much money should the SEC levied against Walmart? A recent SEC enforcement ac-
 2   tion against Wells Fargo in February 21, 2020 is instructive to answer this question. See Ex-
 3
     hibit 10 and Exhibit 11 for details. Wells Fargo was fined $500,000,000 for making mislead-
 4
     ing statements of material facts to investors regarding the cross-sell metrics in Wells Fargo
 5
     Community Bank business segment. Below are extracts from the SEC’s ORDER INSTITUT-
 6

 7   ING CEASE-ANDDESIST PROCEEDINGS PURSUANT TO SECTION 21C OF THE SE-

 8   CURITIES EXCHANGE ACT OF 1934, MAKING FINDINGS, AND IMPOSING A

 9   CEASEAND-DESIST ORDER dated February 21, 2020:
10

11          56.     “These proceedings arise out of a fraud committed by Wells Fargo from 2012

12   through 2016, when the Company misled investors regarding the success of the core business

13   strategy of the Community Bank operating segment, its largest business unit. Wells Fargo
14   publicly stated on numerous occasions that its sales strategy was “needs-based.” In other
15
     words, Wells Fargo claimed that its strategy was to sell customers the accounts that they
16
     needed. Well Fargo published a Community Bank “cross-sell metric” in its Annual Reports,
17
     and quarterly and annual filings with the Commission that purported to be the ratio of the
18

19   number of accounts and products per retail bank household. During investor presentations and

20   analyst conferences, Wells Fargo characterized its cross-selling strategy to investors as a key

21   component of its financial success and routinely discussed its efforts to achieve cross-sell
22
     growth. Wells Fargo referred to the Community Bank’s cross-sell metric as proof of its suc-
23
     cess at executing on this core business strategy.”
24

25          57.     Accordingly, it is hereby ORDERED that: A Pursuant to Section 21C of the
26   Exchange Act, Respondent Wells Fargo shall cease and desist from committing or causing
27
     any violations and any future violations of Section 10(b) of the Exchange Act and Rule 10b-5
28
     ‘                                                    16
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 1   thereunder. B. Respondent shall, within 14 days of the entry of this Order, pay a civil money
 2   penalty in the amount of $500,000,000.00 (Five Hundred Million Dollars) to the Securities
 3
     and Exchange Commission. If timely payment is not made, additional interest shall accrue
 4
     pursuant to 31 U.S.C. §3717.
 5

 6          Under Section 15 U.S.C. §78u-6(b)(1) of the Dodd-Frank Act, Huynh Was Enti-
 7          tled to $150 Million in Award from the SEC

 8          58.     The third question was if it were not for the fraudulent coverup scheme and the

 9   predicate acts perpetrated by the RICO Defendants to fraudulent obtain a non-enforcement
10
     letter from the SEC, how much reward Huynh would have received from the SEC. Section 15
11
     U.S.C. §78u-6(b)(1) of the Dodd-Frank Act states: In any covered judicial or administrative
12
     action, or related action, the Commission, under regulations prescribed by the Commission
13
     and subject to subsection (c), shall pay an award or awards to 1 or more whistleblowers who
14

15   voluntarily provided original information to the Commission that led to the successful en-

16   forcement of the covered judicial or administrative action, or related action, in an aggregate
17   amount equal to— (A) not less than 10 percent, in total, of what has been collected of the
18
     monetary sanctions imposed in the action or related actions; and (B) not more than 30 percent,
19
     in total, of what has been collected of the monetary sanctions imposed in the action or related
20
     actions.
21

22
            59.     Given the in-depth original analyses and documentary evidence Huynh pro-
23
     vided to the SEC to prove that Walmart violated Rule 10b-5 by beyond reasonable, Huynh be-
24
     lieves he should receive get the top range of the reward scale i.e., 30%. 30% of the $500 Mil-
25
     lion civil penalty the SEC levied upon Walmart would equal to $150 Million. In short, but for
26

27   the predicate acts perpetrated by the RICO Defendants Huynh would have been awarded $150

28
     ‘                                                 17
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 1   Mil in reward money from the SEC. Thus, the RICO Defendants robbed Huynh of his prop-
 2   erty worth about $150 Million.
 3

 4          How Did the Walmart’s Shareholder Fraud Cover Up Enterprise Got the SEC to
            Issue Walmart a “Non-Enforcement” Letter?
 5
            60.    Given that Walmart could not attack legal element number 2 and 3 discussed
 6

 7   above, Walmart created a two-prong fraudulent scheme to attack element number 1, i.e.,

 8   Walmart manufactured evidence and lies to purportedly prove that Walmart and Dough

 9   McMillon didn’t make misleading statements when Mr. McMillion fraudulently counted
10
     Walmart’s 1P SKUs as Marketplace SKUs to report inflated Marketplace SKUs in FY17.
11

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     ‘                                              18
            VERIFIED FIRST AMENDED COMPLAINT – DEMAND FOR JURY TRIAL
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 1                Prong #1: Whitewashed Evidence of Marketplace SKUs Inflation
 2
            61.     In late Mar 2017, Huynh began discussions with multiple law firms in order to
 3

 4   select one of them to represent him in his civil lawsuit against Walmart for retaliatory termi-

 5   nation in violation of SOX. One of these law firm Huynh spoke to was the deRubertis Law
 6   Firm, APC. In late March 2017, Huynh presented to David deRubertis legal analyses that sup-
 7
     port his SOX claim against Walmart. Subsequently, deRubertis invited Huynh to meet with
 8
     him in person at his office in Studio City, CA in early April 2017.
 9

10          62.     At the meeting, Huynh informed deRubertis that he has also been working with
11
     Sean McKessy at Phillips & Cohen to submit Huynh’s complaint to the SEC to report
12
     Walmart’s illegal conducts by the end of April 2017. deRubertis became visibly excited
13
     about this news because Huynh believes deRubertis realized that he just stumbled on a
14
     goldmine based on the seriousness of Huynh’s allegations and the risks that Walmart could
15

16   face if the SEC and/or the DOJ successfully investigated into Walmart’s illegal conducts.

17   Huynh estimated the bounty that the Walmart Participants were willing to offer to the other
18   members of the Walmart Shareholder Fraud (WSF) Coverup Enterprise if they effectuated the
19
     Enterprise’s illegal coverup scheme could be as high as one Billion dollars.
20

21          63.      Based on the time line below, Huynh believes that sometime between Apr 4

22   and Apr 13, deRubertis contacted Walmart and the Rescue Squad (the Gibson Dunn’s team
23
     that represented Walmart in the Huynh’s civil and SEC matters. See the discussions regarding
24
     Walmart’s trusted advisors) to inform the Walmart Participants that Huynh was about to sub-
25
     mit serious allegations of shareholder fraud against Walmart to the SEC. Subsequently, start-
26
     ing on Apr 13, 2017, deRubertis began to ask Huynh and McKessy for confidential and non-
27

28   public information Huynh had submitted to the SEC. See Exhibit 13.
     ‘                                              19
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21          64.    Huynh now realized that deRubertis’ behaviors were abnormally weird be-

22   cause a typical Plaintiff employment lawyer would have not asked for specific communica-
23   tions Huynh had with SEC, especially when the allegations of wrong doings could lead the
24
     SEC to uncover one of the largest shareholder fraud cases in US history. Additionally, the in-
25
     formation Huynh submitted to the SEC had no relevance to Huynh’s SOX retaliation claim.
26

27

28
     ‘                                               20
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 1   deRubertis knew this very well because in a June 2014 article published in Advocate Maga-
 2
     zine1 deRubertis wrote the following.
 3

 4       The basic requirements of SOX’s protected activity prong
 5       SOX does not require that the concerns disclosed by the whistleblower were actually
         illegal. Instead, “[t]o encourage disclosure, Congress chose statutory language which en-
 6
         sures that ‘an employee’s reasonable but mistaken belief that an employer engaged in con-
 7       duct that constitutes a violation [of a SOX enumerated statute or rule] is protected.’” (Van
         Asdale, supra, 577 F.3d at 1001 [italics added].)
 8

 9          65.     On April 13, 2,017 deRubertis wanted Huynh to introduce him to Sean

10   McKessy so he could learn about Huynh’s SEC submission under the pretext that he wanted

11   to make sure that there were no overlapped between Huynh’s SEC and civil cases. On
12   4/18/17, David deRubertis had a phone conversation with Sean McKessy then unilaterally
13
     asked McKessy for a copy of Huynh’s upcoming SEC submission. See Exhibit 13. After re-
14
     ceiving the document from McKessy, deRubertis weirdly asked McKessy to hold off filing
15
     the complaint to give deRubertis a chance to review and approve it. See Exhibit 14. Huynh
16

17   believes deRubertis shared the 4/18/2017 SEC submission with the Walmart and Gibson

18   Dunn participate before purportedly gave the okay for Sean McKessy to submit the filing.

19

20

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     1
       https://www.advocatemagazine.com/article/2014-june/protecting-whistleblowers-sarbanes-
28   oxley-s-protected-activity-requirement
     ‘                                             21
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 1          66.     Two days later, deRubertis emailed Huynh a copy of the deRubertis Law
 2   Firm’s contingency retainer agreement. deRubertis knew that Huynh had received multiple
 3
     retainer agreements from six other law firms. So, to lure Huynh into selecting him as Huynh’s
 4
     lawyer, deRubertis offered to pay for litigation expenses in the Huynh v. Walmart litigation,
 5
     including but not limited to Huynh’s travels and lodging expenses to meet with deRubertis in
 6

 7   person, to attend court’s hearings, and to attend mediation meetings etc. See Exhibit 15. Most

 8   importantly for Huynh was the fact that he didn’t have to pay deRubertis a single cent if

 9   Huynh lost the case against Walmart. None of the other law firms made Huynh this sweet of-
10
     fer. See Exhibit Y. However, Huynh recently discovered that none of the other Law Firms had
11
     inserted a weird bankruptcy clause in their retainer agreements either. deRubertis warned
12
     Huynh that he must notify deRubertis and the deRubertis Law Firm before filing for personal
13
     bankruptcy.
14

15

16

17

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20

21          67.     In early May, deRubertis pay for all of Huynh’s travel and lodging expenses to

22   come and meet him at his office in California under the pretext of preparing for the OSHA

23   SOX filing. See Exhibit 16 for travel and hotel booking. However, when Huynh arrived at his
24   office deRubertis asked Huynh to provide him with documentary evidence related to Huynh’s
25
     SEC submission such as seller commission categorization engine and seller contract agree-
26
     ment etc. See Exhibit 17. deRubertis also asked Huynh to share with him any and all com-
27

28
     ‘                                                22
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 1   munications Huynh has with the SEC going forward. For example, Huynh shared with deRu-
 2   bertis Exhibit 18 which described Jet.com GMV run rate while Exhibit 19 described the mate-
 3
     riality of Walmart’s misconducts.
 4

 5           Walmart’s Civil and Criminal Penalties Could Be More Than $3,000,000,000
 6
              68.     The first question was what is Walmart’s risk exposure if the SEC and/or the
 7
     DOJ were able to successfully investigate and prosecute Walmart for securities fraud among
 8
     other illegal conducts. The recent Non-Prosecution Agreement that the SEC and the DOJ en-
 9

10   tered into with Wells Fargo would be instructive in answering this question. Wells Fargo paid

11   the SEC and the DOJ $3 Bil to settle Wells Fargo’s inflation of the total number of accounts
12   per customer metric reported to investors and analysts. Given the seriousness of Walmart’s
13
     illegal conducts and Walmart’s senior executives active participation in committing share-
14
     holder fraud, Huynh believes Walmart’s civil and criminal penalties would be much higher
15
     than that of Wells Fargo. However, to be conservative, Huynh assumed Walmart’s risk expo-
16

17   sure would be about the same as that of Wells Fargo.

18            69.     However, in additional to the civil and criminal penalties that the SEC and/or
19
     the DOJ may impose upon Walmart, Walmart may lose approximately up to $54 Billion in
20
     SNAP sales and Walmart’s Market Cap could depreciate by $20 Bil or more when the truth
21
     about Walmart’s misconducts became known to the public.
22

23                                 Risk Categories                                Liability
24          Criminal and Civil penalties imposed by the SEC/DOJ.                $ 3 Billions2
25

26   2
          https://www.justice.gov/opa/pr/wells-fargo-agrees-pay-3-billion-resolve-criminal-and-civil-
27       investigations-sales-practices
28       https://www.justice.gov/usao-cdca/press-release/file/1251336/download
     ‘                                                23
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 1        Loss in sales due to exclusion from the SNAP program.               $ 54 Billions3
 2
          Walmart’s stock price deflation when the truth came out.            $ 20 Billions4
 3

 4
          Estimated Liabilities                                               $ 77 Billions
 5

 6
                               A Whopping One Billion-Dollar Bounty
 7

 8          70.     Another important question is what is the bounty that the Walmart Participants

 9   were willing to pay the members of the WSF Coverup Enterprise if they were able to fulfill

10   the Enterprise’s common objective. It is well accepted that money, especially a lot of money,
11   is a powerful motivator to get people to do things that they normally would not do. To answer
12
     this question, Huynh turned to an economic model proposed by Professor STRATOS PAHIS
13

14
     Wells Fargo inflated the cross-sell metric (the average number of banking accounts opened
15   per customers) reported to investors between 2002 to 2016 by pressuring their employees to
16   open fake customer accounts. On February 20, 2020, Wells Fargo entered into a NPA with
     the SEC and DOJ to resolve cross-sell metric matter for $3 Billion.
17
     •   Walmart’s criminal conducts were more serious than that of Wells Fargo because there are
18       emails akin to smoking gun evidence that linked Walmart’s senior executives to inten-
         tional misrepresentation and fraud.
19
     3
        https://www.wsj.com/articles/obstacles-remain-in-talks-to-settlewal-mart-bribery-probe-
20   1485546521. It stated: “Discussions stalled over several issues beyond the size of potential
     penalties Wal-Mart would have to pay. The people familiar with the probe said one major
21
     sticking point has been Wal-Mart’s eligibility to continue accepting food stamps in its 5,300
22   Wal-Mart and Sam’s Club stores in the U.S. after a settlement is reached. A company that
     pleads guilty to a federal crime can lose its right to win government contracts—a penalty that
23   could block Wal-Mart from the $71 billion food-stamp program, which gives low-income
     Americans a monthly stipend to purchase food.”
24
     • Since Walmart had 26% the US Grocery Market, Walmart may lose up to $18 Billion in
25       annual sales. Assuming a 3-year suspension, Walmart may lose up to $ 54 Bil in total
         sales.
26
     4
        Walmart’s Marketplace Capitalization at the end of 5/28/2021 was $400 Billion. Assuming
27   a 5% deflation in Walmart’s stock price when the truth came out, Walmart may lose up to $20
28   billion in market capitalization.
     ‘                                               24
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 1   in his article published in the Yale Law Journal. https://www.yalelawjour-
 2   nal.org/pdf/795_t7d36jwp.pdfK.
 3

 4               Understanding Defendants’ and Litigants’ Demand for Corruption
 5
         A litigant or defendant (party) will make the bribe if the expected gains of the corrupt de-
 6       cision are greater than the sum of the costs of the bribe and the expected costs of getting
 7       caught. The expected gains (Y) from a corrupt decision can be understood as a function of

 8       four factors. The first and most obvious factor that a party will take into account is the
         stakes of the case (S). The greater the value of a favorable decision, the more a party
 9
         should be willing to pay for it. Assuming that the party had an initial probability of win-
10
         ning the case (p), the value that the bribe will purchase will be the added probability of
11
         winning the case. In other words, it will be the stakes (S) multiplied by the difference be-
12       tween the original odds of winning (p) and the odds of winning after paying the bribe,
13       which is assumed to be 1, or certain victory, for the sake of simplicity. So far, the benefit
14       of paying a bribe is equal to (S)(1-p).

15       We must now take into account the probability that the briber may not be able to keep the
16       spoils of his corrupt decision. This may be the result of two events. First, the corrupt deci-
         sion may be reversed on appeal. The value of a corrupt decision will depend upon how
17
         large this rate of reversal (RR) is—a probability between 0 and 1. The closer the rate of
18
         reversal is to 1, the smaller the value of the decision. We show this by multiplying our
19
         benefit equation by (1-RR). Second, assuming that a party will not be able to keep the
20       spoils of a corrupt decision if the bribe is discovered, the expected gains of the decision is
21       multiplied by the probability that the corruption will go undiscovered. We can represent
22       this by multiplying the equation by (1-r), where r equals the probability of being caught.

23       The first half of our benefit equation is as follows:

24                                         Y = S(1-p)(1-RR)(1-r)

25       The estimated values of the variables contextualized to Walmart were as followed:
         •   (S) = $3000 Mil – See above
26
         •   (p) = 50%
27
         •   (RR) = 10%
28
     ‘                                                  25
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 1       •   (r) = 5%
 2       •   Y = S(1-p)*(1-RR)*(1-r) = $3,000 Mil*(50%)*(90%)*(95%) = $1,282 Mil.

 3
             71.    In short, the expected gain for the WSF Coverup Enterprise if the RICO De-
 4
     fendants could pull off the fraudulent coverup scheme would be about $ 1.3 Bil. Therefore,
 5   the Walmart Participants could set a Bounty as high as $1 Bil to reward the RICO Defendants
 6   if they could achieve the Enterprise’s the common purpose. Now, one could see why deRu-
 7   bertis became visibly excited when Huynh told him that Huynh and McKessy planned to file

 8   the complaint with the SEC in late April 2017.

 9

10           Theodore Boutros and Gibson Dunn Is Walmart’s Trusted Advisor and Fixer
             with Good Reasons. Gibson Dunn Is the Ferrari of the Legal Service Industry
11
             72.    Gibson Dunn has now grown its top line for 25 straight years, while boosting
12

13   profitability for 24 years in a row. Gibson Dun grew their revenue by 7.6 % to $2.16 Bil in

14

15

16

17

18

19

20

21   2020 and their average profit per equity by 10% to $4.125 Mil. As a result, GDC paid their

22   partners handsomely.
23

24
             73.    The Walmart Participants trusted and respected Theodore Boutros because
25
     Boutros rescued Walmart from legal trouble water many times over, including the famous
26

27

28
     ‘                                                26
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 1   Wal-Mart Stores, Inc. v. Dukes.5 Thomas Mars, Wal-Mart EVP and former general counsel
 2
     once remarked “I call them lifeboat lawyers, because our careers depend on them,”. “I talk to
 3
     Ted Boutros more than I talk to any outside lawyer in the world, and there’s not even a close
 4
     second,” says Tom Mars, Wal-Mart’s top in-house counsel. “We have access to all the best
 5

 6   lawyers in the world.... Yet somebody has to be the best of the best, and that’s the way I

 7   would describe Ted.” Gibson Dunn brings World Class Capabilities into a client engagement.
 8        “We are the firm that clients in distress have turned to when they are facing their
          worst problems, or when they have in fact faced defeat,” “And we have been the
 9
          problem solvers, the game changers.” says litigation department cochair Randy Mastro
10
                Maestros of the “Get Out of Jail Free” Cards from the SEC and DOJ6
11
              74.    It persuaded the U.S. Department of Justice and the Securities and Exchange
12
     Commission to drop investigations of Joseph Cassano, a former American International
13
     Group, Inc. executive widely demonized as one of the creators of the financial crisis. Over the
14
     course of nearly a year, they made several detailed presentations to the government, ex-
15   plaining Cassano’s actions and pointing out holes in the government’s case. They reviewed
16   documents, e-mails, and spreadsheets that, they asserted, showed that Cassano promptly and
17   thoroughly disclosed his group’s activities to management and auditors. The lawyers’ final se-
     ries of presentations in the fall of 2009 lasted more than 40 hours, spread over five days and
18
     entailed more than 600 pages of presentations and 400 exhibits. And they agreed to let
19
     Justice and the SEC interview Cassano in April 2010. “We ultimately bared our factual soul
20
     to them,” says Walden.
21            75.    The strategy paid off. Justice informed Gibson Dunn in May 2010 that it was
22   closing its investigation of Cassano, and a month later, the SEC followed, a remarkable
23   turnround that a former prosecutor says was in good part due to the defense lawyers’ tactics.

24   “The judgment that they made to engage with us in an honest and forthcoming way was

25

26   5
         https://en.wikipedia.org/wiki/Wal-Mart_Stores,_Inc._v._Dukes
27       https://www.oyez.org/cases/2010/10-277
     6
         The American Lawyer January 2012. Special Issue – Litigation Department of the Year.
28
     ‘                                                27
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 1   unique and important to [their] success,” says Paul Pelletier, the former deputy chief of the
 2   Justice Department criminal division’s fraud section, who joined Mintz, Levin, Cohn, Ferris,

 3   Glovsky and Popeo last May.

 4                                           Maestros of the Media
 5
            76.      The firm also took Wal-Mart’s case to the press. “Wal-Mart was being
 6   portrayed as an outlier, and somehow evil, and that was the theme when we got in-
 7   volved,” remembers Boutrous. “We tried to take a different approach on the legal issues
 8   but also explain the situation more thoroughly to the public.” That willingness to work

 9   beyond the courts is vital to the firm’s ability to manage client crises, says Mastro.
     “Google any of us,” he says. “We come up talking to the press a lot, because our clients
10
     want us to.”
11
            77.      In short, Theodore Boutros and Gibson Dunn Crutcher were the best fix-
12
     ers that the Walmart Participants would call upon when they face an existential threat
13
     such as the one Huynh brought to the SEC’s attention.
14

15          The GDC’s Fixers Worked as a Cohesive and Tightly Integrated Unit Among
            Themselves as Well as with Their Clients
16
            78.      In a recent court filing in the case Herring Networks, Inc v. Rachel Maddow
17
     (Case No: 3:19-cv-01713-BAS-AHG), Gibson Dunn described in details a typical GDC team
18

19   structure and how they worked together on a day-to-day basis as a cohesive unit to deliver

20   their client’s objectives7, and most surprising client pay GDC top dollars for their services.
21
     For example, it shown that Boutros involved in every aspect of client engagement. He met
22
     with clients, directed the team’s activities, and personally reviewed and approved major mo-
23
     tions and court filings.
24

25          79.      As discussed above, GDC brings World Class Capabilities across the firm to

26

27
     7
       See Dkt. 35-2 at 8-24: https://storage.courtlistener.com/re-
28      cap/gov.uscourts.casd.645957/gov.uscourts.casd.645957.35.2.pdf
     ‘                                                  28
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 1   each client engagement, leverages powerful connections8, and do whatever it takes to win at
 2
     all costs. This was the reason why Gibson Dunn Crutcher is the “Ferrari” of the legal service
 3
     industry.
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18          80.     Although, Huynh didn’t interact with Boutros and Scalia on a daily basis, they

19   were actively involved in the case behind the scene for two reasons. First, because the GDC’s

20   operating model required them to do so, and second, Brass told Huynh in late 2019 that Eu-
21
     gene Scalia was actively involved in the Huynh’s litigation.9 See Exhibit X. Therefore,
22
     Scalia, Boutrous, and Brass were the leaders in Huynh’s Civil and SEC cases against
23

24
     8
       See https://en.wikipedia.org/wiki/Gibson_Dunn.
25   9
       Rachel Brass wrote “Secretary Eugene Scalia, formerly counsel for Defendants, withdrew
26   from this case on August 27, 2019, and therefore is no longer available to participate in any
     trial of Plaintiff’s claims. Before his nomination to the Cabinet, Mr. Scalia was actively in-
27
     volved in the litigation of this case and could have tried the case in the event Ms. Brass be-
28   came unavailable.”
     ‘                                                  29
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 1   Walmart. They worked with the Walmart Participants to set strategies then directed the junior
 2   members of the Gibson Dunn team (Stewart, Schuemann, Wilson, and others) as well as other
 3
     RICO Defendants to perpetrate numerous predicate acts in furtherance of the Walmart Share-
 4
     holder Fraud Cover Up Enterprise’s common purpose.
 5

 6          81.     On the other hand, according to Brass, each and every critical action must be
 7
     reviewed and approved by the Walmart Participants. This implied that the Walmart Partici-
 8
     pants were responsible for their own predicate acts as well as the predicate acts, they caused
 9
     the other RICO Defendants to commit in furtherance of the Enterprise’s common objective.
10

11
            David deRubertis Secretly Collected the Information Huynh Submitted to the
12          SEC Then Leaked It to the Walmart and Gibson Dunn Participants.

13          82.     David deRubertis leveraged his relationship as Huynh’s legal counsel between
14
     late April 2017 to late 2018 to spy on Huynh and gathered confidential and non-public infor-
15
     mation that Huynh submitted to the SEC regarding Walmart’s misconducts. He then leaked
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27   this information to the other RICO Defendants. The RICO Defendants leveraged this infor-

28   mation to plan and execute a whitewashing campaign to make the misleading statements made
     ‘                                             30
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 1   by McMillon regarding the total number of SKUs on Walmart’s Marketplace in FY17 no
 2   longer misleading (allowing Walmart to defeat Legal Element #1 discussed in paragraph 47).
 3
         The RICO Defendants Whitewashed Evidence of Inflated Marketplace SKUs
 4
            Walmart’s Marketplace Was Defined as A Segment of Walmart.com Prior to
 5
            May 2017.
 6
            83.     Prior to May 2017 (before David deRubertis leaked the SEC confidential infor-
 7
     mation to the Walmart and Gibson Dunn participants), Walmart’s insiders, investment ana-
 8

 9   lysts, investors, and industry publications defined Walmart’s Marketplace as a section on

10   Walmart.com where third party/3P aka Marketplace sellers listed their products for sales on
11   Walmart.com. The total number of SKUs offered to customers on Walmart.com equals to the
12
     total number of SKUs (products) offered by Walmart’s 1P plus the total number of Market-
13
     place SKUs offered by Marketplace sellers. For example, Walmart clearly stated in their
14
     FY16 and FY17 10K filings with the SEC that Walmart’s Marketplace is a section of
15

16   Walmart.com.

17   “Digital. Walmart U.S. provides its customers access to a broad assortment of merchandise,
18   including products not found in our physical stores, and services online through our e-com-
     merce websites and mobile commerce applications. Walmart.com experiences on average 85
19   million unique visits a month and offers access to approximately 8 million SKUs. In addition,
     our e-commerce website includes Marketplace, a feature of the website that permits third par-
20   ties to sell merchandise on walmart.com.” Walmart’s FY16 for the fiscal year ended January
     31, 2016.
21
     “Digital. Walmart U.S. provides its customers access to a broad assortment of merchandise,
22
     including products not found in our physical stores, and services online through our e-com-
23   merce websites, including walmart.com, jet.com, hayneedle.com and shoebuy.com, as well as
     mobile commerce applications. Walmart.com experiences on average 92 million unique visi-
24   tors a month and offers access to over 38 million SKUs, including those carried on Market-
     place, a feature of the website that permits third parties to sell merchandise on walmart.com”
25   Walmart’s FY1Y for the fiscal year ended January 31, 2017.
26            Seth Beal’s Definition of Walmart Marketplace Prior to May 2017
27
         https://www.digitalcommerce360.com/2016/04/14/walmartcom-invites-more-mer-
28       chants-sell-its-marketplace/
     ‘                                           31
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 1        Wal-Mart, No. 4 in the newly released Internet Retailer 2016 Top 500 Guide, began
          in 2009 to allow other retailers to sell their products alongside the retail chain’s in-
 2
          ventory on Walmart.com. Wal-Mart has developed its online marketplace slowly,
 3        starting with six merchants—eBags Inc. (No. 167), Wayfair LLC (No. 24), Tool
          King LLC, Plumstruck (No. 91, part of Hayneedle Inc.), ShoeBuy Inc. (No. 101)
 4
          and ProTeam (No. 38, part of Fanatics Inc.)—and, starting in 2014, began expand-
 5        ing its roster that now lists approximately 300 retailers, according to investment
          firm Robert W. Baird & Co. After a long trial period that allowed Wal-Mart to de-
 6
          velop technology to support more sellers and more SKUs online, Wal-Mart is ready
 7        to expand its marketplace, Seth Beal, Wal-Mart’s senior vice president of global
          marketplace, said at the conference. “We started with a few sellers because we
 8
          wanted to do it right,” he said. “Customers were telling us they wanted more prod-
 9        ucts online, and now we’re ready to partner with many more sellers.”

10        Products from retailers are displayed alongside Wal-Mart’s own inventory and
          are called out as Walmart Marketplace items, with the seller’s name displayed
11        on the items. Retailers on Wal-Mart’s marketplace can be featured in Walmart.com
12        promotions, such as Value of the Day deals. “Customers are already shopping on
          Wal-Mart, and they’re looking for great products with great prices,” Beal said. “Our
13        partnership with marketplace retailers allows us to provide our customers with
14        more brands and products on Walmart.com.”

15        https://www.sdcexec.com/sourcing-procurement/news/12249812/commercehub-com-
          mercehub-expands-partnership-with-walmart-adds-integration-with-walmart-market-
16        place

17
          “Launched in 2009, Wal-Mart Marketplace expanded Walmart.com’s product
18
          assortment for customers alongside Wal-Mart’s existing first-party merchan-
19        dise. More than 80 million unique visitors shop Walmart.com every month looking
          for products across popular categories like apparel, electronics and home. Customers
20
          trust Wal-Mart to provide a broad assortment of products and investing in our mar-
21        ketplace helped us grow our assortment to 11 million items in just a few years10,”
          said Seth Beal, senior vice president of global marketplace at Wal-Mart. “By expand-
22
          ing our relationship with CommerceHub, we’ll be able to leverage its network of re-
23        tailers and brands to offer customers more of what they’re looking for at
          Walmart.com.”
24

25           84.     There are two key takeaways from Seth Beal’s article below. First, the

26
     10
27      This 11 million Walmart Marketplace SKUs quoted in this article jived with the 10.9 mil-
     lion Marketplace SKUs Beal reported to McMillon in his July 30, 2016 email. Ninth Circuit
28   Case: 20-15211 Dkt. 5-4 at 95.
     ‘                                            32
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 1   term “Marketplace” is synonymous with the term “third-party” and these terms were used
 2   interchangeably. Second, Marketplace sellers are synonymous with third-party sellers.
 3
     Third, the total number of items/SKUs listed for Sales on Walmart.com equals to the total
 4
     number of Marketplace/3P SKUs and Walmart’s 1P SKUs (Walmart’s own inventories).
 5

 6        https://corporate.walmart.com/newsroom/business/20161026/expanding-your-market-
          place-of-products-on-walmart-com
 7

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11

12        When you visit Walmart.com, my team and I work hard to make sure you can find
          what you need, every single day. One way we do that is through our Marketplace
13        sellers. That’s what’s happening behind the scenes when you visit Walmart.com.
14        When you search for an item, not only do you see options from Walmart.com’s
          own inventory – your search likely brings up choices from third-party sellers,
15        too. These are third-party sellers that we’ve chosen to work with because they of-
16        fer a great selection of products at a great price. Marketplace makes it easier for
          customers to find a wider range of the items we sell in stores, plus some other
17        brands you might not find at a store, like Toms and Vans shoes.
18        Since this time last year, we’ve grown the number of Marketplace sellers by more
          than 30 times. This has helped us triple our assortment on Walmart.com since last
19
          year, with more than 20 million items11 today, and growing. One of our highest pri-
20        orities in developing the Marketplace is ensuring the quality of our overall customer
          experience. We reach out to customers to learn about their experiences, and we’re
21

22
     11
23      The 20 million SKUs on Walmart.com jived with the number of SKUs that Beal reported
     to Doug McMillon and Marc Lore on Oct 2, 2016. Ninth Circuit Case: 20-15211 Dkt. 5-4 at
24   99-100.
     • In his email, Beal wrote “Quick update on Marketplace progress: 16.5 million unique
25       SKUs (up from 6.2 million at the beginning of the year) – on the site, there are currently
26       19.7 million unique SKUs including 1P”. The “on the site” referred to
         Walmart.com/online. Thus, Walmart.com had roughly 20 million SKU in Oct 2016.
27   • However, only four days later McMillon reported to investors during Walmart’s 23rd An-
         nual Meeting that Walmart Marketplace had 20 million SKUs (See Ninth Circuit Case:
28       20-15211 Dkt. 5-4 at 5-4 at 103) by counting 1P SKUs as Marketplace.
     ‘                                               33
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 1       proactive about checking data to see where we can help Marketplace sellers im-
         prove their performance to go above and beyond. We’ll continue to focus on our
 2
         Marketplace sellers as they help us help you find exactly what you need. This is
 3

 4

 5       just one-way Walmart.com is working to make your online shopping experience bet-
         ter across the board.
 6
         Barclay’s Analysts: Karen Short, Sean Kras, and Matthew McClintock, CPA, CFA
 7
         Walmart Marketplace refers to the wide and growing selection of third-party mer-
 8
         chandise available on Walmart.com. Walmart Marketplace was first launched in
 9       2009 and the number of SKUs has greatly increased. In fact, the company was adding
         over 1 million SKUs per month earlier in 2016 – we don’t know if it is still increasing
10
         this quickly – and the site now has 20 million SKUs online vs. 150,000 at a typical
11       supercenter. Seth Beal, SVP of Global Marketplace at Walmart e-commerce has said
         that there are still areas where more product depth is needed, including electronics,
12
         electronics accessories, apparel, home, health, and beauty. As such, we expect the
13       number of products offered online will continue to increase. Meanwhile, the growth
         of Marketplace has led to internal merchants having to “raise their game” since they
14
         are also competing with Marketplace merchants.
15
                    Walmart’s Marketplace Purported Definition After May 2017.
16

17       “There’s an old saying: “When I see a bird that walks like a duck and swims like a
         duck and quacks like a duck, I call that bird a duck.” Gary Gensler, Chairman of the
18       Securities and Exchange Commission—May 20, 2021.
19
         “I understand that after filing this litigation Mr. Huynh has claimed that Doug McMil-
20       lon presented inaccurate SKU count information to investors during the October 2016
21       investor community meeting based on Mr. McMillon’s use of the term “Market-
         place”. The Walmart Marketplace is comprised of every seller that sell on
22
         Walmart.com, which includes Walmart and many other third-party sellers.”12
23       Seth Beal’s declaration on 8/26/19 in support of Walmart’s motion for summary judg-
         ment. DC Dkt. 171-1 at 99.
24

25            85.    Shortly after deRubertis secretly obtained and leaked Huynh’s 4/19/17 SEC
26

27       12
            Seth Beal’s declaration contradicted with how he defined the term “Marketplace” prior
28       to May 2017.
     ‘                                                 34
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 1   submission, the Rescue Squad, Walmart’s senior executives and the other RICO Defendants
 2   and their Co-conspirators developed and executed a four-step scheme to whitewash evidence
 3
     of Walmart’s illegal conducts.
 4

 5          86.     First, Walmart stopped reporting the total number of Walmart Marketplace
 6   SKUs on Walmart.com starting on Walmart’s Q1 FY18 earnings call (May 2017). For exam-
 7
     ple, during Walmart’s Q4 FY17 earnings call on Feb 2017, McMillon disclosed “From a
 8
     marketplace perspective, we now have over 35 million SKUs – more than quadrupling the
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     number available at the beginning of the year.”. However, on the Walmart’s Q1 FY18 earn-
21
     ings call on 5/18/17, McMillon shifted his disclosure from the total number of Marketplace
22

23   SKUs to the total number of SKUs Walmart.com. He disclosed “Walmart.com now has 50

24   million first- and third-party items to choose from compared to 10 million at this time last

25   year (Q1 FY17)—so our assortment continues to ramp”.
26
            87.    Immediately after the earnings conference call, Robert Ohmes (a RICO De-
27

28   fendant) – a reputable BOA/ Merrill Lynch’s Analyst, published an investment report on
     ‘                                             35
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 1   Walmart. In the report Ohmes wrote “Continued marketplace expansion (now 50mn online
 2   SKUs vs. 35mn in F4Q and 10mn last year”. See Exhibit 25. Ohmes used the term “Market-
 3
     place” and “Walmart.com/Online” interchangeably in his report to classify the 50mn SKUs as
 4
     Marketplace even though McMillon clearly disclosed to investors that Walmart.com had
 5
     50mn SKUs. Ohmes then broadcasted this misleading information to investors and other ana-
 6

 7   lysts in attempt to prime the pump via the internets and the wire to publish his report and po-

 8   tentially emailed it to fund managers etc. (i.e., Ohmes planned the seed in investors’ mind

 9   that Walmart’s Marketplace is synonymous with Walmart.com) for Walmart’s executives to
10
     go on roadshows to whitewashing evidence of Walmart’s misleading statements regarding the
11
     total number of SKUs on Walmart’s Marketplace in FY17. Even though Huynh didn’t cur-
12
     rently possess evidence of emails and phone calls between Ohmes and the other RICO De-
13
     fendants to coordinate the content of Ohmes’ report and when to publish the reports (given the
14

15   close temporal proximity between Walmart’s Q2 FY17 earnings call and Ohmes’ published

16   report), Huynh believes this information is in the RICO Defendants possession and could be
17   obtained during discovery.
18

19          88.     Second, after Ohmes primed the pump, Walmart’s Senior Executives went on

20   multiple analyst conferences and Walmart’s own events to begin whitewashing the misleading

21   statements McMillon made to investors and analysts in FY17 concerning the total number of
22
     Marketplace SKUs on Walmart.com.
23

24                 Walmart’s Annual Q&A Session with analysts on June 2, 2017

25       Doug and Brett, you both mentioned Q1 was good. We'd agree, it was quite good.
         And it was an anomaly for a retailer to see such explosive growth on e-com, and
26
         yet the margin was relatively intact. We haven't seen it across most of the retail space.
27       It looked like it was an omnichannel type of quarter, and I'm curious if there was
         something that was done, whether it was on the expense side or on the gross margin
28
     ‘                                                 36
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 1        side, where you've either figured out some formula to enable the e-com growth to
          grow at a rapid pace without harming margin. Simeon Gutman, Morgan Stanley.
 2

 3        “It's really price, it's assortment and it's service. The customer is not that different in
          that way. Now experience in services being redefined in a big way, and our assort-
 4
          ment had gone, given the marketplace expansion13 from about 10 million a year ago
 5        to now north of 50 million. So, you've -- we've made great progress on assortment,
          managing price pretty well, working hard on experience” C. Douglas McMillon -
 6
          Wal-Mart Stores, Inc. - CEO, President & Director.
 7             Deutsche Bank Walmart’s Investment Conference on June 13, 2017
 8
          “Absolutely, and we drill down into the comp performance in the first quarter, e-com-
 9        merce, walmart.com, aided the comp by 80 basis points, which was surprising to The
          Street, and really hands off to the team on that type of performance. Walk us through
10
          how you've built the infrastructure to generate that level of performance. And also
11        does your success on your e-commerce platform, does it alter the thought process
          around store count and how you utilize the stores? And maybe you can just discuss
12
          also how we should be thinking about the longer-term profit algorithm, given the suc-
13        cess you're having in e-commerce.” Paul Elliott Trussell Deutsche Bank AG, Re-
          search Division.
14
          The systems work that we did allow us to dramatically increase the marketplace on
15        our site. So back about a year ago, we had around 10 million items online, now we
16        have over 50 million items online. Now 50 million, still not as much as some of our
          competitors would have. The difference between 10 million and 50 million is a big
17        difference. Brett M. Biggs Chief Financial Officer and Executive Vice President.
18           89.     The RICO Defendants also directed their Co-Conspirators to disseminate
19
     Walmart’s misrepresentations concerning the new definition of Walmart’s Marketplace.
20
      Walmart’s Disclosures during               Walmart Using Reporters to Disclosures to the
21
      Walmart Quarterly Earning Calls            Walmart’s Investor and the Public.
22
      “Walmart.com now has 50 million            “Wal-Mart Vice-President of Partner Services Michael
23    first and third party items to choose      Trembley said Wal-Mart’s move is focused on meeting
24    from compared to 10 million at this        customer demand for different types of products and
      time last year—so our assortment           increasing online assortment. Wal-Mart’s marketplace
25    continues to ramp.” McMillon – Q1          inventory has quintupled this year to 50 million
26    FY18 earnings call on 5/18/17.             items.” Nandita Bose, a Reuters Reporter, on

27   13
        McMillon used term “marketplace expansion” in Ohmes’ 5/18/17 report to substitute for
28   the “Walmart.com” McMillon used during the Q1 FY18 earning calls..
     ‘                                           37
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 1                                             7/27/17.14
 2
     “In e-commerce, customers are re-         “Wal-Mart has already increased the number of prod-
 3   sponding favorably to our expanded        ucts offered on Marketplace to 67 million items, sup-
     assortment, which surpassed 67 mil-       plemented by items from third-party sellers like Toms
 4
     lion SKUs on Walmart.com.”                and Vans shoes.” Francine McKenna, a Mar-
 5   McMillon Q2 FY18 on 8/17/17.              ketwatch.com reporter, on 9/13/17.15
 6
            90.     Matthew Boyle (another RICO Defendants), a Bloomberg News reporter, pub-
 7
     lished an article on June 16, 2017 (Exhibit 27) to purportedly report to the public, Walmart’s
 8
     investors, investment analysts, the SEC and the media regarding Walmart’s SKUs metric for
 9

10   Aug and Nov 2016 and Feb 2017 as Walmart.com’s SKUs even though Walmart previously

11   reported these SKUs as Marketplace’s SKUs to investor during FY17.16 The 15 Mil, 23 Mil,
12

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     14
25      https://www.reuters.com/article/us-walmart-vendors-exclusive/exclusive-not-made-in-
     america-wal-mart-looks-overseas-for-online-vendors-idUSKBN1AC1VJ
26   15
        https://www.marketwatch.com/story/wal-mart-accounting-for-e-commerce-overseas-asset-
27   sales-draws-sec-scrutiny-2017-09-12
     16
        https://www.bloomberg.com/news/articles/2017-06-16/wal-mart-offers-a-refuge-for-
28   sellers-tired-of-amazon
     ‘                                               38
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 1   and 35 Mil SKUs figures were disclosed by McMillon during FY17 to investors as Market-
 2   place’s SKUs not Walmart.com. Therefore, this evidence proved that it was more probable
 3
     than not that the Walmart Defendants (directly and/or through another party e.g., a PR
 4
     agency- In Exh 96, David deRubertis admitted that a PR agency was working with the
 5
     Bloomberg Folks (e.g., Matthew Boyle) in preparing to generate publicity when Huynh’s law-
 6

 7   suit is filed in the Huynh v. Walmart Stores et. al. Case 3:18-cv-01631-VC with the US Dis-

 8   trict Court, Northern California.) provided this misleading information to Boyle so he could

 9   publish it in his article.
10
             91.     If Boyle was actually doing a real reporting job and he published the total
11
     number of SKUs on Marketplace (a material metrics for Walmart’s investors and analysts) on
12

13   Walmart.com for Aug 2016, Nov 2016, and Feb 2017 then Boyle should have read Walmart’s

14   Quarterly Earnings Call Transcripts. Because these transcripts clearly stated the total number

15   of SKUs on Walmart Marketplace for Aug and Nov 2016 and Feb 2017 were 15 Mil, 23 Mil,
16
     and 35 Mil respectively. Mr. Boyle to help you do your job Huynh referred you to Exhibit 97
17
     which contained the transcripts for these quarterly earnings conference calls.. In short, Boyle
18
     didn’t exercise his first amendment right to report an issue of great importance by reporting a
19
     material metric to the public. Instead, He published these misleading metrics in furtherance
20

21   the objective of the Walmart Shareholder Fraud Coverup Enterprise to mislead the public,

22   Walmart’s investors, the Media and most importantly he misled the SEC to obstruct a poten-
23   tial SEC investigation. The Walmart participants and their lawyers (Gibson Dunn and Orrick)
24
     used your published information to bring assurance to the SEC that Walmart didn’t mislead
25
     the investors regarding the total number of Marketplace SKUs on Walmart.com. Therefore,
26
     Mr. Boyle caused and/or helped others to obstruct an SEC investigation.
27

28           92.     Third, Walmart Participants stopped using the term “Marketplace” and the
     ‘                                                39
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     term “Third-Party(3P)” interchangeably in their public disclosures to investors to discuss the
11

12   Walmart’s Marketplace business. They did this to sever the synonymous relationship between

13   these two terms in order to solidify their purported definition of Marketplace as Walmart.com
14   with Walmart’s investors, analysts, the SEC and/or the DOJ, and the media.
15
            93.     Huynh performed the syntax analysis to create the chart below by examining
16
     disclosures made by Walmart during various Walmart’s Quarterly earning calls, investment
17

18   analyst conferences, and Walmart’s Annual Meetings between 2016 and 2018. Between Feb

19   2016 to April 2017, Walmart used the terms “Marketplace” and “Third-Party/3P” inter-
20   changeably 33 times to discuss the Walmart’s Marketplace (3P) business. The term “Market-
21
     place” was used 66% of the time (25 times) while the terms “Third-Party/Third Party/3P”
22
     were used 34% of the time (13 times). However, starting in May 2017, Walmart stopped us-
23
     ing the term “Marketplace” and “Third-Party/3P” interchangeably to describe the Walmart’s
24

25   Marketplace business. Between May 2017 the end of 2018, Walmart used the term “Market-

26   place” 0% of the time (0 time). Instead, term “Third-Party/Third Party/3P” was used 100% of

27   the time (28 times).
28
     ‘                                                40
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 1          The RICO Defendants Attempted to Whitewashed Walmart’s Catalog Stuffing
            Scheme to Inflate the Total Number of Walmart Marketplace SKUs.
 2

 3          94.    In late Sept 2017, Huynh emailed deRubertis to inform him that McKessy and

 4   Huynh will be meeting with the SEC enforcement attorneys on Oct 5, 2017 in San Francisco
 5
     to discuss Huynh’s SEC submissions. Instead of replying to Huynh’s original email with the
 6

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16   Subject: “Call to sync up tomorrow, Friday”, deRubertis opened a new email thread with a

17   Subject that simply read “Huynh:” to reply to Huynh’s original email to make sure that there

18   was no direct evidence which proved that David deRubertis had knowledge of Huynh’s meet-
19   ing with the SEC. See Exhibit 29.
20

21
            95.    A short time after Huynh informed deRubertis about his meeting with the SEC,
22
     Doug McMillon attempted to whitewash the misleading statements he made to investors on
23
     Oct 6, 2016 that Walmart Marketplace had 8 Mil SKUs and 20 Mil SKUs in Jan and Oct 2016
24

25   respectively by substituting the term “Marketplace” with the term “Walmart.com” in his Oct

26   2017 presentation to investors and analysts that Walmart.com had 8 Mil SKUs and 20 Mil

27

28
     ‘                                               41
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 1   SKUs on Jan 2016 and Oct 2016. See Exhibit 30.17
 2
            96.     On that same day, Robert Ohmes published an investment report18 on Walmart
 3

 4   Inc. where he replaced the term “Marketplace” with “Online (Walmart.com)” to purportedly

 5   communicate to investors and other analysts that the SKU metric disclosed by McMillon in
 6   FY1Y were actually Walmart.com’s SKUs. See Exhibit 31. On the same report, Ohmes also
 7
     provided highly inflated Jet.com FY17 and FY18 Sales forecast to lend credibility to
 8
     Walmart’ inflated Quarterly Ecommerce Sales Growth in FY18. Like Mr. Boyle, if Mr.
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24
     17 It is important to know Mr. McMillon and Walmart broadcast his presentation using the
25   wire/internet infrastructure.
     18 It is important to note that Mr. Ohmes used the Internet as a mean of transmission of these
26
     reports. As a client of Bank of America, Huynh and Millions of other investors have access to
27   these reports and could download them from Bank of America’s servers. Additionally, it was
     foreseeable that others would email these reports to others. Thus, Mr. Ohmes committed Wire
28   Fraud in furtherance of the Enterprise’s common purpose.
     ‘                                                 42
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 1   Ohmes was actually doing his job as an investment analyst to serve the public interest, then he
 2   would also should read Exhibit 97. Additionally, in this report, Ohmes also provided a
 3
     grossly inflated estimate of the Jet.com Sales for FY17, FY18, and FY19 to coverup the fact
 4
     that Walmart’s senior executives artificially inflated the Jet.com’s sales figure to inflate
 5
     Walmart’s Quarterly Ecommerce Sales growth for Q1, Q2, and Q3 FY 18.
 6

 7
            97.     As showed on Exhibit 40, a JP Morgan analyst stated that Walmart disclosed
 8
     to investors that that Jet.com’s GMV run rate toward the end of 2016 was $1.2 Bil (This was
 9
     already double that of the internal Jet.com GMV data. See Exhibit 6 at 3 which showed that
10

11   Jet.com GMV run rate at the end of 2016 was about $600 Mil). Additionally, this analyst

12   clearly stated that Jet.com GMV doesn’t translate to sales.19 In short, Mr. Ohmes not only

13
     used the inflated GMV forecast provided by Walmart but he also counted Jet.com Market-
14
     place Sellers GMV as Jet.com Sales to inflate Jet.com’s Sales even further.
15

16          98.     One critical question is “was it coincidental that McMillon didn’t attempt to
17   replace the term “Marketplace” with Walmart.com to report that Walmart.com had 15 Mil
18
     SKU in his Oct 17, 2017 PPT presentation to investors. The answer was simply because there
19
     were two components of fraud that went into the reported 15 Mil SKUs figure. The first com-
20
     ponent was Walmart’s improper counting of Walmart’s 1P SKUs as Marketplace’s SKUs
21

22   while the second component of fraud was the counting of the total number Marketplace SKUs

23   that were added during the first two weeks of Q3 FY17 as Q2 FY17’s Marketplace SKUs.

24   This latter component of fraud could not simply be whitewashed away by merely playing
25
     around with the definition of Walmart’s “Marketplace” because it involved the timing of the
26

27
     19
        Note this assumes all of Jet’s sales are 1P (as comps include 1P and the commissions on 3P
28   sales). Thus, the actual impact is likely smaller related to the portion of sales that are 3P.
     ‘                                                   43
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 1   Marketplace SKUs recognition. Thus, if McMillon was to communicate to investors and ana-
 2   lysts that Walmart.com had 15 Mil SKUs, then when the true about Walmart’s misconducts
 3
     came out Walmart may be liable for future shareholder fraud lawsuits. This was the reason
 4
     why the Walmart Participants relied on the other RICO Defendants such a deRubertis, Ohmes
 5
     (see above), Boyle at Bloomberg News and other reporters to do the dirty whitewashing activ-
 6

 7   ities on the Walmart Participants’ behalf.20

 8
            99.     In early July 2018, Huynh notified deRubertis that the SEC opened an official
 9

10   investigation into Walmart’s fraudulent conducts. See Exhibit 32 which showed that the SEC

11   opened an investigative file on Walmart around Mid-May 2018 and officially investigated

12   Walmart around late July 2018. Shortly after the SEC started their investigation into Huynh’s
13
     complaint against Walmart, Walmart’s executives stop disclosed Walmart’s SKU metric all
14
     together.
15

16          100.    Additionally, David and Kari deRubertis at the direction of the Gibson Dunn’s
17   leaders (e.g., Brass, Boutrous, and Scalia) conspired with Kasales and Von Lindern to leak
18
     Huynh’s psychiatrist records when they secretly produced them to Walmart without the confi-
19
     dentiality designations in late Sept 2018. Huynh believes these documents were later used by
20
     Orrick and Gibson Dunn to respond to the SEC investigation to convince the SEC that Huynh
21

22   was not a credible whistleblower.

23

24

25
     20
26      Therefore, Ohmes, Boyles, and deRubertis used the wire infrastructure to disseminate mis-
     leading statements regarding the total number of SKUs on Walmart Market to make McMil-
27   lon statements no longer misleading. Therefore, by extension the Gibson Dunn’s leaders
     (Boutrous, Scalia, and Brass) directed these RICO Defendants to whitewash evidence of
28   Walmart’s misconducts.
     ‘                                                44
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            101.   Additionally, in Oct 2018 (shortly after the SEC started their investigations
18
     into the Walmart’s Ecommerce Matter: Case File No. - Walmart E-commerce FW-04193)
19

20   Doug McMillon once again attempted to whitewash previous misleading Marketplace SKU

21   assortment metrics he reported to investors in FY17 by replacing the term “Marketplace” with

22   “Walmart.com” in his PPT presentation during Walmart’s 2018 Annual Meeting with the In-
23   vestment Communities. In his presentation, McMillon disclosed to investors that
24
     Walmart.com had 8 Mil SKUs and 20 Mil SKUs in in Jan and Oct 2016 respectively. How-
25
     ever, two years earlier McMillion reported to investors that Marketplace had 8 Mil and 20 Mil
26
     SKUs on Jan and Oct 2016 during Walmart’s 2016 Annual Meeting with the investment com-
27

28   munities.
     ‘                                               45
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23          102.   Shortly after, Robert Ohmes also published a report on Walmart Inc. See Ex-

24   hibit 33. In his report, Ohmes purportedly replaced the term “Marketplace” with
25
     “Online/Walmart.com” to whitewash Doug McMillon previous misstatements regarding the
26
     total number of SKUs on Walmart’s Marketplace. Even though Huynh didn’t have direct evi-
27
     dence which proved that Ohmes acted in concert with the other RICO Defendants to plan
28
     ‘                                              46
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 1   what to put in his investment reports and when to publish the report to help whitewash
 2   Walmart’s misleading statements. Huynh believes this documentary evidence is in Ohmes
 3
     and other RICO Defendants’ (e.g., Walmart and their executives) possession and could be ob-
 4
     tained during discovery.
 5

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            103.    However, given the short temporal proximity (less than a day) between
19

20   McMillon’s attempts to whitewash evidence of Walmart’s previous inflated Marketplace

21   SKU metrics and the publication of Ohmes’ investment report, a reasonable trier of facts

22   could infer that it is more probable than not that the RICO Defendants acted in concert to exe-
23   cute this coverup scheme. Huynh also believes as Walmart’s trusted advisors the Gibson
24
     Dunn participants may have facilitated the publication of Mr. Ohmes’reports. Therefore, one
25
     could also infer that in order to execute this whitewashing scheme, Ohmes and the other
26
     RICO Defendants must had leveraged the instrument of interstate commerce i.e., emails, In-
27

28   ternet and cell phone etc. to plan and execute the dissemination of mislead information to
     ‘                                                 47
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 1   Walmart’s investors, analysts, the Media, the SEC and other government agencies. the invest-
 2   ing public and the SEC.
 3

 4                                      Other Whitewashing Activities

 5             The RICO Defendants Attempted to Whitewashed Walmart’s Catalog Stuffing
               Scheme to Inflate the Total Number of Walmart Marketplace SKUs.
 6
               104.    In Huynh’s submission to the SEC, Huynh alleged that in additional to im-
 7
     properly counted Walmart’s 1P SKUs as Marketplace, Walmart also stuff Walmart’s Market-
 8
     place with low value and/or quality products to inflate the total number of Marketplace SKUs
 9

10   even though they knew that these SKUs generated little GMV. See Exhibit A and Y. To

11   whitewash Huynh’s allegations, Walmart’s executives spoke at various venues in an at-tempt

12   to show to investors and analysts that Walmart focused on the quality not the quantity of Mar-
13
     ketplace SKUs i.e., Walmart didn’t stuff their catalog with low quality products to inflate the
14
     total number of Marketplace SKUs reported to investors.
15

16                Set Up Questions                                Walmart’s Response
17       Marc, and maybe Doug, chime in          Sure. With respect to the marketplace, we've seen nice
18       on this, but I was hoping you could     growth over the last year, and I think we'll continue to
         talk more about the marketplace,        see growth on marketplace. But we're very focused on
19       the 3P business. You've gotten to       making sure we have the right SKUs, the right prod-
20       50 million items really fast; does it   ucts. That's the habit, one of our bellwethers. And so,
         level off from here? Or can that        it's not for us, just quantity, it's really the quality of
21       keep going? Robert Frederick            the products. Marc E. Lore – June 2, 2017.
22       Ohmes—June 2, 2017.

23       You touched on this a little bit ear-   There's a finite number of SKUs. So, I'm less con-
24       lier, but I want to expand on the --    cerned about getting to parity on long-tail assortment.
         your assortment philosophy. I           It's more about getting the brands that really mat-
25       mean, I think you guys are worth        ter. So, it's really getting the right products as opposed
         50 million plus, at least as of the     to quality over quantity. Marc E. Lore – June 7, 2017.
26
         end of the first quarter. You were
27       less than, I think, 10 million even 2
         years ago. So, a big growth there.
28
     ‘                                                    48
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 1       Peter Sloan Benedict, Baird & Co
         Analyst - June 7, 2017
 2

 3       Marc Lore’s remarks regarding at-     "With respect to the long tail, it's really about market-
         tracting premium sellers and brands   place. And over the last year, we've grown SKUs from
 4
         to Walmart.com in Oct 2017 to ad-     about 50 million to now over 60 million products. One
 5       dress the catalog stuffing issues.    of the things we're going to be really focused on over
                                               this next year is to elevate the Walmart.com brands so
 6
                                               we can attract more premium sellers to the site, more
 7                                             premium brands" Marc Lore, 24th Annual Meeting
                                               with the Investment Community on 10/12/17
 8

 9
         I want to ask a follow-up about as-   While we're focused on increasing the breadth of the
10
         sortment. You mentioned 75 mil-       assortment, I think our primary focus right now is re-
11       lion SKUs today. You guys ramped      ally on quality of the assortment. With respect to the
         really quickly to that 75 million     3P side, we've been also -- at the same time, we're
12
         SKU mark. I'd be curious to hear a    adding new merchants, we've also been culling mer-
13       little bit about your expectations    chants back that haven't been delivering an excep-
         around the velocity of the contin-    tional experience. And so, we're really focused on
14
         ued ramp. And any particular cate-    making sure that each SKU that we sell and each
15       gories that represent meaningful      merchant we bring onboard can deliver a great ex-
         opportunities? Benjamin Shelton       perience. Doug McMillon – June 1, 2018.
16
         Bienvenu, Stephens Inc.’s Analyst,
17       June 1, 2018.

18
         McMillon’s remarks regarding at-      “We’ve added 1,100 new brands to Walmart.com year-
19
         tracting premium brands during the    to-date, including Zwilling J. A. Henckels cutlery and
20       Q2 FY19 earning.                      cookware, Therm-a-Rest outdoor products, O’Neill
                                               surf and water apparel, Shimano cycling products and
21
                                               the brands available on the dedicated Lord & Taylor
22                                             shop, like Steve Madden footwear. This is a key area of
                                               focus for the team because we know that customers
23
                                               value an expanded assortment of these popular brands.”
24                                             McMillon, on the Q2FY19 earn call.
25

26
         Marc Lore stated that Walmart was     Moving over to the long tail, let's just start with mar-
27
         neither intentional nor reckless      ketplace. Marketplace, we were adding SKUs really
28       when it stuffed the Walmart.com       fast if you remember, it just got to like 70 million
     ‘                                                   49
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 1    catalog with low quality and/or              SKUs last year. We're adding so fast that we hadn't re-
      value from non-reputable sellers to          ally kept a very high bar in terms of the quality of the
 2
      inflate the total number Market-             SKUs and quality of merchants on the site. So last
 3    place SKUs to investors during               year we took a breather. We added more than 20 mil-
      FY17. during Walmart’s.                      lion SKUs to marketplace, but at the same time we
 4
                                                   took down about an equal amount. So, the overall
 5                                                 quantity didn't change but the quality did. The quality
                                                   is much better. And you can see that the Net Promoter
 6
                                                   Score went up almost 20 points as a result. October 16,
 7                                                 2018
 8

 9

10             The Walmart Participants Downplayed Walmart’s Marketplace Profitability and
               GMV Growth
11

12             105.    Walmart’s executives walked back on their original assertions that Walmart’s

13   Marketplace/3P is a highly profitable and there was a direct correlation between the total
14   number of Marketplace SKUs and Walmart’s Ecommerce GMV growth.
15

16                Analysts’ Questions                         Walmart’s Backpedal Responses

17        So, a couple of questions. Second         “Well, with respect to 1P, 3P profitability, it's not
18        question is on 1P. Is that ever prof-     really about whether it's first party or third party,
          itable? We're not sure it's even prof-    it's really more the product category. There's still a
19        itable for Amazon right now. So, I'm      human and merchandising aspect of this first party
20        just wondering if you guys envision       and I personally believe the margins are going to be
          that, delivered to the home, 1P busi-     rewarded, because the way the world works, hard
21        ness being profitable. Scott Andrew       work and differentiation is rewarded with margins.
22        Mushkin - Wolfe Research, LLC –           So over time, first party, I think, will be more prof-
          MD—June 2, 2017.                          itable than third party21. McMillon – June 2, 2017.
23

24

25

26
     21
        McMillon contradicted the statement made by Brett Biggs on 10/6/16: “We'll open fewer
27
     stores overall, particularly in the U.S. and we believe over time this will improve our returns
28   on capital. Not surprisingly, we'll also focus on accelerating e-commerce growth. Now this
     ‘                                                  50
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 1     Peter Sloan Benedict, Baird & Co        Yes. So, I don't want to think about 3P and 1P neces-
       Analyst, Walmart Conference on          sarily in terms of profitability. I think you want to
 2
       June 7, 2017 As it relates to what      carry a wide or the widest possible assortment of
 3     [indiscernible] on Amazon's [indis-     products. It doesn't make economic sense to carry a
       cernible] large portion of their vol-   lot of those SKUs first party because you don't have
 4
       umes [indiscernible]                    the volume. There's obsolescence issues. There's
 5                                             holding costs and things. Lore – June 7, 2017. Lore
                                               also contracted Bigg’s 10/6/16 statement. See foot-
 6
                                               note #2 below.
 7

 8

 9          The RICO Defendants Conspired with William H. Thompson to Downplay the
10          Materiality of Huynh’s Allegations That Walmart Inflated Its Ecommerce Sales
            and Operating Profit
11
            106.    RICO Defendant William H. Thompson, SEC’s Accounting Branch Chief Of-
12
     fice of Consumer Products, purportedly sent a letter to Brett Biggs on May 22, 2017, asking
13

14   Biggs questions related to the allegations in Huynh’s 4/19/17 SEC complaint. In the letter

15   Thompson asked Biggs to explain how Walmart recognized revenue for its Marketplace busi-

16   ness, how Walmart processed customer returns for its Ecommerce business, and how Walmart
17   handled inventory marked down for Walmart’s 1P Ecommerce Business. These questions
18
     touched on the very same allegations Huynh made to the SEC.
19

20          107.    This letter was pretextual because there were no visible triggers that could
21   have caused Thompson to send the May 22 letter. First, Huynh just submitted his TCR to the
22
     SEC so there were no indications that the SEC had opened an MOI into Huynh’s TCR. Sec-
23
     ond, Walmart didn’t file any reports with the SEC e.g., 8K, 10Q, and 10K etc. that discussed
24
     any of the issues raised in Huynh’s SEC submission which could have triggered Thompson to
25

26

27
     includes Marketplace, which can benefit the profitability mix of the e-commerce busi-
28   ness.
     ‘                                            51
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 1   send the May 22 letter. As an example, the table below showed that Walmart didn’t report
 2   any changes in the way they marked down stores’ inventory and most importantly Walmart
 3
     never discussed about how they accounted for Marketplace seller sales or how they marked
 4
     down Walmart’s 1P inventories.
 5

 6             FY15 Form 10K                     FY16 Form 10K                     FY17 Form 10K
 7
         The retail method of ac-          The retail method of ac-          The retail method of ac-
 8       counting results in inventory     counting results in inventory     counting results in inventory
         being valued at the lower of      being valued at the lower of      being valued at the lower of
 9       cost or market since perma-       cost or market since perma-       cost or market since perma-
         nent markdowns are imme-          nent markdowns are imme-          nent markdowns are imme-
10       diately recorded as a reduc-      diately recorded as a reduc-      diately recorded as a reduc-
11       tion of the retail value of in-   tion of the retail value of in-   tion of the retail value of in-
         ventory.                          ventory.                          ventory.
12
         The retail method of ac-          The retail method of ac-          The retail method of ac-
13       counting requires manage-         counting requires manage-         counting requires manage-
         ment to make certain judg-        ment to make certain judg-        ment to make certain judg-
14
         ments and estimates that          ments and estimates that          ments and estimates that
15       may significantly impact the      may significantly impact the      may significantly impact the
         ending inventory valuation        ending inventory valuation        ending inventory valuation
16       at cost, as well as the           at cost, as well as the           at cost, as well as the
         amount of gross profit rec-       amount of gross profit rec-       amount of gross profit rec-
17       ognized.                          ognized.                          ognized.
18
         Judgments made include re-        Judgments made include re-        Judgments made include re-
19       cording markdowns used to         cording markdowns used to         cording markdowns used to
         sell inventory and shrinkage.     sell inventory and shrinkage.     sell inventory and shrinkage.
20       When management deter-            When management deter-            When management deter-
         mines the ability to sell in-     mines the ability to sell in-     mines the ability to sell in-
21       ventory has diminished,           ventory has diminished,           ventory has diminished,
         markdowns for clearance ac-       markdowns for clearance ac-       markdowns for clearance ac-
22
         tivity and the related cost       tivity and the related cost       tivity and the related cost
23       impact are recorded.              impact are recorded.              impact are recorded.

24

25

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     ‘                                                      52
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 1       Factors considered in the de-   Factors considered in the de-   Factors considered in the de-
         termination of markdowns        termination of markdowns        termination of markdowns
 2       include current and antici-     include current and antici-     include current and antici-
 3       pated demand, customer          pated demand, customer          pated demand, customer
         preferences and age of mer-     preferences and age of mer-     preferences and age of mer-
 4       chandise, as well as seasonal   chandise, as well as seasonal   chandise, as well as seasonal
         and fashion trends. Changes     and fashion trends. Changes     and fashion trends. Changes
 5       in weather and customer         in weather and customer         in weather and customer
         preferences could cause ma-     preferences could cause ma-     preferences could cause ma-
 6
         terial changes in the amount    terial changes in the amount    terial changes in the amount
 7       and timing of markdowns         and timing of markdowns         and timing of markdowns
         from year to year.              from year to year.              from year to year.
 8

 9

10             108.   In short, the real purpose behind Thompson’s letter was to give Walmart a
11
     platform to answer Thompson’s questions concerning Walmart’s Marketplace and 1P busi-
12
     ness (estimated to be roughly $8 Bil in FY17 based on Walmart’s SEC filings) in the context
13
     of Walmart physical stores (a $500 Bil business) to mask the materiality of Huynh’s allega-
14

15   tions that Walmart inflated its Ecommerce GMV and Op Profit.

16
              Thompson’s May 22nd 2017 letter              Walmart’s June 16, 2017 response letter.
17
         Further, please include quantitative disclo-    We did not make quantitative disclosure of
18
         sure of your sensitivity to change based on     the sensitivity to change within our Sum-
19       other outcomes that are reasonably likely to    mary of Critical Accounting Estimates dis-
         occur and that would have a material effect     closure related to inventory because it was
20       on the company.                                 not material.
21       For example, with regard to inventories,        For example, a change of 1 % in permanent
22       please indicate whether your estimated in-      markdowns during the year ended January
         ventory losses have been accurate or have re-   31, 2017, would have impacted net income
23       quired adjustment; and, indicate the impact     approximately $70 million.
24       on net income if there was a 1% change in
         the amount of markdowns.
25

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     ‘                                                   53
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 1       Please tell us how you earn and account         Operating our walmart.com Marketplace
         for revenues from third party sales as well     enables us to provide our customers a broad
 2
         as your consideration of disclosing your ac-    assortment of merchandise that would likely
 3       counting policy for this revenue stream and     not otherwise be available to them in our
         income statement classification.                stores or on our own websites. While the
 4
                                                         services we provide to third party sellers in-
         In your response please also address whether
 5                                                       clude the marketplace on which they sell
         or not third-party sellers maintain ownership
                                                         and the collection of payments on their be-
 6       of their inventory and what services, if any,
                                                         half, the third parties generally are the pri-
         you provide in fulfilling third-party sales
 7                                                       mary obligor, maintain ownership of their
         and returns.
                                                         inventory, have latitude in establishing
 8
                                                         prices and are responsible for both product
 9                                                       fulfillment and returns. As a result, we are
                                                         the agent and the third party is the principal
10
                                                         in these transactions.
11

12
         Please disclose your sales return policy        "The Company recognizes sales revenue,
13       and address how you make estimates of           net of sales taxes and estimated sales re-
         the amounts of future returns.                  turns. For the year ended January 31, 2017,
14
                                                         and consistent with previous years, our
         In addition, please provide a roll forward of
15                                                       sales return reserve was less than $250 mil-
         the activity in your sales return allowance
                                                         lion, which we do not believe is material to
16       here or in Schedule II, or provide to us your
                                                         the Consolidated Financial Statements
         materiality assessment indicating why such
17       disclosure is not necessary.
18

19

20             109.    Additionally, the RICO Defendants (The Gibson Dunn Participants working in

21   concert with one or more PR agency to facilitate the disseminations of these misleading pub-

22   lication via the Internet) than corruptly influenced Francine McKenna, a Marketwatch.com
23
     reporter, to publish an article on 9/13/17 titled “Wal-Mart accounting for e-commerce, over-
24
     seas asset sales draw SEC scrutiny”22 to amplify and broadcast Walmart’s purported re-
25
     sponses to Thompson’s letter to marginalize Huynh’s allegations with Walmart’s investors,
26

27

28   22
           https://www.marketwatch.com/story/wal-mart-accounting-for-e-commerce-overseas-asset-
     ‘                                              54
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 1   analysts, the SEC and/or the DOJ.
 2
        As these referral fees have been less than 0.5% of net sales for each of the fiscal years
 3
        ended January 31, 2017, 2016 and 2015, we concluded they are not material and
 4      therefore have not disclosed our related accounting policy,” Biggs told the SEC in the
        letter.
 5
        The SEC also asked in June about a non-GAAP metric called “eCommerce Gross
 6
        Merchandise Value” or GMV in its press release. Wal-Mart told the SEC in July it
 7      defines GMV as “the total US dollar volume of merchandise sold or services rendered
        for all transactions, including marketplace transactions, that are generally initiated
 8
        through our eCommerce platforms or include our owned inventory sold on other third-
 9      party platforms. It also incorporates discounts, estimates for returns, shipping fees
        and referral fees.”
10
        E-commerce sales at Wal-Mart U.S., where the company is competing directly with
11      Amazon, grew 60% in the most recent quarter. Wal-Mart has already increased the
12      number of products offered on Marketplace to 67 million items, supplemented by
        items from third-party sellers like Toms and Vans shoes.
13
                        Reverse Whitewash – Coverup the Coverup
14

15          110.   In Mid-Dec 2018, Huynh emailed Gregory B. Penner, Chairman of Walmart’s
16
     Board of Directors, Mr. Timothy B. Flynn, Chairman of Walmart’s Board of Audit and Rob
17
     Walton, former Chairman of Walmart’s Board of Director, Doug McMillon, Brett Biggs,
18
     Marc Lore, and Rachel Brand to put them on notice that Huynh believes that Walmart’s sen-
19

20   ior executives may have engaged in fraud against shareholders. Huynh also stated that he be-

21   lieves that Walmart’s may have fabricated Beal’s 11/30/16 email and Marketplace RIF list to

22   assert Walmart’s false affirmative defense. See Case 3:18-cv-01631-VC - DC Dkt. 83.
23

24          111.   The very next day Rachel Brand, EVP of Global Governance, Chief Legal Of-

25   ficer and Corporate Secretary, sent a memo announcing the departure of Jay Jorgensen, EVP

26

27

28   sales-draws-sec-scrutiny-2017-09-12
     ‘                                                55
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 1   of Global Ethics and Compliance. Subsequently, starting in early 2019, the circumstantial ev-
 2   idence discussed below lead Huynh to conclude that it is more likely than not that Walmart’s
 3
     Board of Directors ordered the Walmart Defendants to reverse their whitewashing campaign
 4
     to coverup the WSF Coverup Enterprise’s original cover up scheme. Even though, Huynh
 5
     didn’t currently possess evidence of email and communications between Walmart’s Board of
 6

 7   Directors and the other RICO Defendants Huynh believes this information is with the Defend-

 8   ants and could be discovered during discovery.

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            112.    Starting in early 2019 to the present (see chart above), the RICO Defendants
22
     began to reverse the definition of Walmart Marketplace back to its original meaning i.e.,
23

24   Walmart’s Market-place is a segment of Walmart.com. Additionally, Walmart’s senior exec-

25   utives once against embraced their original assertions that Marketplace is fast growing and

26   improves the margin mix of Walmart’s Ecommerce business. First, Walmart once again used
27   the term “Marketplace” and “Third Party/3P” interchangeably (same as they did prior to May
28
     ‘                                                56
             VERIFIED FIRST AMENDED COMPLAINT – DEMAND FOR JURY TRIAL
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 1   2017). The syntax analysis chart below showed that after Dec 2018, Walmart used the term
 2   “Marketplace and the term Third-Party/3P interchangeably 78 times to describe Walmart’s
 3
     Marketplace business. The term “Marketplace” was used 66 times or 85% of the time and the
 4
     term “Third-Party/3P” were used 12 times or 15% of the time.
 5

 6          113.    Second, instead of using the term “Third Party/3P” as an essential appositive to
 7
     redefined Marketplace as Walmart.com, Robert Ohmes used the terms “Third Party/3P” and
 8
     “Marketplace” inside a set of parentheses to once against assert the synonymous relations be-
 9
     tween Marketplace and Third Party/3P.
10

11      “WMT currently offers ~90mn SKUs online but sees opportunity for that to grow as
        Marketplace (3P sellers) expands, with support from WMT’s recent launch of WMT
12
        Fulfillment Services (providing more tools and helping to make WMT.com a more at-
13      tractive platform for 3P sellers).” Bank of America/Merrill Lynch March 10, 2020 In-
        vestment Report. See Exhibit 35.
14
        “WMT US owned ecommerce sales grew 74% in F1Q (vs. our 35% est. & on top of
15      37% LY) & contributed a record 390bps to the US comp, with strong results across gro-
16      cery pickup & delivery, Walmart.com (gen. merchandise), & Marketplace (3P)
        …...WMT is seeing increases in new buyers & repeat rates and is looking to build a sig-
17      nificantly larger online business in profitable categories & drive the growth of Market-
18      place (3P) as aggressively as possible.” Bank of America/Merrill Lynch May 19, 2020
        Investment Report. See Exhibit 36.
19
        “WMT is now looking to drive the growth of its highly profitable 3P (Marketplace)
20      business as aggressively as possible with expansion of its relatively new Walmart Ful-
21      fillment Services division”. Bank of America/Merrill Lynch June 10, 2020 Investment
        Report.
22

23
            114.    Third, building upon Ohmes’ reversion back to the original definition of Mar-
24
     ketplace i.e., Walmart’s Marketplace is a segment on Walmart.com, Walmart’s Senior Execu-
25
     tives also began to revert back to the original definition of Marketplace in their communica-
26

27   tions with investors and analysts. Walmart also resumed reporting to the total number of

28   SKUs on Walmart.com.
     ‘                                                57
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 1       “We’re making progress on many fronts, but we need to do more and move far, especially
         with our assortment including marketplace. I continue to challenge the team to drive a
 2
         deeper, more sustainable relationship with the customer, better execute the fundamentals,
 3       and improve the overall economics of the business.” Doug McMillon: Q3 FY20 earnings
         call on November 14, 2019
 4
         I would say that the continued investment in marketplace as that's accelerating faster
 5
         than the overall first-party business, we continue to attract new sellers at this time. And
 6       then WFS is also very early, but we're seeing very encouraging signs of opening up the
         business to new sellers and we see that as a potentially nice growth area in the future.
 7
         Marc Lore President & Chief Executive Officer-Walmart U.S. eCommerce, Walmart, Inc.
 8       Walmart’s Annual Investment Community Meeting 18-Feb-2020
 9       The assortment on walmart.com has grown to about 80 million SKUs including mar-
         ketplace has remained focused on keeping the quality of items high. And as a result, the
10
         Marketplace business has grown by 2.5 times since FY 2017. However, this is an area, as
11       Doug mentioned, where we still have a lot more work to do. Marc Lore Walmart’s Annual
         Meeting with the Investment Community Meeting on 18-Feb-2020
12

13       Question: So, Doug, I think in your comments in the third quarter, you mentioned doing
         more with the Marketplace or 3P business. Can you – how is that in the fourth quarter
14       and what are you guys seeing in 3P? Walmart’s Annual Investment Community Meeting
15       18-Feb-2020

16       Answer: Yeah, it was good. But we don't think that we've done everything we must do
         and should do to support marketplace sellers in terms of the tools and services that we
17       have available. I mean, we've grown a Marketplace business over the last few years to a
18       pretty good size, and it's helped us a lot with the assortment and being top of mind for cus-
         tomers as they're looking for items. McMillon. Walmart’s Annual Investment Community
19       Meeting 18-Feb-2020
20
         Walmart.com also saw a surge in demand during the quarter as customers opted for
21       greater convenience and increased social distancing. The U.S. eCommerce business grew
         74% in total. Growth in marketplace outpaced the overall business even as first-party
22       sales were strong. Douglas McMillon President, Chief Executive Officer & Director,
23       Walmart, Inc. Q1 2021 Earnings Call 19-May-2020

24

25          115.    Fourth, instead of denying that Marketplace is not necessarily profitable and

26   not a key growth driver for Walmart’s Ecommerce, McMillon, Biggs, Lore, and other

27   Walmart’s executives reverted back to their original assertion that Walmart’s Marketplace is
28
     ‘                                                 58
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 1   highly profitable and fast growing.
 2
         “We've talked – you've heard us talk a lot over the last couple of years about the ecosys-
 3       tem, and we have a pretty healthy ecosystem today. We're growing things like ad revenue.
 4       We're growing our Marketplace business, both of which we think long-term will be a
         big part of our ecosystem…... Marketplace is going to be a big part of our business. I
 5       mean, if we're sitting here three years from now, I think we're going to be talking about a
 6       much bigger Marketplace business than we have today” Brett M. Biggs Chief Financial
         Officer & Executive Vice President, Walmart, Inc. Raymond James Institutional Investors
 7       Conference on 04-Mar-2020
 8       “Walmart.com also saw a surge in demand during the quarter as customers opted for
         greater convenience and increased social distancing. The U.S. eCommerce business grew
 9
         74% in total. Growth in marketplace outpaced the overall business even as first-party
10       sales were strong.” Douglas McMillon President, Chief Executive Officer & Director,
         Walmart, Inc. Q1 2021 Earnings Call 19-May-2020
11

12       “I would say that the continued investment in marketplace as that's accelerating faster
         than the overall first-party business, we continue to attract new sellers at this time. And
13       then WFS is also very early, but we're seeing very encouraging signs of opening up the
14       busi-ness to new sellers and we see that as a potentially nice growth area in the future.”
         Marc Lore - Walmart, Inc. Q1 2021 Earnings Call 19-May-2020
15
         “Now, let's discuss the quarterly results for each operating segment. Walmart US had a
16
         strong quarter. Comp sales, excluding fuel, increased 9.3%, with eCommerce sales growth
17       of 97%. eCommerce sales were strong throughout the quarter contributing approximately
         two-thirds of the segment comp growth. We saw significant increases in repeat rates and
18
         weekly active digital customers, and we continue to make progress on assortment expan-
19       sion and seller tools with eCommerce Marketplace sales growing triple digits. Gross
         profit rate was strong, up 42 basis points due to increased sales in higher-margin general
20       merchandise categories and fewer markdowns. We also saw improvements in eCommerce
21       margin rates, reflecting continued progress on product mix and faster growth in mar-
         ketplace sales. Douglas McMillon President, Chief Executive Officer & Director,
22       Walmart, Inc. Q2 2021 Earnings Call 18-Aug-2020
23
         “Our Marketplace business has been strong, which is also an accretive category in
24       relation to the rest of the business.” John R. Furner President & Chief Executive Of-
         ficer-Walmart US, Walmart, Inc. Q2 2021 Earnings Call on 18-Aug-2020
25

26       “Walmart.com traffic has been robust with solid increases in repeat rates and good mo-
         mentum in marketplace sales which grew in triple-digits. Gross profit rate was strong,
27       up 33 basis points, due primarily to strategic sourcing initiatives and fewer markdowns.
28       We continue to make progress on eCommerce margin rates as we drive faster growth of
     ‘                                                  59
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 1       marketplace sales and improve product mix.” Brett M. Biggs Chief Financial Officer &
         Executive Vice President, Walmart, Inc. Q3 2021 Earnings Call on17-Nov-2020
 2

 3       “Your second question was on eCommerce margin specifically, and Michael, those results
         are a reflection of mostly mix as we described, our home business has been solid online,
 4       our apparel has led, and then the overall winner in the eCommerce business was our
 5       marketplace business, which led the marketplace – or led the eCommerce comps in
         total to 79% for the quarter.” John R. Furner President & Chief Executive Officer-
 6       Walmart U.S., Walmart, Inc. Q3 2021 Earnings Call 17-Nov-2020
 7
         “We'll continue improving margin mix through an enhanced general merchandise offer-
 8       ing, new brands and marketplace growth with a greater push towards expanding ful-
         fillment and other services for sellers. We'll drive existing and new customer growth
 9
         through initiatives like Walmart+. We'll grow sales and profit increasingly with growing
10       higher margin businesses in advertising, financial services, marketplace, healthcare ser-
         vices and the like.” Brett M. Biggs Chief Financial Officer & Executive Vice President,
11
         Walmart, Inc. Annual Meeting with the Investment Community on 18-Feb-2021
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     ‘                                               60
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 1         116.   Fifth, after two quarter of hiatus, Walmart’s Senior Executives resumed re-
 2   porting the total number of SKUs on Walmart.com.
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23         The RICO Defendants Conspired to Conceal Evidence That Proved Walmart Re-
           ported Artificially Inflated Ecommerce Q1 FY18, Q2 FY18, and Q3 FY18 Ecom-
24         merce Quarterly Sales Growth to Investor and Analyst
25                David deRubertis Asked Huynh to Share Confidential Information Sub-
                  mitted to the SEC which Proved Walmart Reported Inflated Quarterly
26                Ecommerce Sales Growth for FY18.
27         117.   Between April 2017 and end of 2018, David deRubertis caused Huynh and

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     ‘                                             61
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 1   Phillips & Cohen to share with him confidential and non-public information that Huynh sub-
 2   mitted to the SEC via emails that crossed interstate boundary23 . See Exhibit 2 to 8 for the
 3
     SEC submissions Huynh shared with deRubertis who in turned shared this with Gibson
 4
     Dunn’s leaders who in turn shared them to the Walmart Defendants.
 5

 6          118.    For example, in early June 2017, Huynh forwarded a memo that Sean

 7   McKessy later submitted to the SEC. See. In the memo, Huynh alleged that the majority of
 8   the 69% Ecommerce Sale growth for Q1 FY18 that Walmart reported to investors was driven
 9
     by the Jet.com acquisition. Then in early Jan 2018, Huynh shared with deRubertis an SEC
10
     submission which included an excel spreadsheet that proved that Jet.com monthly GMV run
11
     rate at the end of 2017 was around $53 Mil. This translated to an annual run rate of roughly
12

13   $600 Mil. See Exhibit 6 at 3. However, Walmart disclosed to analysts that the annual run

14   rate for Jet.com was $1.2 Bil. As the analysis below showed, Walmart improperly inflated

15   Jet.com sales for FY17 and FY18 to jack up Walmart’s Ecommerce Quarterly Sales growth
16
     for FY18 to investors. These misleading growth metrics led investors into believing that
17
     Walmart will be an alternative to Amazon.com. So, investors and analyst pushed up
18
     Walmart’s Market Cap by about $140 Bil.
19

20                  David deRubertis Delayed the Filing of Huynh’s SOX Complaint in Fed-
                    eral Court to Give Walmart’s Executives the Runway to Conceal the
21                  Quarterly Ecommerce Sales Growth.
22          119.    Shortly after Huynh shared with David deRubertis the Jet.com GMV inflation

23   evidence, David deRubertis intentionally delayed the filing of Huynh’s SOX claim in Federal
24   Court until Mid-March 2018. When Huynh asked deRubertis to speed up the filing of the
25

26   23Since Huynh lived in Seattle, WA and McKessy and Chang worked out of Washington DC
27   any emails that David deRubertis cause us to send to him crossed states boundary. Therefore,
     David deRubertis committed wire frauds. This evidence also proved that the Walmart Share-
28   holder Fraud Coverup Enterprise had a nexus with Interstate Commerce.
     ‘                                               62
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 1   complaint, he lied, made excuses and intimidated Huynh in order to silence Huynh.
 2
            120.    The text messages and email evidence (below), showed that between Jan and
 3
     Mar 2018, David deRubertis intentionally delayed filing Huynh’s SOX complaint to allow the
 4

 5   other RICO Defendants to mislead investors, analysts, the SEC and/or other Governmental

 6   agencies, to cover up the Ecommerce Sales inflation.

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                      David deRubertis’ Jan 30, 2018 Email. (See Exhibit 38.)
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24       Hi Tri – I’ve tried to be diplomatic about this but it’s not getting through to you. I feel
         like I need to be less diplomatic and more direct. I hope you’ll understand and this won’t
25       hit you the wrong way. I need you to step back and try better to understand my perspec-
26       tive. I feel like we talk, you reassure me you want the best product possible and you
         aren’t in a crazed rush to get something in your hands, but you just need clear communica-
27       tion on timing.
28
     ‘                                                63
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 1         I’m doing my best to meet your desires, but I’m also doing my best to put together the
           best work product. And, a fundamental point in this I probably should have made more
 2
           clear to you (even though I have said this repeatedly): I don’t make my schedule; often,
 3         my schedule is made for me by emergencies created by cases, courts or clients that I have
           to prioritize over non-actual deadlines. Once your case is filed, you will get my priority
 4
           over clients whose cases are not yet filed. So, while I do my best to predict things, it’s
 5         never near science and it’s not uncommon for predictions to prove wrong. Nonetheless, I
           did tell you I would communicate timeline and delays to you. I think I have been doing
 6
           that, but from my perspective, on this issue, you are not doing what I’m asking in return.
 7         Let me explain why I say that.
 8         Yesterday, I wrote this: “Will touch base in morning if it’s not emailed to you tonight.
           Hang tight…. Approaching the finish line…         ” So yesterday I told you I would reach
 9
           out to you in the morning. But, true to form, at 8:47 a.m. this morning you’re already
10         emailing me. As if that wasn’t enough, then at 9:25 a.m. you’re texting me. Yet again,
           you don’t even give me the chance to do what I say before you’re bombarding me with
11
           what I perceive as “where is it” communications.
12         My question to you: Is this really necessary? You really couldn’t sit tight and wait to hear
13         from me without before even 9:00 a.m. reaching out? I sure did plan to reach out this
           morning but, frankly, was so annoyed that you’re already at it that I didn’t.
14
                                   David deRubertis’ Feb 12, 2018 Email.
15

16         Hi Tri – Just saw your text from yesterday. Please stop. You are beating me down to the
           point of discouraging me from doing my best work. I cannot tell you this again. You
17         will respect it, or we don’t work together. I told you before: NO, I’m not just sending
18         you the work in progress until I feel it is ready to turn over to you. I told you that last time
           around. To now ask for me to do that again, is to return to the process of not listening.
19         You are being your own worst enemy by continuing this pattern. I’m trying to do this
20         the way that works for me because that is what produces the best result for my clients.
           I’ve been 100% transparent about my process to you. I’ve told you I don’t just placate cli-
21         ents to make them happy. I focus on doing the work on the case the way that will produce
22         the best result, even when it annoys clients. I’ve told you this directly over and over, in-
           cluding in our initial meetings. Nonetheless, I keep feeling pressure to placate you
23         and make you happy. If you want me to be that lawyer, sorry, I won’t. I’m not going to
24         keep feeling the pressure to account to you on meeting fictional deadlines. I told you this
           weekend about the real reality of deadlines. And I’ve been putting as many hours as I can
25         into finalizing your complaint, re-reviewing ALL of the documents to make sure I’m not
26         overlooking anything in terms of the theory we are pitching in it, etc. 24 I want to do this

27

28   24
          As discussed above, my case is a SOX retaliatory termination case not a class action share-
     ‘                                                 64
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 1      the right way, and I need to stop being asked to predict when it is in your hands because
        the end result is that process just leads to more frustration. Don’t you see that if you keep
 2
        breathing down my neck, it just incentivizes me to hurry up and finish rather than take the
 3      time to do the best result???
        But, I’ve also concluded it makes no sense to tell you when I expect to turn it over be-
 4
        cause then I keep feeling a pressure to rush to meet a false deadline rather than working
 5      the way ALL MY OTHER CLIENTS ALLOW ME TO WORK. Yes, I’m writing that in
        caps for a reason. YOU ARE THE ONLY CLIENT WHO MAKES ME FEEL LIKE I
 6
        HAVE TO FOCUS ON PLACATING YOU RATHER THAN DOING THE BEST
 7      WORK.
 8
            121.   deRubertis’ purported justifications for the delaying filing the SOX complaint
 9
     were because he was busy with other cases, and he needed more time to draft a comprehen-
10
     sive and high-quality complaint i.e., a 70-page complaint were bogus and pretextual. First,
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12   deRubertis knew that he didn’t have to plead with specificity in a SOX employment retalia-

13   tion case nor was he required to prove that Walmart committed fraud against shareholders.
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27   holder fraud case so deRubertis didn’t have plead with specificity and prove that Walmart ac-
     tually committed illegal conducts. So deRubertis didn’t need four months to draft a com-
28   plaint.
     ‘                                                65
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 1   Second, deRubertis contradicted himself when said he said he needed more time to file the
 2   complaint was a lied because while he was delaying filing the complaint Kari deRubertis
 3
     caused the deRubertis Law Firm’s employees to use interstate email and fax to rush Huynh’s
 4
     doctors to produce Huynh’s medical records under the pretext that the deRubertis Law Firm
 5
     had to meet Court’s deadline. David and Kari deRubertis used interstate money transfer to
 6

 7   procure the medical records from Swedish Medical in Seattle, WA25.

 8
                                    Back to the Future - February 18, 2018
 9

10          122.    Huynh struggled for the several months in 2020 trying to answer a fundamen-
11   tal question: “Why did deRubertis repeatedly delay filing Huynh’s complaint? What were
12
     deRubertis’ true motives? In early Sept 2020, Huynh stumbled on a recent ruling that dis-
13
     cussed the loss causation requirement of a securities fraud class action lawsuit brought under
14
     § 10(b)(5). This case gave Huynh the inspiration to investigate and answer the questions
15

16   above. The first case was PAUL HAYDEN, et al., Plaintiffs, v. PORTOLA PHAR-MACEU-

17   TICALS, INC., et al., (Case 3:20-cv-00367-VC26) out of the United States District Court,
18
     Northern District of California.
19

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     25
        This evidence proved that the Walmart’s shareholder fraud coverup enterprise procured
22
     good and service across states boundary. Therefore, as a matter of laws the enterprise affected
23   interstate commerce.
     26 https://www.govinfo.gov/content/pkg/USCOURTS-cand-3_20-cv-00367/pdf/USCOURTS-

24   cand-3_20-cv-00367-1.pdf. In his ruling, District Judge Vince Chhabria wrote: “To satisfy
     this element, the plaintiffs must allege that the revelation of the identified omission was a sub-
25   stantial factor in cause the company’s stock price to decline, thereby causing an economic loss
26   for its investors. Nuveen Municipal High Income Opportunity Fund v. City of Alameda, Cali-
     fornia, 730 F.3d 1111, 119 (9th Cir. 2013). This is frequently achieved by identifying the date
27   that “the truth is revealed” through some public announcement and then describing how much
     the stock dropped thereafter, often bolstered by statements from analysts citing the revelation
28   as the cause for investor concern. In re Daou Systems, 411 F.3d 1006, 1026 (9th Cir. 2005).
     ‘                                                   66
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 1                   The Walmart Participants Engaged in a Fraudulent Scheme to Rip Off
                     Shareholders to the Tune of $140 Billion
 2
              123.    Huynh read numerous Walmart’s 10Ks, 10Qs, and 8Ks filings, Walmart’s
 3

 4   earning calls and other events’ transcript as well as numerous analysts’ reports on Walmart

 5   Inc then modeled Walmart’s Quarterly Ecommerce growth with and without the Jet.com
 6   FY17 and FY18 sales contribution. Based on his analysis, Huynh discovered that Walmart’s
 7
     senior executives (Marc Lore, Dough McMillon, Brett Biggs, and others) artificially inflated
 8
     Walmart’s Ecommerce quarterly sales growth to purportedly show explosive quarterly growth
 9
     rates of 63%, 60%, and 50% for Q1, Q2, and Q3 FY18 respectively then using the Internet as
10

11   a medium to disseminate these fraudulent results. As a result of these misleading results,

12   Walmart’s Market Capitalization increased by roughly $140 Bil during FY18. However, af-

13   ter, Walmart announced on Feb 18, 2018 that Walmart’s Q4 FY18 Ecommerce Sales growth
14   collapsed to 23% from 50% in the previous Quarter, Walmart’s stock price dropped by 10%
15
     on the same day then continued to drop from a height of $109 in late Jan 2018 to $82 on May
16
     29, 2018 (a $27 drop), wiping out roughly $80 Bil in Walmart’s Market Cap.
17

18            124.   Some investors may have been harm by these fraudulent conducts. For exam-
19
     ple, the chart below showed that during the period where Walmart’s senior executives artifi-
20
     cially inflated Walmart’s Quarterly Ecommerce Sales Growth (discussed above) which drove
21
     Walmart’s Market Cap up by $140 Bil then subsequent collapse, CalPERS disposed roughly
22

23   735,000 share of Walmart stocks. If CalPERS27 had bought Walmart’s stock at a higher

24   price, then later sold it a lower price, then two million hard working Californians may have
25

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27

28   27
          https://www.calpers.ca.gov/
     ‘                                                67
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 1   been harmed by Walmart’s fraudulent conducts.
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            125.   Walmart’s senior executives artificially inflated Walmart’s Quarterly Ecom-
18
     merce Sales Growth in FY18 in two significant ways. First, Walmart misleadingly disclosed
19
     to investors in Oct 2016 that Jet.com’s annual GMV run rate was $1.2 Bil when in actuality it
20
     was closer to $.6 Bil. See Exhibit 6- SEC Jan 2018 Submission at page 2. As a result of the
21

22   inflated GMV run rate for Jet.com FY17 and FY18 GMV which led analysts materially in-

23   flated their forecast of Jet.com GMV for FY17 and FY18. (See Exhibit 40) Second, based on
24   the inflated Jet.com FY 17 and FY18 Jet.com GMV, Walmart recognized all of Jet.com FY17
25
     and FY18 GMV as Jet.com sales. However, this was not GAAP compliance because
26
     Walmart should have only recognized the seller commission fee (about 15% of GMV) gener-
27
     ated from Jet.com Marketplace’s GMV as Jet.com sales not the entire Marketplace GMV
28
     ‘                                               68
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 1   amount. Walmart knew this fact very well because this was the precise answer that Mr. Biggs
 2   gave to Mr. Thompson in Mid-2017.
 3

 4
         SEC May 2017 Letter to Walmart.                 Walmart’s Reply Letter in June 2017
 5
         Revenue Recognition.                            Walmart’s Methodology.
 6
         Please tell us how you earn and account for     We are the agent and the third party is the
 7
         revenues from third party sales as well as      principal in these transactions. We earn
 8       your consideration of disclosing your ac-       and account for referral fees from these
         counting policy for this revenue stream and     transactions on a net commission basis,
 9
         income statement classification.                which we present in net sales in the Com-
10                                                       pany's Consolidated Statements of Income.

11

12

13                    The Walmart Participants and the Other RICO Defendants Acted in Con-
                      cert to Mislead Investors, Analysts, and the SEC to Coverup Walmart’s In-
14                    flation of Its Quarterly Ecommerce Sales Growth During FY18

15
               126.   Based on the information David deRubertis leaked to his Co-RICO Defend-
16
     ants, Walmart’s senior executives and other RICO Defendants began a cover up campaign
17

18   starting on the Q4 FY18 quarterly earnings calls to conceal the facts that Walmart’s senior ex-

19   ecutives had artificially inflated Walmart’s Quarterly Ecommerce Sales growth in FY18 to
20   mislead investors and analysts. During the quarterly earnings call, Walmart’s senior execu-
21
     tives provided two purported justifications for the Ecommerce sales short fall in Q4 FY18.
22

23             127.   First, Walmart intentionally stopped unprofitable sales of items that apparently

24   juiced prior year holiday online result (Walmart found items being sold by resellers) i.e.,
25
     Walmart didn’t want to lose more money during the Q4 FY18 holiday shopping season. This
26
     purported explanation was not was not credible for two reasons. First, when Huynh asked
27
     McMillon during a town hall meeting with Walmart.com’s employees in late 2016 “How
28
     ‘                                                  69
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 1   would Walmart closed the Ecommerce sales gap with Amazon?”. McMillon’s answer was
 2   simply investment matter! We have to put more fuel on the fire not less. So, losing money
 3
     could not be the real reason for missing an important metric analysts used to value Walmart’s
 4
     stock. Especially, when Walmart’s senior executives knew that investors were willing to
 5
     overlook operating margin short fall in the short to medium term as long as Walmart delivered
 6

 7   high Ecommerce Sales growth. See Exhibit 41.

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19          128.   Second, Walmart was spending money like a drunken sailor to buy both US

20   same stores sales and US Ecommerce sales. The chart below is scatter plot between

21   Walmart’s US operating margin and same store sales growth. Since taking over as Walmart
22   Inc.’s CEO, McMillon bought US same-store sales growth at the expense of operating mar-
23
     gin. (i.e., he was willing to lose or make less money). Although, Walmart’s US same-store-
24
     sales increased to around 3%, Walmart’s US operating margin eroded significantly from the
25

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     ‘                                               70
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 1   7% to 8% range under McMillon’s predecessors to around 5% under McMillon’s leadership.
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17          129.    Additionally, Walmart lost Billions of Dollars on its Ecommerce business
18   since FY12 in order to buy growth. Thus, it was difficult to believe that someone that spent
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     ‘                                               71
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 1   money like a drunken sailor suddenly woke up one day and decided to be frugal.
 2
            130.    Second, Walmart’s purported explanation that the FC operational problems
 3

 4   during the FY18 holidays season was a minor contributing factor to Walmart’s slower Ecom-

 5   merce sales growth was at the very best half-truth. Huynh believes that while it was true that
 6   Walmart encountered operational issues when they tried to swap out the bulky and heavy gro-
 7
     cery and consumable items with holidays merchandises. Huynh does not believe that the im-
 8
     pact of this problem was a minor factor in Walmart’s slower Ecommerce sales growth. The
 9
     chart below showed that Walmart.com’s Ecommerce sales growth (without Jet.com contribu-
10

11   tion) was averaging about 36% between Q1 and Q3 of FY18 but suddenly dropped by 20% to

12   16% during Q4 FY18. What this showed was that Walmart overstuffed their FCs with gro-

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28   cery and consumable items during off peak season in FY18 to maximize Ecommerce sales.
     ‘                                              72
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 1

 2
            131.    However, Huynh believes Walmart failed to foresee the huge operational chal-
 3

 4   lenges of swapping out bulky and heavy grocery and consumable items with general merchan-

 5   dise/holiday items. Therefore, Huynh believes Walmart’s challenges in bringing holiday as-
 6   sortments to their FCS materially impacted Walmart’s Ecommerce sales growth during Q4 of
 7
     FY18 for two reasons. First, customers did not simply buy more grocery and consumable
 8
     items during the holidays. On the other hand, customers spent significantly more money on
 9
     general merchandise products during the holiday shopping season. For example, a typical
10

11   online retailer’s sales in Q4 usually double that of a normal/off peak quarter. Second, grocery

12   and consumable products are bulkier and take up more space than general merchandise prod-

13   ucts. Imagine how many general merchandise items a 12 rolls of paper tower would displace.
14   So, for every consumable item that Walmart was unable to swap out of their FCs Walmart lost
15
     sales on multiple General Merchandise items. Additionally, General Merchandise items often
16
     have higher average selling prices than consumable items. Loss of general merchandise item
17
     sales resulted in further sales declined for Walmart.
18

19
            132.    Several days after McMillon announced that Walmart Q4 FY18 Ecommerce
20
     sales growth collapsed to 23% from 50%, Matthew Boyle published an article on Feb 23,
21
     2018 to misrepresent the reasons behind Walmart’s slower Ecommerce sales growth to con-
22

23   ceal the fact that Walmart was driving its Ecommerce sales growth in FY18 by selling more

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     ‘                                                 73
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 1   low margin grocery and consumable products instead of selling the high margin general mer-
 2
     chandise products as purportedly implied by Walmart. 28 In hist article, Matthew Boyle pur-
 3
     portedly attributed the reason for Walmart’s slower Ecommerce sales growth was due to
 4
     Walmart’s inability to fulfill the flood of customer holiday gifts orders (indirectly implied that
 5

 6   customers loved Walmart’s general merchandise products very much but Walmart was not

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16   able to fulfill their orders). See Exhibit 42.
17

18        https://www.bloomberg.com/news/articles/2018-02-23/walmart-s-amazon-killer-goes-
          from-superstar-to-man-on-hot-seat
19

20

21   Boyle’s statements               Walmart’s disclosures on Feb 18       Remarks

22

23

24

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     28
26     If investors and analysts knew that the majority of the Ecommerce sales growth was com-
     ing from grocery and consumable then it would shatter Walmart’s purported Ecommerce bas-
27   ket growth strategy because the cornerstone of this strategy was to earn low margin (maybe
     even lose money) with click & collect grocery and consumable offering then earned high mar-
28   gin by getting customers to buy general merchandise e.g., Apparel and Home products.
     ‘                                                74
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 1    But the first crack came       “Yes. So, the operational chal-      Walmart stated the lack of
      over the holidays. An in-     lenges that I mentioned were more     holiday (general merchan-
 2
      flux of gift orders over-     around fulfillment. And so, as you    dise) offerings was the
 3    whelmed Walmart’s sup-        start -- you always have this chal-   main contributing factor
      ply chain, leaving no         lenge. As you start pulling more      to the slower Ecommerce
 4
      room for everyday items.      seasonal inventory into a fulfill-    sales growth not
 5    Sales rose 23 percent, a      ment center, where you have           Walmart’s inability to
      slower pace than both Am-     everyday goods, you can have          fulling the tsunami of in-
 6
      azon and Target over the      some challenges with that.” Brett     coming customer orders.
 7    same period. Feb 23, 2018.    Biggs – Mar 2018.
 8

 9

10
            133.    However, this completely contradicted with what Walmart’s senior executives
11
     were telling investors and analysts i.e., Walmart’s slower Ecommerce sales growth was inten-
12

13   tionally because Walmart didn’t want to be too promotional not during the holidays not

14   Walmart’s inability to fulfill the tsunami of customer gift orders during the holidays. A busi-

15   ness reporter with years of reporting experience would not make the mistake above. There-
16
     fore, it is more likely than not that the Walmart Participants, Gibson Dunn Participants and
17
     other unknow co-conspirators provided Boyle with the misleading statements above. Boyle
18
     then used the Internet to disseminate misleading information to investors and analysts to cov-
19
     erup the facts that Walmart didn’t gain traction in their online General Merchandise business
20

21   in any meaningful way.

22
            134.    Furthermore, to help Walmart downplayed the importance of Jet.com in
23
     Walmart’s Ecommerce Quarterly Sales growth, Huynh believes Boyle published an online ar-
24

25   ticle on 4/13/1829 to purportedly accentuate the spectacular collapse of Jet.com website traffic

26

27
     29
        https://www.bloomberg.com/news/articles/2018-04-13/walmart-s-jet-traffic-declines-as-
28   hipsters-prove-costly-to-reach
     ‘                                            75
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 1   to divert investors’ and analysts’ scrutiny away the fact that Walmart had improperly inflated
 2   Jet.com FY17 and FY18 sales.
 3

 4                                        Jet.com is losing altitude.

 5       Walmart Inc., Jet’s owner, has increased marketing of its primary website while scaling
         back promotion for Jet. While the shift may help maintain the retailer’s declining profit
 6       margins, the impact has been felt on Jet’s website, where traffic declined about 60 per-
 7       cent in March compared with a year earlier. according to data tracker SimilarWeb.

 8       “So long as Walmart’s numbers are strong it doesn’t matter what happens to Jet,” said Su-
 9       charita Kodali (as a reminder this purported expert/analyst was also in Boyle’s Mar 16,
         2018 article to downplay the materiality of Huynh’s allegations) , an analyst at Forrester
10       Research. “This makes it easy to sunset Jet and focus on Walmart. I’m not sure, hon-
         estly, why Jet is even still around.”
11           135. In short, the Walmart participants and the other RICO Defendants plant and
12
     execute a controlled the deflation of the Jet.com’s misleading sales accounting for FY17 then
13
     made-up bogus reasons to shift investors and the SEC away from scrutinizing the Jet.com
14
     sales inflation. For example, during the Q4 FY18 earnings call, Walmart announced that they
15
     would not invest marketing dollars in Jet.com going forward (downplaying the success of
16

17   Jet.com). admitting the Jet.com failure to stop

18
            The RICO Defendants Campaign of Lies to Destroy Huynh’s Credibility with
19          Walmart’s Investors, Analysts and the SEC.
20
                    David deRubertis Lure Huynh Across State Line to Gather Confidential
21                  Information to Conspire with the Gibson Dunn and Walmart Participants
                    and Other RICO Defendants to Discredit Huynh’s Allegations.
22

23          136.    About a month after Huynh informed deRubertis of his meeting with the SEC

24   in San Francisco in early Oct 2017, deRubertis informed Huynh that OSHA had not finished

25   and allowed Huynh to take his SOX case to Federal Court OSHA. In Mid-Nov 2017, deRu-
26
     bertis asked Huynh to come to meet him in person at his office in Studio City, California un-
27
     der the pretext of getting to file a lawsuit against Walmart in Dec 2017. The deRubertis Law
28
     ‘                                                 76
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 1   Firm, APC fully funded Huynh’s trip (the deRubertis booked Hotels and reimburse for air fare
 2   and Uber fair). See Exhibit 43.
 3

 4           137.    During the meeting, deRubertis took the binder that Huynh and Sean McKessy,

 5   Phillips & Cohen, produced to the SEC in Oct 2017 then asked his assistance to make a copy
 6   of the binder. deRubertis also asked Huynh for the Oct 2, 2016 email that Seth Beal sent to
 7
     Dough McMillon to update him that Marketplace had 10.9 Mil SKUs and 19.7 Mil SKUs on
 8
     Walmart.com. See Exhibit 45. Huynh didn’t realize that this email was a smoking gun that
 9
     proved scienter (Legal element #2 of an SEC 10-b 5 enforcement action) i.e., McMillon inten-
10

11   tionally misled investors. Huynh only came to learn the importance of this Oct 2 email a year

12   later.30.

13

14           138.    Second, deRubertis asked Huynh to share with him an email that contained an

15   internal presentation that discussed one instances of how Walmart’s Ecommerce failed to pro-

16   cess customer returns which impacted profit by $7 Mil (Not sales). See Exhibit 44. deRuber-
17   tis, the Gibson Dunn and Walmart participants attempted to fixate on the $7 Mil figure to
18
     downplay Huynh’s allegation that Walmart’s Ecommerce inflated its GMV to the tune of
19
     $386 Mil.
20

21           139.     deRubertis also asked Huynh for two additional things. First, Kari deRubertis
22
     asked Huynh to sign a non-HIPPA compliance medical records release form without the name
23

24

25   30
        This evidence proved that the Walmart participants (knowing that McMillon lied to inves-
26   tors during the Oct 6, 2016 meeting the investment community) and GDC participants in-
     structed David deRubertis to obtain this information to manipulate it to make McMillon state-
27   ments not misleading. Otherwise how could a mere Plaintiff employment knew about the im-
     portance this Marketplace assortment metric and most importantly how did he know that
28   Huynh had the Oct 2, 2016 email in his possession.
     ‘                                                77
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 1   of a health provider and the types of medical records sought on. David and Kari deRubertis
 2   used this obtained Huynh’s psychiatrist records then produced this secretly to the Gibson
 3
     Dunn participants on September 18, 2018. This is around the time that the SEC opened an in-
 4
     vestigation into Walmart’s illegal conducts. The Gibson Dunn, Orrick, and Walmart partici-
 5
     pants most likely used this information during their interaction with the SEC enforcement at-
 6

 7   torneys to prove that Huynh was mentally ill and should not be trust.

 8
            140.    Second, David deRubertis asked Huynh to give him a copy of Huynh’s per-
 9
     sonal computer hard drive which exceeded 100 plus Gigabyte of information. See Exhibit 99.
10

11   Huynh’s hard drive contained both information that Huynh retained from Walmart as well as

12   his personal/private information and attorney-client privilege communication. See the discus-

13   sions below for how deRubertis, the Gibson Dunn and Walmart Participants and the Orrick
14   participants used this information (i.e., the Jeff Bezos’ email) to discredit Huynh with the SEC
15
     by purportedly asserted that Huynh’s allegations of shareholder fraud against Walmart is not
16
     credible because he had made similar complaint at Amazon. As a reminder, deRubertis intimi-
17
     date and harassed Huynh to force Huynh to allow him to get Huynh’s Amazon personnel rec-
18

19   ords at around the same time that the SEC started to investigated into the Walmart matter. So,

20   the Gibson Dunn and Orrick participant could present them to the SEC.

21
            deRubertis and His Co-RICO Defendants Leveraged Huynh’s 3/15/18 SOX Com-
22
            plaint to Discredit Huynh’s Allegation of Walmart’s Marketplace SKU Inflation.
23
            141.    On Nov 16, 2017, David deRubertis came out of nowhere and asked Huynh for
24
     the Oct 2, 2017 email that Seth Beal sent to McMillon and Lore to inform them that
25
     Walmart’s Marketplace had 16.5 Mil SKUs. See Exhibit 45. At the time of deRubertis’ re-
26

27   quest, Huynh didn’t even know the importance of this email. It took Huynh another 10

28   months to finally figure out the important of this email when Huynh compared the 16.5 Mil
     ‘                                                  78
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 1   SKUs and the 20 Mil SKUs that McMillon disclosed to investors during Walmart’s Annual
 2   Meeting with the investment community. Huynh reported this discrepancy with the SEC in
 3
     his Sept 2018 submission. See Exhibit 8. Huynh now realized the reason deRubertis asked
 4
     for this very specific email so the Walmart and Gibson Dunn participants could create a mis-
 5
     leading narrative to be insert into Huynh’s 3/15/18 Complaint to discredit Huynh’s allega-
 6

 7   tions and to whitewash evidence of Walmart’s misleading statements regarding the total num-

 8   ber of SKUs on Walmart’s Marketplace. It is important to note that since David deRubertis

 9   was acting as Huynh’s lawyer anything he put in the Civil complaint would be viewed as
10
     coming straight out of Huynh’s mail. Thus, by making the misleading statements below the
11
     RICO Defendants could prove to the SEC that Huynh also agreed with the new fraudulent
12
     definition of Marketplace.
13

14          The RICO Defendants Used the March 15, 2018 SOX Complaint to Fraudulently
15          Made McMillon Misleading Statement No Longer Misleading (Attempted to De-
            feat Legal Element 1 Discussed Above).
16

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 1          142.   In the 3/15/2018 SOX Complaint, deRubertis and the other RICO Defendants
 2   acted in concert to purportedly redefine “Marketplace” as Walmart.com by using the term
 3
     “1P” and “third party/3P” as an “essential appositive” in front of the term “Marketplace”.
 4
     See the Chart above. deRubertis used the term “third-party/3P” as an essential appositive
 5
     in an attempt to redefine Walmart Marketplace as Walmart.com. See the chart above.
 6

 7
            143.   Under this novel approached, David deRubertis defined Walmart Marketplace
 8
     as having both the First-Party/1P Marketplace and the Third-Party(3P) Marketplace even
 9
     though there is only one Marketplace on Walmart.com. This new definition of Marketplace
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     ‘                                               80
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 1   made McMillon’s statements to investors in FY17 no longer misleading because it was per-
 2   fectly okay to include 1P SKUs in the total number of Marketplace SKUs reported to inves-
 3
     tors. deRubertis used the paragraphs below in the 3/15/18 Complaint in an attempt to prove
 4
     that Huynh actually used this definition for Walmart’s Marketplace which contradicted the al-
 5
     legations in Huynh’s SEC submissions. See Exhibit 98 for the first amended complaint.
 6

 7
        “In this “third-party” or “3P” model, Wal-Mart provides “third-party” sellers the abil-
 8      ity to offer their products for purchase on Wal-Mart’s “third-party” marketplace at
        Walmart.com, and Wal-Mart then charges a commission to the “third-party” seller
 9
        for each completed sales transaction.” deRubertis – FAC DC Dkt. 8 at ¶ 39.
10      “However, traditionally, “third-party” marketplaces tend to be far more profitable
11      than a “first-party” online business.” deRubertis – FAC DC Dkt. 8 at ¶ 59.

12      “By boosting-up these indirect measures, Wal-Mart paints a picture of E-commerce
        growth and success (including specifically in the typically more profitable “third
13      party” Marketplace) that, in fact, misleads the investing public.” deRubertis – FAC
14      DC Dkt. 8 at ¶ 60.
        “Among other things, and merely by way of example and not by way of limitation,
15
        Wal-Mart’s online “third-party” Marketplace had items listed such as: “Tranny
16      Granny” Costume: An offensive, inappropriate Halloween costume mocking
        transgender people:” — deRubertis – FAC DC Dkt. 8 at ¶ 67.
17
        “The Fiscal Year 2018 Plan set operational targets of ending Fiscal Year 2018 (i.e.,
18      February 2018) with twenty thousand (20,000) Marketplace “third-party” sellers.”
19      — deRubertis – FAC DC Dkt. 8 at ¶ 86.

20      “Mr. Huynh also explained that Wal-Mart had allowed its Marketplace catalogue to
        be stuffed “with many published SKUs that are not buyable by customers (non-buya-
21      ble published SKUs are useless for customers),” and noted the extreme disconnect
22      between this metric on Wal-Mart’s own “first-party” system versus its “third-party”
        Marketplace.” — deRubertis – FAC DC Dkt. 8 at ¶ 101.
23

24
            144.   After misleadingly altered the original meaning of Walmart’s Marketplace,
25
     deRubertis replaced the Marketplace’s original definition with his new definition of Market-
26
     place to whitewash McMillon’s misleading statements i.e., made McMillon’s statements no
27
     longer misleading. This allowed Walmart to defeat legal element # of the SEC 10b-5 claim.
28
     ‘                                              81
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 1       Walmart’s usage of the          deRubertis’ Usage of the New                Remarks
         original Marketplace term.      Marketplace term.
 2
         Quick update on Market-         “For example, the same senior      deRubertis whitewashed the
 3
         place progress: 16.5 mil-       leader who boasted in early-Oc-    term “Marketplace” in
 4       lion unique SKUs (up            tober 2016 that the “third-        Beal’s email by replacing it
         from 6.2 million at the be-     party” Marketplace now had         with the term “third-party”
 5       ginning of the year) – on       two thousand and seventy-four      Marketplace to purportedly
 6       the site, there are currently   (2,074) and sixteen million five   assert that Marketplace had
         19.7 million unique SKUs        hundred thousand (16,500,000)      approximately 20 Mil SKUs
 7       including 1P. Beal’s Oct        unique SKUs”— deRubertis –         while “third-party” Market-
 8       2nd 2016 Email. See Ex-         FAC DC Dkt. 8 at ¶ 66.             place had 16.5 Mil SKUs.
         hibit 45.                                                          This made McMillon’s
 9                                                                          statement no longer mis-
10                                                                          leading. As discussed
                                                                            above in paragraph X, the
11                                                                          reason McMillon didn’t at-
12                                                                          tempt to whitewash the 15
                                                                            Mil SKUs number was be-
13                                                                          cause it contained two com-
14                                                                          ponents of fraud. That

15       “Next, we are growing our       In its August 18, 2016 second      Under deRubertis’ new defi-
         marketplace offering at a       quarter FY17 earnings call, Wal-   nition of Marketplace,
16
         strong pace. Since the be-      Mart’s Chief Executive Officer     McMillon’s statement on
17       ginning of the year, we’ve      Doug McMillon reported that        the Q2 FY17 earning call
         added about 7 million           Wal-Mart had added seven mil-      was no longer misleading
18
         new items to the assort-        lion (7,000,000) SKUs to its       because Marketplace now
19       ment and today offer ap-        Marketplace offerings since the    included both 1P Market-
         proximately 15 million          beginning of the year and now      place SKUs and 3P Market-
20
         SKUs". McMillon Q2 FY           reached fifteen million            place SKUs.
21       17 earnings call.               (15,000,000) SKUs on its Mar-
                                         ketplace. DC Dkt. 8 at para-
22
                                         graph 61.
23

24

25

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     ‘                                                    82
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 1       From a marketplace per-        In its November 18, 2016 third     Under deRubertis’ new defi-
         spective, we’re scaling fast   quarter FY17 earnings call,        nition of Marketplace, the
 2
         – adding 8 million SKUs        McMillon began his portion of      statement McMillon made
 3       over the past 3 months         the earnings report highlighting   on Walmart’s Q2 FY17
         alone. McMillon - Q3 FY        “some recent developments in e-    earnings call was no longer
 4
         17 earnings call on Nov 17,    commerce” including that Wal-      misleading.
 5       2016. 15 million SKUs          Mart was “scaling fast – adding
         (Q2 FY17) + 8 million          8 million SKUs over the past 3
 6
         SKUs = 23 million SKUs.        months alone” within its Mar-
 7                                      ketplace. DC Dkt. 8 at ¶ 87.
 8

 9
               deRubertis and His Co-RICO Defendants Conspired to Selectively Used the $7
10
               Mil Figure to Downplay the Materiality of Huynh’s Allegations that Walmart In-
11             flated the Its Ecommerce GMV and Op Profit by $384 Mil and $126 Mi.
12             145.    As a reminder, David deRubertis obtained the Apr 2017 SEC submission and
13
     reviewed it before giving his SEC lawyer at Phillips & Cohen, Sean McKessy, the okay to file
14
     it with the SEC. Therefore, deRubertis knew that Huynh alleged to the SEC that Walmart in-
15
     flated their Ecommerce GMV and Operating Profit to the tune of $384 Mil and $126 Mil re-
16

17   spectively. See Exhibit 2 at page 11. However, between Mid-Nov 2017 to Mid-March 2018,

18   deRubertis attempted to ask leading questions to deceive Huynh to answer questions that

19   would purportedly prove that Huynh confirm the GMV impact related to unprocessed cus-
20
     tomer return was a mere $7 Mil amount not the $384 Mil amount alleged in Huynh’s SEC
21
     submission. See Exhibit X. Below are several examples of deRubertis’ leading questions.
22

23             146.    First, deRubertis emailed Huynh on 2/12/18 to put words in Huynh’s mouth
24   that the unprocessed customer returns worth about $7 Mil (deRubertis took this isolated figure
25
     from the email he asked Huynh to forwarded to him in 11/16/2017. See Exhibit 45 at 6-8).
26
     Huynh told deRubertis told him that his statement was incorrect.
27

28
     ‘                                                   83
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 1      On Feb 12, 2018 deRubertis wrote in his email to Huynh: “Got it. So, Pangaea is not a
        third-party seller. It is a platform that Wal-Mart uses, correct? This makes more sense now
 2
        because Wal-Mart’s powerpoint says the $7 million was across 150 sellers. Thx.” See Ex-
 3      hibit 45 at 8.
 4          147.    Second, having failed to trap Huynh to said that the total customer return was
 5
     $7 Mil, deRubertis again texted Huynh on 2/13/2018 to about the $7 Mil figure. Exhibit 45 at
 6
     7. Huynh spoke to deRubertis immediately via phone and told him that his statement was in-
 7
     correct and he should not cite this number out of context.
 8

 9     “Got it. So dec 2014 when u raised concerns about the universal specs was that at The Pan-
       gea level of the process? In other words, were both the commission inaccuracies and the
10
       failure to process the 7m in returns Pangea problems?”
11
            148.    Third, David deRubertis tried to trap Huynh to acknowledge the purported $7
12
     Mil customer returns figure in a very nefarious way by emailing Huynh his half-finish com-
13
     plaint (38 pages) and purportedly ask Huynh to fill in the blank for him. All of the fill in the
14
     blank requests were frivolous and unimportant. However, in paragraph 51, in addition to ask-
15

16   ing Huynh to answer a generic question, deRubertis sleazily sneaked in the $7 Mil figure

17   again. but didn’t ask Huynh to validate it. Therefore, if Huynh didn’t point out that the $7
18   Mil figure was incorrect, then by default the Gibson Dunn, Walmart, and Orrick participants
19
     could provide his information to the SEC to discredit Huynh’s $384 Mil figure.
20

21          149.    The following day, in addition to filling in the frivolous blanks, Huynh also

22   told deRubertis to remove the $7 Mil figure from paragraph 51. However, David deRubertis
23
     shamelessly refused to remove the $7 Mil figure from paragraph 51 as per Huynh’s request
24
     when he filed the SOX Complaint on 3/15/2018.. The reason he did this was to enable the
25
     Gibson Dunn Maestro of the Media and their hired gun PR firm(s) (see deRubertis discussing
26
     about working with a PR agency and Bloomberg. See Exhibit 46). On March 15, 2018, the
27

28   RICO Defendants blasted the $7 Mil figures across the Internet and business cable news.
     ‘                                              84
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 1          The Gibson Dunn’s Maestros of the Media and the Other RICO Defendants and
            Their Co-Conspirators Launched Their “Truth on the Market” Defense on Mar
 2          15, 2018 to Destroy Huynh’s Credibility with the SEC.
 3
            150.    On March 15, 2018, Matthew Boyle published an article on Bloomberg News
 4
     with guidance from the other RICO Defendants and a PR agency to purportedly release a con-
 5
     trol disclosure of Huynh’s 3/15/18 complaint to belittle Huynh’s credibility with the SEC, in-
 6
     vestors, analysts, the media, and the American public. Exhibit 47. The fact that deRubertis
 7

 8   refused to correct the $7 Mil figure is proof that Boyle, an unknown PR firm, Gibson Dunn,

 9   and Walmart planned to use this petty number to downplay Huynh’s allegations.
10
            151.    Also please noted that Boyle didn’t do his job as a reporter because he only re-
11

12   ported Huynh’s allegations against Walmart for committed shareholder fraud and inflating

13   their Ecommerce GMV and profit (which were stated in the 3/15/18 complaint) at a vague and

14   generic level, except the $7 Mil figure. This proved that Boyle didn’t research and write the
15
     content of his report. Rather, Huynh believes it was probably ghost written by someone else
16
     then gave to Boyle to publish. Mr. Boyle there is no first amendment protection for commit-
17
     ting fraud here.
18

19       Matthew Boyle, a Bloomberg News reporter. Mar 15 and 16, 2018 articles Provide
20       Vague Reference to the Allege Misconducts in Huynh’s SOX Complaint. (Huynh’s
         remarks are Italicized inside the parentheses which proved the vagueness of Boyle’s re-
21       porting regarding the allegations in Huynh 3/15/18 SOX complaint.
22
         “The whistle-blower lawsuit, filed in federal court in San Francisco, claims Walmart
23       issued misleading results (what kind of misleading results?). Tri Huynh, a former di-
         rector of business development, claims he was terminated "under false pretenses" after
24       raising concerns (what kind of concerns?) about an "overly aggressive push to show
         meteoric growth (what did Walmart push?) in its e-commerce business by any means
25
         possible -- even, illegitimate ones."
26
         “Walmart's systems sometimes failed to label marketplace items in the right product
27       category, resulting in some vendors paying higher commissions than they should have
         (How big was the total amount of commission fees overbilling?”.
28
     ‘                                                85
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 1       “The company also failed to process customer returns on items totaling more than $7
         million (The RICO Defendants and Boyle used the $7 Mil figure that deRubertis re-
 2       fused to remove to downplay the material of Huynh’s allegations. See above), which
 3       resulted in reporting inflated sales the customer return, Huynh said.”

 4

 5          152.    In addition to Boyle’s article, the RICO Defendants also broadcasted deRuber-

 6   tis’ low-ball $7 Mil figure using the other news outlets to marginalize the materiality of

 7   Huynh’s allegations against Walmart for Ecommerce GMV and Operating Profit inflation.
 8
         Excerpts from Other Reporters’ 3/15/18 Articles Regarding the $7 Mil Figures.
 9

10       “Huynh also said Walmart failed to process more than $7 million of customer returns, in-
         flating the total value of merchandise sold from September 2015 to March 2016.” Jona-
11       than Stempel and Nandita Bose, Reuters’ Reporters – Mar 15, 2018/
12
         “It refused to accept legitimate returns on over $7 million worth of products. He also
13       claims that Walmart overstated its revenue to "paint an overly-optimistic picture of its cur-
         rent and short-term progress in the catching-up in the e-commerce space." Leticia Mi-
14
         randa, Buzzfeed news’ reporter – Mar 15, 2018.
15
         “Huynh claims that a coding error in Walmart's Pangea system failed to process some re-
16       turn and refund orders between September 2015 and at the earliest March 2016 worth
17       about $7 million, creating an "inflation" in sales for the period.” Kali Hay, WWD.com’s
         reporter.
18
         “The suit, filed this week in Northern California federal court by Tri Huynh, alleges that
19
         Walmart has been lowering its standards to boost the size of its online catalogue; mis-cat-
20       egorizing some items listed for sale, which can result in overcharging some merchants
         who sell through Walmart.com; and failing to process $7 million in returned items.” Ja-
21
         son Del Rey, Recode’s reporter, Mar 15, 2018.
22
         “Among other things, the lawsuit alleges, Walmart placed some marketplace items in the
23       wrong product categories, causing some vendors to pay higher commissions. It also al-
24       leges the company’s failure to process customer returns worth $7 million led to inflated
         ecommerce sales.” Mike O’Brien, Multichannel Merchant’s reporter. Mar 15, 2018.
25
         https://www.cnbc.com/video/2018/03/15/walmart-drops-on-whistleblower-lawsuit.html
26       https://www.cnbc.com/video/2018/03/15/walmart-responds-to-whistleblower-lawsuit.html
27

28
     ‘                                                 86
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 1          Walmart’s Spoke Person Falsely Claimed That Walmart Investigated Huynh’s
            Allegations and Found Nothing Improper to Discredit Huynh’s Allegations.
 2

 3          153.    The RICO Defendants also attacked Huynh’s credibility with the SEC and the

 4   public by falsely stated that Walmart investigated into Huynh’s complaint but find no wrong
 5   doing. In actuality, this was a lie because Walmart shut downed the investigation into
 6
     Huynh’s allegations of Walmart’s fraudulent conduct after it was opened for only three days.
 7

 8       Walmart spokesman Randy Hargrove said the litigation is based on allegations by a dis-
         gruntled former employee, who was let go when the business was restructured. “We take
 9
         allegations like this seriously and looked into them when they were brought to our atten-
10       tion,” he said. “The investigation found nothing to suggest that the company acted
         improperly. Reuters’ Reporters: Jonathan Stempel and Nandita Bose - Mar 15, 2018.
11

12       Walmart told BuzzFeed News that "this litigation is based on allegations by a disgruntled
         former associate, who was let go as part of an overall restructuring." "We take allegations
13       like this seriously and looked into them when they were brought to our attention," said the
14       company. "The investigation found nothing to suggest that the company acted im-
         properly. We intend to vigorously defend the company against these claims. Leticia Mi-
15       randa Mar 15, 2018.
16
         “The claims come from “a disgruntled former associate,” who was let go as part of a
17       broader workforce restructuring, said Greg Hitt, a Walmart spokesman. “We take alle-
         gations like this seriously and looked into them when they were brought to our atten-
18       tion,” Hitt said. “The investigation found nothing to suggest that the company acted
19       improperly.” The Seattle Time on 3/15/18.

20       "This litigation is based on allegations by a disgruntled former associate, who was let
         go as part of an overall restructuring," said a Walmart spokesperson in a statement
21
         emailed to Investor's Business Daily. "We take allegations like this seriously and
22       looked into them when they were brought to our attention. The investigation found
         nothing to suggest that the company acted improperly. We intend to vigorously defend
23
         the company against these claims." Elaine Low – Investor’s Business Daily 3/15/18.
24
         “Walmart in a statement to CNBC said that it intends to “vigorously defend” itself
25       against these claims. “This litigation is based on allegations by a disgruntled former
26       associate, who was let go as part of an overall restructuring,” Walmart said. “We take
         allegations like this seriously and looked into them when they were brought to our at-
27       tention. The investigation found nothing to suggest that the company acted improp-
28       erly.” Lauren Thomas, CNBC, on 3/15/18.
     ‘                                                  87
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 1       “Walmart denied Huynh’s claims in an email to Courthouse News on Thursday after-
         noon. “This litigation is based on allegations by a disgruntled former associate, who
 2
         was let go as part of an overall restructuring,” the company said. “We take allegations
 3       like this seriously and looked into them when they were brought to our attention. The
         investigation found nothing to suggest that the company acted improperly. We intend
 4
         to vigorously defend the company against these claims.” Court House News --MAT-
 5       THEW RENDA, A.E. YOUNG / March 15, 2018
 6       Walmart said Huynh's allegations lack merit. "This litigation is based on allegations by
 7       a disgruntled former associate, who was let go as part of an overall restructuring,"
         spokesman Greg Hitt said in a corporate statement. "We take allegations like this seri-
 8       ously and looked into them when they were brought to our attention. The investigation
 9       found nothing to suggest that the company acted improperly. We intend to vigorously
         defend the company against these claims." Kevin McCoy - USA TODAY 3/15/18.
10
         In a statement to Retail Dive, Walmart said it followed up with claims made by Tri
11
         Huynh, a former director of business development, and that he was laid off along with
12       many others. "This litigation is based on allegations by a disgruntled former associate,
         who was let go as part of an overall restructuring," according to Walmart’s statement.
13
         "We take allegations like this seriously and looked into them when they were brought
14       to our attention. The investigation found nothing to suggest that the company acted
         improperly. We intend to vigorously defend the company against these claims."
15
         Daphne Howland – Retail Dive 3/16/18.
16
         Randy Hargrove, a spokesperson for Walmart, told Dailymail.com that the allegations
17       come from a 'disgruntled former employee' who was let go due to the restructuring
18       of the company. He said an investigation looked into the allegations made by Huynh
         and found nothing to suggest the company acted improperly. By DANIELLE ZOELL-
19       NER FOR DAILYMAIL.COM 3/18/18.
20
         Walmart told Talk Business & Politics that Huynh is a disgruntled former employee
21       and the allegations are untrue. The company provided the following statement: “This
         litigation is based on allegations by a disgruntled former associate, who was let go as
22       part of an overall restructuring. We take allegations like this seriously and looked into
23       them when they were brought to our attention. The investigation found nothing to sug-
         gest that the company acted improperly. We intend to vigorously defend the company
24       against these claims.” Kim Souza -Talk Business & Politics – 3/15/18.
25
          “This litigation is based on allegations by a disgruntled former associate, who was let
26       go as part of an overall restructuring,” a Walmart rep tells Recode. “We take allegations
         like this seriously and looked into them when they were brought to our attention. The
27
         investigation found nothing to suggest that the company acted improperly. We intend
28
     ‘                                                 88
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 1        to vigorously defend the company against these claims.” By Jason Del Rey- Re-
          code/VOX on 3/15/18.
 2

 3        Walmart spokesman Randy Hargrove said the complaint is "based on allegations by a
          disgruntled former associate" who was let go as part of the company's overall restruc-
 4        turing in early 2017. "We take allegations like this seriously and looked into them when
 5        they were brought to our attention," Hargrove said in a statement. "The investigation
          found nothing to suggest that the company acted improperly. We intend to vigorously
 6        defend the company against these claims." Northwest Arkansas Democrat Gazette
 7        3/16/18.

 8         But Walmart is calling foul. A company spokesman said Huynh's allegations are those
          of "a disgruntled former associate, who was let go as part of an overall restructuring."
 9
          "We take allegations like this seriously and looked into them when they were brought
10        to our attention," the spokesman added. "The investigation found nothing to suggest
          that the company acted improperly. We intend to vigorously defend the company
11
          against these claims." WWD.com Kali Hay on March 15, 2018
12
          Walmart has denied the allegations and said they were made by a "disgruntled former
13        associate, who was let go as part of an overall restructuring," according to company
14        spokesperson Randy Hargrove. "We take allegations like this seriously and looked into
          them when they were brought to our attention," he said in a statement to TheStreet.
15        "The investigation found nothing to suggest that the company acted improperly. We
16        intend to vigorously defend the company against these claims." Thestreet.com – Cath-
          leen Chen – 3/15/18.
17
          “This litigation is based on allegations by a disgruntled former associate who was let
18
          go as part of an overall restructuring,” said Walmart spokesman Randy Hargrove. “We
19        take allegations like this seriously and looked into them when they were brought to our
          attention. The investigation found nothing to suggest that the company acted improp-
20
          erly. We intend to vigorously defend the company against these claims.” Multichannel
21        Merchant - Mike O'Brien- 3/15/18.

22           The RICO Defendants Purportedly Asserted Walmart’s Zero Loss Causation by
             Carefully Controlling the Disclosures of Information Stated in Huynh’s Com-
23           plaint to Downplay the Materiality of Huynh’s Allegations and Credibility. See
24           Exhibit 48.
             154.     The RICO Defendants also used Boyle’s March 16, 201831 articles to support
25

26

27
     31
        It would be impossible for Boyle to bring together all of these experts (professors, inves-
28   tors, and industry experts) to provide comments on Huynh’s complaint only one day after it
     ‘                                                89
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 1   their purported “Zero Loss” Causation Defense to cover up the fact that the corrective disclo-
 2   sures on Feb 18, 2018 (Walmart announced the collapse of their Q4 FY18 Ecommerce Sales
 3
     growth) caused an approximate $80 Bil in Market Cap vaporization. One day after deRubertis
 4
     filed Huynh’s complaint, the RICO Defendants pulled together a beautiful informercial which
 5
     Matthew Boyle published on 3/16/18 to execute Walmart’s “Truth on the Market” Offense.
 6

 7          155.    On the one hand, the informercial included testimonies from “industry ex-
 8   perts”, “professors”, and “hedge fund managers” to downplay the materiality of Huynh’s alle-
 9
     gations. While on the other hand, Boyle disseminated the RICO Defendants’ portrayal of
10
     Huynh as a disgruntle and dishonest former employee in order to destroy Huynh’s credibility
11
     to assert Walmart’s “Truth on the Market Defense”.
12

13      https://www.bloomberg.com/news/articles/2018-03-16/walmart-whistle-blower-suit-re-
        news-jitters-about-amazon-battle
14
        https://www.bloomberg.com/news/videos/2018-03-16/walmart-whistle-blower-claims-
15
        retailer-cheated-to-catch-amazon-video (also see Matthew Boyle’s 5 minutes interview on
16      Bloomberg Network).

17

18

19

20

21
        The reaction to a whistle-blower’s allegations of improprieties at Walmart Inc.’s online
22
        business was sharp. The stock suffered its worst intraday decline in two weeks, showing
23      just how deep the worries are over the company’s growth engine.

24      The shares bounced back before the market closed on Thursday and rose on Friday.

25   was filed with the US District Court of Northern District of California. This circumstantial ev-
26   idence proved that Boyle coordinated his activities with the other RICO Defendants (Maestro
     of the Media, PR agency, and Walmart) to create and disseminate this false informercial to
27   purportedly assert Walmart’s Zero Loss Causation Defense. However, Huynh believes Boyle
     and the other RICO Defendants have in their positions many emails and other form of com-
28   munication to carry this media plan. This information will be discoverable during discovery.
     ‘                                                90
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 1       But the abrupt, initial dip was enough to signal once again that, when it comes to the bid
         to catch up with Amazon.com Inc. in e-commerce, the world’s largest retailer has little
 2
         margin for error.
 3
         The claims of cheating leveled Thursday by a former executive “could be an alarm -- but
 4       minor,” said Sucharita Kodali, an analyst at Forrester Research Inc. “If it turns out that
         Walmart completely fabricated online numbers and they are way smaller than reported,
 5
         that would be a problem. There’s no indication of that yet.”
 6       The whistle-blower lawsuit, filed in federal court in San Francisco, claims Walmart issued
 7       misleading results. Tri Huynh, a former director of business development, claims he was
         terminated “under false pretenses” after raising concerns about an “overly aggressive push
 8       to show meteoric growth in its e-commerce business by any means possible -- even, ille-
 9       gitimate ones.” Huynh claims the company failed to process customer returns, mislabeled
         some products and, basically, painted a rosier picture of its online growth than what was
10       really the case.
11                                     ‘Disgruntled Former Associate’
12       Walmart said it investigated the allegations and found they had no merit. Greg Hitt, a
         company spokesman, called Huynh “a disgruntled former associate.”
13
         Over the past three years, Walmart has spent billions to revitalize its once-moribund web
14       unit, expanding delivery options, hiring fresh talent and making acquisitions. While sales
15       soared last year, the spending has taken a toll on profitability. When the company reported
         slowing online growth and disappointing margins during the critical holiday quarter, in-
16       vestors pummeled the stock. And the business could bleed even more red ink this year,
17       Chief Executive Officer Doug McMillon said last month.

18       “The marketplace is very receptive to any story that’s negative about anyone going up
         against Amazon,” Scott Galloway, a marketing professor at NYU, said on Bloomberg TV.
19
         However, they play out, the allegations are an additional headache for Marc Lore, the
20       head of Walmart’s U.S. e-commerce business, who’s trying to take the website upscale
         with new apparel, home decor items and a partnership with the Lord & Taylor depart-
21
         ment store. Walmart has said it will focus more of its marketing spending on
22       Walmart.com and less on Jet.com (to conceal the facts that Walmart artificially inflated
         its Quarterly Ecommerce Sales growth in FY18 to inflate Walmart’s Market Cap by
23
         roughly $140 Bil), the urban-focused startup that Lore co-founded in 2014 and sold to
24       Walmart in 2016. That will hamper growth at Jet, which focuses on younger, more afflu-
         ent customers.
25
         Still, Walmart has maintained its growth forecast for the online unit. One bright spot has
26       been the online grocery business. Walmart’s existing fresh-food supply chain gives it an
27       advantage over Amazon, which, despite its acquisition of Whole Foods Market Inc., is
         still better at selling batteries than bananas.
28
     ‘                                                91
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 1        Walmart said this week that it will expand home delivery of groceries to 100 metro areas
          this year. It has 1,200 stores where customers can pull up and have their orders brought to
 2
          their cars.
 3
          “Online grocery pickup is going very well for them,” said Laura Kennedy, an analyst at
 4        Kantar Retail LLC.

 5        The lawsuit, along with slowing growth, could prompt increased scrutiny of all aspects of
          Walmart’s online business. It shows that even a retailing behemoth can experience grow-
 6        ing pains.
 7        “They are going at 100 miles an hour here,” said Mark Stoeckle, CEO of Adams Funds,
 8        which has $2.4 billion under management and holds Walmart shares. “Was it intention-
          ally deceptive? Or is it that the proper controls were not in place? From our perspective,
 9        this could be something. But based on what we know currently, it isn’t something right
          now.”
10
                          Boyle’s Beautiful but Bogus Zero Loss Causation Chart.32
11

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     32
26      This Chart is “Bogus” because the GDC and Walmart Participants influenced Boyle to dis-
     close the allegations in Huynh’s 3/15/18 complaint only generic information regarding Mar-
27   ketplace SKU and financial metrics inflation. Investors would not react to negative disclo-
     sures when the information disseminated was lukewarm and frivolous i.e., the deRubertis’
28   Bogus $7 Mil Figure and generic reference to vague metrics.
     ‘                                                92
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 1                            Links to other news’ outlets publications
 2       https://www.cnbc.com/video/2018/03/15/walmart-drops-on-whistleblower-lawsuit.html
         https://www.cnbc.com/video/2018/03/15/walmart-responds-to-whistleblower-lawsuit.html
 3
         https://www.investors.com/news/former-walmart-exec-sues-alleging-illegitimate-e-
 4
         commerce-efforts/
 5       https://www.cnbc.com/2018/03/15/walmart-sued-by-former-executive-alleging-unlaw-
 6       ful-conduct-in-e-commerce-business.html
         https://www.ft.com/content/3bf2df42-2893-11e8-b27e-cc62a39d57a0
 7
         https://www.businessinsider.in/Walmart-dives-after-lawsuit-alleges-company-issued-
 8       misleading-e-commerce-results/articleshow/63323305.cms
 9       https://www.businessinsider.com.au/walmart-stock-price-dives-after-whistleblower-
         says-company-issued-misleading-e-comerce-results-2018-3
10
         https://www.thestreet.com/investing/stocks/walmart-fudged-e-commerce-sales-law-
11       suit-alleges-14525430
12       https://www.vox.com/2018/3/15/17126498/walmart-whistleblower-lawsuit-tri-huynh-
         ecommerce
13
         https://www.seattletimes.com/business/retail/whistle-blower-claims-walmart-cheated-
14       in-race-with-amazon/
15       https://www.usatoday.com/story/money/2018/03/15/whistleblower-charges-walmart-
         misled-e-commerce-data-catch-up-race-amazon/429922002/
16
         https://nypost.com/2018/03/15/walmart-retaliated-against-whistleblower-suit/
17
         https://www.dailymail.co.uk/news/article-5515221/Walmart-whistleblower-sues-com-
18       pany-fired.html

19       https://multichannelmerchant.com/ecommerce/walmart-whistleblower-claims-ecom-
         merce-results-overstated/
20
         https://www.courthousenews.com/walmart-faces-whistleblower-suit-over-its-e-com-
21       merce-business/

22       https://vinnews.com/2018/03/15/san-francisco-whistleblower-says-walmart-eyeing-
         amazon-cheated-on-e-commerce/
23
         https://www.mhlnews.com/technology-automation/article/22054902/walmart-whistle-
24       blower-claims-cheating-in-race-with-amazon

25       https://www.retaildive.com/news/whistleblower-alleges-walmart-inflated-digital-
         sales/519302/
26
         https://talkbusiness.net/2018/03/whistleblower-claims-walmart-inflated-e-commerce-
27       reporting/

28
     ‘                                               93
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 1       https://www.nwaonline.com/news/2018/mar/16/fired-for-noting-net-sales-fibs-
         walmart/
 2
         https://wwd.com/business-news/legal/fired-walmart-exec-alleges-online-fraud-stem-
 3       ming-from-amazon-rivalry-1202629981/
 4
            156.     A month later, Boyle also published an article about slower Walmart’s Mar-
 5
     ketplace seller growth on April 10. See Exhibit 49. Huynh believes the GDC and Walmart
 6
     participants improperly fed Boyle the misleading statement to get Boyle to use his platform as
 7
     a business reporter to disseminate false information for two purposes.
 8

 9
            157.    First, the article purportedly showed that Walmart focused on seller quality in-
10
     dependent of Huynh’s allegations (linking back to Boyle’s Mar 15 and 16, 2018 articles). See
11
     the above for discussions on how the Walmart participants attempted to whitewash Huynh’s
12

13   catalog stuffing allegation. Second, most importantly, the article purportedly implied a corre-

14   lation between slower Q4 FY17 Ecommerce sales growth and the pace of Marketplace’s seller

15   additions to coverup the fact that Walmart’s senior executives artificially inflated Walmart’s
16
     Ecommerce sales growth in FY18 by improperly accounting for Jet.com FY17 and FY18
17
     sales. Walmart’s Lawyers argued in their motion to dismiss that Boyle was simply expressing
18
     his first amendment right in his reporting about an important public issue. Well, Boyle had
19
     the right to exercise his first amendment right as a reporter, however, he had no right to pub-
20

21   lish misleading information as part of a RICO Enterprise to mislead Walmart’s investors, ana-

22   lysts, and the SEC in attempt to whitewash evidence of Walmart’s misconducts. As a matter
23   of fact, this seemed to violate the predicate act related to obstruction of an official proceeding
24
     e.g., an SEC Investigation.
25

26

27

28       https://www.bloomberg.com/news/articles/2018-04-10/walmart-gets-more-selective-with-
     ‘                                             94
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 1       web-sellers-after-growth-spurt (See Exhibit 49)
 2       The retailer's website --where third-party vendors sell their own wares -- is adding far
         fewer sellers a month compared with a year ago, according to data tracker Marketplace
 3
         Pulse. The site, which Walmart created in 2009 to compete with a similar offering from
 4       Amazon.com Inc., now includes about 18,000 sellers.

 5                                            Seller Shortfall

 6       The growth of vendors selling on Walmart's marketplace site has slowed in recent months.
         The slowdown mirrors a deceleration in growth at Walmart’s e-commerce business
 7       last quarter, which spooked shareholders and renewed concerns about the investments
         Walmart is making to catch up with Amazon, such as its recent expansion of grocery
 8
         home delivery to 100 markets. It also comes amid a whistle-blower lawsuit from a former
 9       marketplace executive. He claims he was fired after raising concerns about the com-
         pany’s “overly aggressive push to show meteoric growth in its e-commerce business by
10       any means possible -- even, illegitimate ones.”
11       “Since November they appear to have reduced the number of sellers they approve,” said
         Juozas Kaziukenas, founder of Marketplace Pulse. “Most U.S. marketplaces are adding
12
         thousands of sellers a day, so Walmart is doing the opposite by trying to manage it.”
13
         Walmart's U.S. e-commerce business generated $11.5 billion in revenue last year, and
14       should do about $16 billion this year, but the company doesn't disclose how much of that
         business comes from the third-party site. It has doubled the number of products available
15       online over the past year to almost 75 million.
16       “We’re focused on adding the best items our customers want from the best sellers,” said
17       Ravi Jariwala, a spokesman for Walmart. “In any given month, the number of new Mar-
         ketplace sellers added to our platform may fluctuate as we continuously add new items
18       and offer customers an expanding range of choices.”
19

20          David and Kari deRubertis Along with the Other RICO Defendants Ex-
            ploited the Judicial and OSHA Proceeding to Tarnish Huynh’s Credibility
21
                    The RICO Defendants Acted in Concert to Steal Huynh’s 2013 Email
22                  to Jeff Bezos to Discredit Huynh’s against Walmart

23          158.    David and Kari deRubertis improperly obtained Huynh’s medical records

24   then secretly produced them to the GDC and Walmart participants under the table at
25
     around the same time that the SEC opened an official investigation into the Walmart’s
26
     matter to tarnish Huynh’s reputation by portraying Huynh as mentally ill and had patterns
27
     of blowing the whistle. Of importance, is the Nov 6, 2013 office visit note from Dr.
28
     ‘                                                95
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 1   Bolte, which stated that Huynh emailed Jeff Bezos regarding potential violation of the
 2   law.33 Interestingly, the WSJ published an article regarding the same topic regarding Am-
 3
     azon’s using their seller data to develop competing products. Exhibit 105- Jeff Bezos Let-
 4
     ter and the WSJ article.34
 5

 6          159.    In Mid-June 2018, Kari deRubertis entered into a service agreement with
 7
     Epiq eDiscovery solutions Inc. to purportedly process Huynh’s personal laptop hard drive
 8
     to further the Walmart Shareholder Fraud Coverup Enterprise’s common purpose. Offi-
 9
     cially, the deRubertis Law Firm, APC paid Epiq Discovery Solutions, Inc. at least
10

11   $40,000 for their services to improperly process Huynh’s hard drive35. See Exhibit 101.

12   However, it is not unreasonable to infer that the Walmart and GDC participants may have
13   paid Dough Kasales and Kathy Von Lindern money on the side to get them to perform
14
     improper acts (i.e., mining Huynh’s laptop for confidential and privilege information as
15
     well as engaging in evidence destruction and concealment etc.).
16

17          160.    In early March 2019, Huynh uncovered evidence that led him to conclude
18
     that Dough Kasales helped David deRubertis mined Huynh’s hard drive to improper ob-
19
     tain privilege attorney-client communications. Exhibit 102 showed that Kasales search
20

21

22
     33
        “Tri continues to deal with the situation at work, After I saw him, he contacted an attorney,
23
     who helped him draft a letter to Jeff Bezos regarding the treatment he had received at Ama-
24   zon. In addition, he pointed out several things that violated antitrust laws that he witnessed his
     coworkers doing. He thinks this is the reason he was "fired" because he said something about
25   this and believes they were retaliating by firing him.” David and Kari deRubertis used this in-
     formation to mine and obtain the Jeff Bezos Letter.
26   34
        Is it possible that some large competitor collected this information then leaked it to the
27   press to screw Mr. Bezos?
     35
        Procurement of services from vendors across interstate line (from Epiq which based out of
28   New York City) satisfied the nexus to interstate commerce required under RICO.
     ‘                                                  96
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 1   for terms that related to various attorneys that Huynh communicated with.
 2
               161.   For example, on Mar 6, 2019, Huynh emailed Dough Kasales and asked
 3

 4   him whether the file name and file path for Huynh’s emails with Phillips & Cohen were

 5   correct. Even though, Huynh knew the answered to this question, Huynh wanted to an-
 6   swered it on the record. As predicted, Kasales lied to Huynh that the file names and file
 7
     paths for the emails were correct for two reasons. First, an outlook email file name must
 8
     include the extension .msg.36 Therefore, the file path should also include the .msg at the
 9

10   end also. Second, a file path for a child email is not the concatenation of the parent sub-

11   ject line and the child email subject line. On Mar 12, 2019, Kasales lied to Huynh again

12   when he stated that Epiq eDiscovery Solutions, Inc followed industry e-discovery stand-
13
     ard when it extracts metadata from native files. He specifically states that any number of
14
     email file types can be generated when the native files are extract from the .PST file.
15
     This was misleading because for outlook items like emails, an appointments, contacts,
16
     and tasks etc. that are stored within the container file .PST etc., their file type is .MSG.
17

18   In short, Kasales lied to coverup the facts that he and deRubertis mined Huynh’s personal

19   laptop hard drive to extract client-attorney-privilege communications and other private
20   matter.
21

22             162.   Recently Huynh also discovered that by using the bogus concatenation

23   strategy above, deRubertis and Kasales exposed Huynh’s email communication with his

24   legal counsel at the Blankenship Law Firm (https://www.blankenshiplawfirm.com/)
25
     which advise Huynh’s regarding his termination from Amazon. As showed in Exhibit
26

27
     36
        Early on March 1, 2019, Kasales also lied to Huynh that an outlook email had no file exten-
28   sion. See Exhibit 104.
     ‘                                                97
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 1   106, Kasales concocted file paths that expose the subject line of email communication
 2   with had with his attorney in 2013 which include the file names for Huynh’s 2013 email
 3
     to Jeff Bezos, CEO of Amazon.com. The evidence below proved that deRubertis shared
 4
     the information he mined from Huynh’s personal laptop hard drive to the Walmart and
 5
     Gibson Dunn Participants because of the Request for Document production and Interrog-
 6

 7   atories they impounded upon Huynh during discovery were based on this information.

 8   See Exhibit 107.

 9
             Data Mining                           Walmart’s RFDPs and ROGs
10

11       • Huynh’s email to • RFDP # 43: All documents relating to any other legal action Plain-
           Jeff Bezos in      tiff has commenced, or threatened to commence, against any em-
12         2013.              ployer.
         • Huynh’s commu- • RFDP #44: All documents concerning any other allegation of dis-
13
           nications with     crimination Plaintiff has made against any person, including but not
14         the Blankenship    limited to other employers.
           Law Firm seek-   • RFDP # 43: All documents relating to any other legal action Plain-
15         ing advices re-    tiff has commenced, or threatened to commence, against any em-
           garding the Ama-   ployer.
16         zon’s Employ-    • RFDP #50: All documents concerning any allegation of employ-
           ment matters.      ment-related retaliation Plaintiff has made against any person, in-
17
                              cluding, but not limited to other employers.
18                          • RFPD #51: All documents concerning any alleged violations by
19                            any previous employer of Plaintiff of the Sarbanes-Oxley Act, the
                              federal securities laws, federal antitrust laws (See Email to Jeff Be-
20                            zos), or any other law, regulation, or rule.
                            • RFDP #52: All documents concerning any allegations of employ-
21                            ment-related ethical violations that Plaintiff has made against any
22                            person, including but not limited to other employers.

23       • Huynh’s commu- • ROG #1: Identify all persons, including, but not limited to, present
            nication with        or former employees or representatives of Walmart, with whom
24          Sean McKessy         You or anyone on Your behalf has spoken or communicated about
                                 Your Complaint, the allegations in the Complaint, or this lawsuit
25                               and describe any such discussions or communications.
26                             • RFDP #4: All documents concerning or relating to any communica-
                                 tions Plaintiff has had with Walmart (including, as defined above,
27                               Walmart’s employees and agents) since the date of the termination
                                 of Plaintiff’s employment with Walmart
28
     ‘                                                98
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 1                           • RFDP #47: All documents relating to statements obtained by Plain-
 2                               tiff or anyone acting on Plaintiff’s behalf from any witnesses and/or
                                 from any person with knowledge of relevant facts regarding allega-
 3                               tions of the Complaint.

 4

 5
            163.    Even though David deRubertis had already shared the 2013 Jeff Bezos
 6

 7   email and Huynh’s research note regarding potential antitrust violation to the Gibson

 8   Dunn and Walmart participants sometime around August 2018 time frame (The SEC be-
 9   gan to investigate into the Walmart’s Ecommerce Matter around this time frame) , The
10
     Gibson Dunn, Walmart, and Orrick participants couldn’t use these documents with the
11
     SEC to discredit Huynh’s allegations because these documents were not obtained through
12
     legal mean.. Thus, deRubertis became desperate to obtain these documents so they could
13

14   be used in response to the SEC investigation. Starting in late September 2018 deRubertis

15   began a campaign of fear and intimidation to force Huynh to allow him to obtain

16   Huynh’s personnel files from Amazon. Firm to obtain Huynh’s personnel files from Am-
17   azon. During late September 2018, David deRubertis used interstate emails on at least 7
18
     different occasions: Sept 25, 2018 @10:27 AM and @ 5:37 PM, Sept 27, 2018 @ 5:27
19
     PM, Sept 28, 2018 @ 9:04 AM, on Sept 28, 2018 @ 2:23 PM, on Oct 8, 2018 @ 2:18
20
     PM, and on Oct 10, 2018 @ 7:59 PM to threaten and intimidate Huynh into given access
21

22   to Huynh’s Amazon personnel file. See Exhibit 18. Huynh refused to give into deRuber-

23   tis intimidations and Huynh eventually fire David deRubertis as his lawyer in Nov 2018.

24
            164.    Since deRubertis couldn’t legally obtain the Jeff Bezos email and other re-
25

26   lated Amazon personnel file, the Walmart and Gibson Dunn participants eventually stole

27   this information from Huynh when Huynh returned the Walmart’s information to

28
     ‘                                                99
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 1   Walmart per the Asset Return Agreement and Addendum. Exhibit 109 at 4-5, specifi-
 2   cally stated that any documents that Huynh inadvertently returned to Walmart that are not
 3
     Walmart’s documents they must not be viewed them and must promptly returned them to
 4
     Huynh. However, during Huynh’s deposition, Ms. Brass produced the Jeff Bezos email
 5
     and other Amazon’s related documents that she stole from Huynh’s personal laptop.
 6

 7   When Huynh asked Ms. Brass why did she stole Huynh’s personal property? Her answer

 8   was simply sued me. See Exhibit 110. Brass used this stolen information to ask Huynh

 9   leading questions to capture Huynh’s answers out of context marginalize Huynh’s credi-
10
     bility with the SEC. She used this information to marginalize Huynh’s credibility regard-
11
     ing Huynh’s allegations that Walmart engaged in shareholder fraud conducts.
12

13                 Payne & Fears, deRubertis, the Gibson Dunn and Walmart Partici-
                   pants Discredited Huynh’s Allegations of Walmart’s Illegal Conducts
14                 with the SEC by Submitted Fabricated Evidence to OSHA
15
            165.   David deRubertis forwarded Huynh Walmart’s OSHA position statement
16
     on Sept 22, 2017. See Exhibit 111. In his email, deRubertis told Huynh that he had no
17
     case against Walmart because Walmart selected Huynh for termination weeks before his
18
     Dec 20, 2016 complaint to Walmart’s Global Ethics. deRubertis based his statement on
19

20   the purported Nov 30, 2016 preliminary RIF which purportedly proved that Huynh was

21   selected for termination due to his poor performance and Walmart’s RIF. This implied
22   that Huynh was not a genuine whistleblower (not credible) because Huynh blew the
23
     whistle to protect his job. The analysis below that the Walmart fabricated the Nov 30,
24
     2016 email and RIF excel list based on the evidence Huynh provided to deRubertis to
25
     support Huynh’s SOX case against Walmart.
26

27
            166.   Column 3 of the excel spreadsheet in Exhibit 112, showed that Terri M.
28
     ‘                                               100
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 1   Shaw (a lawyer with Payne & Fears – See Exhibit 113) led the creation of emails and ex-
 2   cel spreadsheets along with Seth Beal and other Walmart’s employees as well as legal
 3
     documents. One of these emails and spreadsheet were the Fabricated Nov 30 and Mar-
 4
     ketplace RIF List. Ms. Shaw (based out of California – See Exhibit 113) transmitted these
 5
     documents via emails to Mary Carter Martin (Walmart’s legal counsel based out of Ben-
 6

 7   tonville, Arkansas – See Exhibit 113) and other Walmart’s employees. via emails. This

 8   proved Ms. Terri M. Shaw (by Default Payne & Fears LLP) committed wire fraud be-

 9   cause she sent emails across state lines in furtherance of the Walmart’s Shareholder Cov-
10
     erup Enterprise. Mr. Fears wrote and submitted the fabricated documents to OSHA in
11
     early Sept 2017 to obstruct OSHA from its investigation into Huynh’s SOX complaint.
12
     See Exhibit 114. Additionally, Mr. Fears, the Gibson Dunn and the Walmart Participants
13
     knew or should have known that Huynh would eventually share Walmart’s OSHA posi-
14

15   tion statement to his Sean McKessy at Phillips & Cohen (Exhibit 115 showed that Huynh

16   indeed emailed the document to McKessy on Nov 9, 2017) and Sean McKessy would
17   eventually email the document to the SEC. Indeed, McKessy did share the document to
18
     the SEC on Sept 19, 2018 (Christopher Reynold, Scott Mascianica, and Jane Norberg).
19
     See Exhibit 115. Thus, David deRubertis and Daniel Fears committed wire fraud in fur-
20
     therance of the Enterprise’s common objective i.e., they tried to tarnish Huynh’s credibil-
21

22   ity with the SEC by purportedly claim that Huynh’s termination was not a contributing

23   factor to his protected conducts.

24
            167.    Based on the evidence in Huynh’s possession37, Huynh showed that Payne
25

26

27   37Additionally, Huynh believes there may be hundreds of emails in these RICO Defendants’
     possession which would be discoverable during discovery. This evidence would further prove
28   that Payne & Fears committed much more than the two predicate acts required under RICO.
     ‘                                             101
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 1   and Fears, the Walmart and Gibson Dunn participants acted in concert to submit fabricate
 2   documents knowing that these documents would eventually land in the SEC’s desks to
 3
     discredit Huynh’s allegations that Walmart made misleading statements of material facts
 4
     to Walmart’s shareholders regarding the total number of SKUs on Walmart Marketplace.
 5
     Therefore, Payne & Fears committed much more than the two predicate acts as well as
 6

 7   attempted to obstruct an SEC investigation which is a predicate act under 18 U.S.C. §

 8   1512(c)(2).

 9
                    David and Kari deRubertis, Kasales, and the Gibson Dunn Partici-
10                  pants Illegal Obtained Huynh’s Psychiatrist Records to Produce to
11                  the SEC to Portray Huynh as Mentally to Discredit His Allegations

12          168.    As early as Nov 2017, David and Kari deRubertis began a fraudulent

13   campaign to obtain Huynh’s medical and psychiatrist records. See the discussion below.

14   They faked Huynh’s signatures and used a generic non-HIPPA compliance to obtain
15
     these records without Huynh’s knowledge. Huynh only came to know of the existence of
16
     these records only after Huynh fired the deRubertis Law Firm.
17

18          169.    Most shockingly for Huynh was the fact that David and Kari deRubertis
19   with the help of Kasales secretly produce Huynh’s psychiatrist record under the table to
20
     the Gibson Dunn and Walmart Participants. Even though, the deRubertis Law Firm paid
21
     at least $40,000 to Epig eDiscovery Solutions, Inc. to process Huynh’s data for produc-
22
     tion to Walmart in compliance to the Court’s protective order i.e., the production docu-
23

24   ments from ESI files must be produce in TIFF format with extracted text and stipulated

25   metadata fields. See Exhibit 116. However, on Sept 18, 2018 at 8:22 AM, Kari deRuber-

26   tis asked Kasales to provide her with the last bate number from documents Kasales pre-
27

28
     ‘                                               102
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 1   pared for production to Walmart so she could manually stamp other documents to pro-
 2
     duce separately to Walmart. Several hours later, Kasales38 emailed Kari deRubertis the
 3
     last bate number (HUYNH0014158). Kari deRubertis used this number and manual bate
 4
     stamps 264 pages of documents (HUYNH0014159- HUYNH0014422) without the “Con-
 5

 6   fidentiality” Designation. On that same day, Kari deRubertis produced these documents

 7   (under the table) the Rachel Brass via an unsecure link. These documents didn’t have the
 8   confidentiality designation and all the requirements stated in the ESI protocol order. See
 9
     Exhibit X. 45 out of the 264 pages were Huynh’s psychiatrist medical records. David
10
     and Kari deRubertis leaked these records to Walmart without the confidentiality designa-
11
     tion in the middle of an SEC investigation to Gibson Dunn, Walmart, and Orrick partici-
12

13   pants. Huynh believes the Orrick participants worked tightly with Walmart and GDC

14   transmitted these documents to the SEC (across interstate line, California to Dallas,

15   Texas, and potentially Washington D.C. a violation of wire fraud) to diminish Huynh’s
16   credibility as a whistleblower. These co-conspirators used this information to purport-
17
     edly portray Huynh as mentally ill and unstable to be a credible whistleblower.
18

19          170.     In short, David and Kari deRubertis, Kasales (Epiq eDiscovery Solutions,
20   Inc.), the Gibson Dunn participants, and Orrick committed wire fraud and obstruction of
21
     an SEC (violation of 18 U.S.C. § 1512(c)(2)) proceeding in furtherance of the Walmart
22
     Shareholder Fraud Coverup Enterprise’s Fraudulent Coverup Scheme by using the illegal
23
     obtained documents.
24

25

26
     38
27      It’s worth to mention that Kasales was based out of Seattle during this time so email ex-
     changes between Kasales and Kari deRubertis cross state line in furtherance of the RICO En-
28   terprise’s fraudulent coverup scheme resulted in violation of the wire fraud statute.
     ‘                                               103
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 1          The SEC Opened an Investigative File into the Walmart’s Ecommerce Matter In
            Mid-2018 and Start to Investigate Walmart in Early July
 2

 3

 4          171.    After Huynh submitted his supplemental submission to the SEC in Mid-

 5   May 2018 (Exhibit 7), the SEC officially opened an official investigative file into
 6   Walmart’s misconducts. Subsequently, the SEC began their investigation in Mid-July
 7
     2018. By September of 2018, the Gibson Dunn Participants (most likely Boutros and
 8
     other Senior Partners from GDC Securities Litigation39 and SEC Enforcement Group40)
 9

10   and Walmart’s Senior Leaders started to prepare and respond to the investigation. Addi-

11   tionally, looking back it made sense because in Mid-September, although Huynh only

12   supplied deRubertis with the names of 11 witnesses that may have information regarding
13
     Huynh’s SOX complaint against Walmart, deRubertis emailed Huynh in Sept 18, 2018
14
     and told Huynh he would add more witness to the list because the more names the better.
15
     See Exhibit 117 at 4. On Sept 19, 2018, David deRubertis41 caused Kari deRubertis to
16
     email Brass, Boutros, Stewart (Washington DC base) and Scalia (Washington DC based)
17

18   the GO 71 initial discovery disclosure. This included a list of 60 witnesses (most of

19   whom David deRubertis extracted from Huynh’s SEC submissions). The witnesses had
20   nothing to do with Huynh’s SOX claims against Walmart. Huynh strongly believe that
21
     the only reason David and Kari deRubertis leaked this confidential information to
22

23

24   39
        https://www.gibsondunn.com/practice/securities-litigation/
     40
        https://www.gibsondunn.com/practice/securities-enforcement/
25   41
        David and Kari deRubertis violated wire fraud because they used interstate email (Califor-
26   nia to Washington DC. Additionally, deRubertis knew that this information will also be
     emailed to Bentonville, AR by Boutros to Walmart) to further the RICO Enterprise’s common
27   goal. Additionally, by leaking the list of witness to the other RICO Defendants, deRubertis
     knew they will used this information to obstruct the investigation. This is a violation of
28   XXXX.
     ‘                                                 104
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 1   Walmart, Gibson Dunn and Orrick, Herrington & Sutcliffe LLP were to allow these co-
 2   conspirators to use them to prepare witnesses for the SEC investigation. See Exhibit 117.
 3

 4          172.    Furthermore, as discussed in paragraph 156, in Sept 2018, David deRuber-

 5   tis emailed Huynh across interstate line between Washington and California at least seven
 6   time in an attempt to deceive and intimidate Huynh to sign the personnel record release
 7
     form so he could obtain the Jeff Bezos letter so he could email these documents to the
 8
     other RICO Defendants to diminish Huynh’s credibility in order to defeat Element #1 of
 9
     an 10b-5 SEC action against Walmart. See paragraph the discussion above. Therefore,
10

11   deRubertis committed at least seven instances of wire fraud in furtherance of the RICO

12   Enterprise’s common purpose.

13
            173.    One of the key questions is why did Walmart and Boutros decide to hire
14
     Orrick, Herrington & Sutcliffe LLP Lawyers to interact with the SEC attorney during the
15

16   investigation into the Walmart matter when Gibson Dunn has powerful Securities Litiga-

17   tion and SEC Enforcement Teams?42
18

19          174.    Huynh believes Walmart and Boutros (Walmart’s most trusted advisor)

20   brought in Orrick (Mr. Kenneth Herzinger who was named in the SEC April 2019 non-
21   enforcement letter and other Orrick’s lawyers) to drive the front-end interactions with the
22
     SEC Enforcement Attorneys to purportedly show the appearance of a Chinese Wall be-
23
     tween Huynh’s SEC case and Huynh’s SOX claim against Walmart. This was deployed
24

25

26
     42
27      This didn’t make business sense because why would GDC give their lunch to Orrick. It’s
     like Geico Insurance who sold both Auto and Home Insurance decided to refer their custom-
28   ers to buy home insurance from progressive insurance.
     ‘                                              105
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 1   to cover up the facts that David deRubertis was stealing confidential/non-public infor-
 2   mation that Huynh submitted to the SEC to help the Walmart Shareholder Fraud Coverup
 3
     Enterprise planned and executed a fraudulent and nefarious scheme to get the non-en-
 4
     forcement letter from the SEC.
 5

 6          175.    Based on the discussion above, Huynh believes Walmart hired Orrick,
 7
     Herrington & Sutcliffe LLP sometime in August 2018 (after the SEC officially an inves-
 8
     tigation into the Walmart’s Ecommerce matter) and retained them up until the SEC is-
 9
     sued the non-enforcement letter to Walmart in early April 2019. As discussed in para-
10

11   graph 80 above, Gibson Dunn expended a lot of effort and resources to coordinate and

12   plan the activities of teams that scattered across the US to interact with the SEC enforce-

13   ment attorneys during an SEC investigation. Since Mr. Kenneth Herzinger stationed out
14   of the Bay Area California, he had to leverage the instruments of interstate commerce
15
     such as Wire, Internet, Mail, and Phone etc. to communicate and coordinate the activities
16
     among may participants that scattered across the U.S. i.e., Bentonville, Dallas, Texas
17
     where James Etri, Scott Mascianica, and Christopher Reynolds were stationed, as well as
18

19   Washington D.C. where the SEC leadership team located.

20
            176.    In short, to execute the Walmart Shareholder Fraud Coverup Scheme (to
21
     defeat Element #1 of the SEC Section 10b-5 prosecution plan), Huynh strongly believes
22

23   Orrick, Herrington & Sutcliffe LLP must have in their passion hundreds if not thousands

24   of email communication to coordinate the activities of the other RICO Defendants and

25   their Co-conspirators. Therefore, Huynh estimated Orrick, Herrington & Sutcliffe LLP
26   perpetrated at least hundreds of instances wire fraud to improperly influenced the SEC to
27
     issue the non-enforcement letter the SEC to Walmart in April 2019.
28
     ‘                                                106
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 1          177.    Huynh planned to submit a Request for Production to the Defendants (Or-
 2   rick, Walmart, and GDC Defendants) shortly after the Case Management Conference call
 3
     to request for all communications and documents that these Defendants shared with the
 4
     SEC as well as received from the SEC for the time period where the SEC started to inter-
 5
     act with these Defendants.
 6

 7
            Huynh’s SOX Case Against Walmart Was Open and Shut Based on the Evi-
 8          dence Huynh Provide to David deRubertis in 2017 Along

 9          178.    To prevail in a SOX retaliation claim, a Plaintiff must prove his prima fa-

10   cie case by preponderance of evidence.
11

12       To make prima facie showing, the plaintiff must show that (1) the plaintiff engaged in
         protected activity; (2) the plaintiff's employer knew, actually or constructively, of the
13       protected activity; (3) the plaintiff suffered an unfavorable personnel action; and (4)
         the circumstances raise an inference that the protected activity was a contributing fac-
14
         tor in the unfavorable action. Id. at 814 (citing Van Asdale v. Int'l Game Tech., 577
15       F.3d 989, 996 (9th Cir. 2009)); see also 29 C.F.R. § 1980.104(e)(2)(i)–(iv). If the
         plaintiff makes this showing, the burden shifts to the employer to demonstrate “by
16
         clear and convincing evidence that it would have taken the same adverse employment
17       action in the absence of the plaintiff's protected activity.” Van Asdale, 577 F.3d at
         996 (emphasis added).
18

19          179.    Between March and Nov 2017, Huynh provided David deRubertis with

20   overwhelming evidence and legal analyses to prove that Walmart was liable for terminat-
21   ing Huynh’s employment in violation of SOX. See Exhibit 50, 51, 52, and 53. The table
22
     below proved that Huynh overwhelmingly met his burden of production to prove his
23
     prima facie case by preponderance of evidence and rebuff Walmart’s burden of produc-
24
     tion to prove their affirmative defense by clear and convincing evidence.
25

26

27

28
     ‘                                                 107
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 1                            Huynh’s SOX Prima Facie Case Showing
             Legal        Huynh’s Burden of Production by Pre- Walmart’s Burden
 2          Element       ponderance of Evidence               of Production to Rebut
 3
                          Huynh complained about seller com-         Walmart had no evidence to
 4                        mission overbilling in early Oct 2016.     rebut the fact that Huynh en-
                          Walmart investigate Huynh’s com-           gaged in protected activity I
 5                        plaint on Oct 14. Exhibit 50 at 3 and 5.   early Oct 2016.
         Protected        Exhibit 52;
 6       Activities
                          Huynh complained about seller com-         Walmart had no evidence to
 7                        mission overcharging and shareholder       rebut the presume fact
                          fraud in Dec 2016 and Jan 2017. See        Huynh engaged in protected
 8                        Exhibit 50 at 3,5, 6-7, Exhibit 52. and    conduct in Dec 2016 and
 9                        5.                                         Jan 2017.
                          Beal knew about Huynh’s early Oct          Walmart had no evidence to
10       Employer’s       2016 complaint. Exhibit 50 at 3 and 5.     rebut the presume fact that
11       Knew of pro-     Exhibit 52.                                Walmart’s executives knew
         tected activi-   Walmart’s executives knew about            about Huynh’s protected
12       ties             Huynh’s complaint in Dec 2016 and          conduct.
                          Jan 2017. Exhibit 50.
13
                          Seth Beal ordered HR to investigate the
                                                                Walmart had no evidence to
14                        purported sexual harassment allega-   rebut the presume fact that
                          tions against Huynh on Oct 18, 2016,  Walmart’s executives took
15                        roughly two weeks after Huynh’s Oct   unfavorable personnel ac-
                          protected activities See Exhibit 52.  tion against Huynh on:
16
         Unfavorable                                            Oct 18, 2016 (order the in-
                          Beal issued Huynh written warning
17       Personnel                                              vestigation).
                          base on HR purported investigation in
         Action           Mid-Nov 2016 then on 12/1/16. Exhibit Mid-Nov 2016 (issued a bo-
18                                                              gus written warning).
                          52.
                                                                Dec 1, 2016 (threatened to
19                        Beal threatened to put Huynh on a PIP put Huynh on a Perfor-
                          for objecting to the written warning. mance Improvement Plan.
20                        See Exhibit 52.
21                        A few days after Huynh raised his com-     Walmart had no evidence to
                          plaint to Marc Lore, Walmart termi-        rebut the presume fact that
22                        nated Huynh’s employment, 14 days          Walmart terminated
23                        before everyone. Exhibit 50 at 3 and 5.    Huynh’s employment in
                                                                     early Jan 2107.
24                        Beal ordered HR to investigate Huynh    Walmart had no evidence to
25                        on Oct 18, issued a written warning in  rebut the presume fact that
         Contributing     Mid-Nov, and threatened to put Huynh    Huynh’s protected activities
26       Factor to Be-    on a PIP on Dec 1. See Exhibit 52.      were a contributing factor to
         tween pro-                                               the unfavorable personnel
27                       Walmart terminated Huynh in early
         tected activity January shortly after he raised his com- action due to short temporal
         and retaliation plaint to Marc Lore. Exhibit 50 at 3 and proximity.
28
     ‘                                               108
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 1                        5. Walmart’s shifting explanation for
                          Huynh’s termination.
 2

 3                        Terminated Huynh 14 days before the
                          RIF.
 4

 5                        Note the above evidence is not exhaus-
                          tive but rather illustrative purpose to
 6                        give the context of why the RICO De-
                          fendants engaged in evidence destruc-
 7                        tion, fabrication, and suppression etc.
                          during the course of the Huynh v.
 8                        Walmart Stores between 2018 and
 9                        2020.

10

11             Walmart’s Burden of Production by Clear and Convincing Evidence
             Legal    Walmart’s Burden                   Huynh’s Burden
12
            Element      of Production                of Production to Rebut
13
                                              Huynh’s role was not eliminated. It was given to
14                                            Huynh’s peer. See Exhibit 51 at 8.
                        Walmart termi-
15                                            Huynh was terminated 14 days before everyone.
         Walmart’s      nated Huynh’s         Exhibit 50 at 3 and5.
         Affirmative    Employment be-
16                                            Huynh’s peer who had a few or no direct report
         Defense        cause of role elim-
17                      ination and his       were retained after the RIF versus Huynh who
                        poor performance.     managed a team of 40 people i.e., Walmart treated
18                                            Huynh’s differently than non-whistleblowers. Ex-
                                              hibit. Exhibit 51 at 5 to 7.
19
                                              Walmart provided shifting explanation for
20                                            Huynh’s termination.

21
            180.    The evidence discussed above proved that Huynh came forward with over-
22
     whelming evidence to support his SOX prima facie case showing while Walmart pro-
23
     duced little evidence to rebut Huynh’s evidence which shifted the burden of production to
24

25   Walmart to prove their affirmative defense. However, Huynh also produced overwhelm-

26   ing rebuttal evidence that proved Walmart failed to meet its evidence of production by

27   clear and convincing evidence to support its affirmative defense. Therefore, as a matter
28
     ‘                                               109
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 1   of law Walmart is liable for retaliatory termination against Huynh in violation of SOX.
 2   Additionally, since Huynh’s California wrongful termination in violation of public claim
 3
     is a derivative of Huynh’s SOX claim, Walmart is also liable for this claim as a matter of
 4
     law. It is important to mention that the evidence above is what Huynh gave David deRu-
 5
     bertis in 2017. Later on Huynh was also able to obtain additional material facts to sup-
 6

 7   port his prima facie case showing as well as defeating Walmart’s affirmative defense.

 8
              Huynh’s Lawsuit Against Walmart Is a Constitutional Protected Activities and
 9            Estimated to Worth at Least $10 Million Dollars.
10             181.   Huynh’s lawsuit against Walmart Inc. in the case Huynh v. Wal-Mart
11
     Stores, Inc. et al. Case 3:18-cv-01631-VC is a clearly established constitutional property
12
     right.
13

14       “A plaintiff has a private property right in his claim of action-i.e., in the right to
         sue-and in his lawsuit once filed. Indeed, the U.S. Supreme Court has "squarely"
15       held that even an unadjudicated cause of action is constitutional property (Thomas
16       Mer-rill, The Landscape of Constitutional Property, 86 VA. L. REV. 885, 913
         (2000)). In Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982), the Su-
17       preme Court considered it "settled" that a cause of action is a species of property"),
         basing its assertion on Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306
18       (1950). Logan further noted that a "tort or discrimination action" is "a property in-
         terest”.
19
               182.   Based on comparable case analysis Huynh estimate his lawsuit to be be-
20

21   tween $6 Mil to $16 Mil. See Exhibit 54 for comparable case analyses. Additionally, by

22   getting Huynh’s civil case threw out of Court the Walmart Shareholder Coverup Enter-
23   prise also strengthened their assertions that the SEC investigated and properly issued
24
     Walmart a get out of jail free card (i.e., a non-enforcement letter). The critical question
25
     Huynh needed to answer was how did the RICO Defendants and their Co-conspirators
26
     moved Huynh’s case from a “Open & Shut” to a “Kick Out of Court” position?
27

28
     ‘                                                 110
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 1           183.   Given the fact that Huynh produced undisputed evidence that exceeded his
 2   burden of production to prove by preponderance of evidence the first three prongs of his
 3
     SOX prima facie case, the Gibson Dunn and the Walmart participants developed a fraud-
 4
     ulent and nefarious two-step scheme and recruited other RICO Defendants to commit
 5
     predicate acts to get Huynh’s case kicked out of Court.
 6

 7

 8

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21
             184.   First, they planned to attack prong #4 of Huynh’s prima facie case i.e.,
22
     they purportedly showed that Huynh failed to meet his burden of production to prove that
23
     his protected activity was a contributing factor to the unfavorable personnel actions
24
     Walmart took against him (because Walmart selected Huynh for termination before the
25

26   Dec 2016 complaint and Huynh didn’t engage in protected activity in early October

27   2016)
28
     ‘                                                111
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 1          185.    Second, RICO Defendants purportedly proved that even if Huynh was
 2   able to prove his prima facie case, Walmart was not liable for Huynh’s termination in vi-
 3
     olation of SOX claim because Walmart meet its burden of production to prove by clear
 4
     and convincing evidence that they would have terminate Huynh’s employment in the ab-
 5
     sence of his protected activity and Walmart purportedly claimed that Huynh failed to
 6

 7   meet his burden of product to rebut the presumed fact that Walmart had legitimate busi-

 8   ness reasons to terminate Huynh’s employment i.e., due to the Jan 2017 RIF.

 9
            186.    The discussions below showed how the Walmart and Gibson Dunn de-
10

11   fendants, Seth Beal, Valerie Ricetti, Melvenia Ha, David and Kari deRubertis, Douglas

12   Kasales, Kathy Von Lindern, Renee Quezada, Magistrate Judge Sallie Kim, and District

13   Judge Vince Chhabria acted in concert to execute the two-step strategy discussed above.
14
            Step #1: The RICO Defendants and Their Co-Conspirators Engaged in Evi-
15
            dence Destruction, Fabrication, Concealment, Suppression, and Submitted
16          False Declarations to Purportedly Prove That Huynh Didn’t Engaged in Pro-
            tected Activity on Oct 4, 2016.
17
            187.    To execute Step #1 of their fraudulent scheme the RICO Defendants exe-
18
     cuted a two-pronged approach to purportedly proved that Huynh didn’t engage in pro-
19

20   tected activity in early Oct 2016. First, at the direction of the Walmart and Gibson Dunn

21   participants, David and Kari deRubertis employed Epiq eDiscovery Solutions Inc.

22   (through the actions of their employees Kathy Von Linder and Douglas Kasales) to de-
23
     stroy documentary evidence of Huynh’s meeting with Beal of Oct 4, Oct 18, and Dec 1,
24
     2018. To prove that Epiq eDiscovery Solutions, Inc and Lighthouse Document Technol-
25
     ogies, Inc. destroy and fabricate document evidence, Huynh answered two key questions:
26
     #1) Did Epiq eDiscovery Solutions, Inc and Lighthouse Document Technologies, Inc.
27

28   processed the outlook email and calendar items in the Huynh v. Walmart Stores Inc. et.
     ‘                                              112
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 1   al. Litigation using industry-standard ESI processing as purportedly claimed by Douglas
 2   Kasales and Renee Quezada (Case 3:18-cv-01631-VC Dkt. 120) and #2) What kind of
 3
     evidence Huynh have to prove that these two ESI vendors engaged in evidence destruc-
 4
     tion and fabrication by bypassing industry ESI processing standard instructed by ESI
 5
     technology platform like Relativity and Nuix.
 6

 7
              Epiq eDiscovery Solutions, Inc. and Lighthouse Document Technologies Inc.
 8            Didn’t Follow Industry Standard Process to Process Evidence in the Huynh
              v. Walmart Stores, Inc Litigation.
 9
              Description of the Standard ESI Extraction Process Implemented by Tech-
10            nologies Platform Such as Relativity and Nuix.
11            188.    Below is a summary of a process a typical ESI service provider process
12
     and extract meta data from ESI evidence using leading technology platforms such as Rel-
13
     ativity and Nuix.
14

15            189.   Outlook is one of the most popular desktop email clients in the Market. It
16
     is being used by small and large companies, government agencies as well as individual
17
     consumers. Microsoft created a .PST (Personal Storage Table) file type (i.e., a container
18
     file type) to store hundreds and thousands of Outlook items for a typical user such as Out-
19
     look emails, appointments, contacts, and tasks etc. Each of these outlook items is stored
20

21   in a .MSG file format with the file extension .msg. See Exhibit 118 for the file types that

22   have the .msg extension. For example, when you drag-and-drop an email from Outlook
23   to a folder on your computer, the email message is converted into an MSG file. This file
24
     stores the email text, but it also stores the email metadata – things like who sent the
25
     email, who received it and when, etc. And it also stores links and attachments from the
26
     email.
27

28
     ‘                                                 113
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 1          190.    PSTs is a great way to organize, store, and share batches of email and cal-
 2   endar entries to provide to your ESI service providers for processing an production. For
 3
     example, you can put all your emails from last year into a PST file, and ‘archive’ that
 4
     PST. And you can have multiple PSTs (e.g., one for each year of the last decade) open at
 5
     the same time, as well as your main, active PST. For eDiscovery, you can even load
 6

 7   emails from different custodians into a single PST file. And you can store these PSTs on

 8   local hard drives, a USB drive, or in the Cloud.

 9
            191.    To process outlook items stored in a PST file, Relativity begins to harvest
10

11   individual MSG files from the PST Container in batches and processes them. If an MSG

12   has attachments, Relativity harvests files during discovery and places them in the queue

13   to be discovered individually. Throughout this process, the family relationship is main-
14   tained. The following graphic depicts what happens behind the scenes when the system
15
     copies native files to the repository during processing. Specifically, this shows you how
16
     the system handles the data source and EDDS repository across all phases of processing
17
     when that data source isn't considered permanent. A file extension of .msg is assigned by
18

19

20

21

22

23

24

25

26

27

28
     ‘                                                  114
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 1   the processing engine after it reads the header information from the original outlook item
 2
     file.43 In short, if an ESI service provider processed Outlook emails and appointments
 3
     used the process discussed above then the extension of these items should have “msg” ex-
 4
     tension not “Blank” and/or “eMail”. See Exhibit 119.
 5

 6
            Epiq eDiscovery Solutions, Inc. Bypassed Industry Accepted ESI Extraction
 7          Process Huynh’s Evidence to Destroy and Mutilate Huynh’s Emails and Ap-
            pointments.
 8
            192.    In his, March 1, 2019 email to Huynh, Kasales lied and told him that Out-
 9
     look emails do not have a file extension. See Exhibit 55. Kasales again lied to Huynh in
10

11   his March 13, 2019 email that the file type for outlook emails is “Microsoft Outlook

12   Notes” and they have no file extension. Exhibit 56. In his email to Kari and David deRu-
13   bertis he showed that he processed 803 emails (with the filed type “Microsoft Outlook
14
     Note” with no extension) and 2,520 Outlook Microsoft Appoint with no extension. Ex-
15
     hibit 57. Even though both Kari and David caused Von Lindern and Kasales to generate
16
     these manipulated files (Epiq eDiscovery Solutions, Inc through their employees not only
17

18   Kasales and Lindern but other employees that worked on this project) they eventually

19   produced them to the Walmart and Gibson Dunn participants in late September 2018.

20   Since for these group of people to perpetrate the evidence fabrication, destruction, mutila-
21   tion and concealment etc. they must use the instrument of interstate commerce i.e., wire,
22
     phone and internet transmission etc. it is important to point out that Lighthouse Docu-
23
     ment Technologies, Inc. is based out of Seattle, WA. Kasales also based out of WA. WA,
24
     Epiq eDiscovery is based of New York City, Kari and David deRubertis, Brass, Boutros
25

26
     43
27     Renaming a file extension has little effect on how Relativity identifies the file type. When
     processing a file type, Relativity looks at the actual file properties, such as digital signature,
28   regardless of the named extension.
     ‘                                                  115
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 1   and Lindern are based out California. Stewart and Wilson are based out of Washington
 2   D.C. Thus, when they used emails, phone, and other mean of Internet transmission e.g.,
 3
     downloading documents that were stored in remote servers etc. in furtherance of the En-
 4
     terprise’s objective they violated wire fraud. Additionally, each instance of email usage
 5
     is considered to be a predicate act.
 6

 7
            Lighthouse Document Technologies, Inc. Bypassed Industry Accepted ESI
 8          Processing Standard Walmart’s Outlook Emails and Calendar Entries for
            Production to Huynh.
 9
            193.    Renee Quezada falsely declared in ECF-120 in Huynh v. Walmart Stores,
10
     Inc. Case 3:18-cv-01631-VC that she and others at Lighthouse Document Technologies,
11

12   Inc process Walmart’s emails and calendar items using industry ESI processing standard.

13   The evidence below proved that she lied because the Walmart’s emails and appointments

14   that Lighthouse Document Technologies, Inc processed for the Huynh v. Walmart Stores
15

16

17

18

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28
     ‘                                               116
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 1   litigation had an “eMail” and blank extensions respectively. There is no such eMail ex-
 2   tension out there in the real world for email files including Microsoft Outlook emails.
 3
     The closest email extension to the purported “eMail” extension is the “eml” extension.
 4
     See https://fileinfo.com/extension/eml. All the Walmart’s Emails and Calendars Light-
 5
     house Document Technologies, Inc. processed for Walmart between Sept 2018 to June
 6

 7   2019 had the improper extensions “eMail” and “Blank” respectively. This proved these

 8   emails and calendars items didn’t went through the industry standard processing method-

 9   ology discussed above. It these items had went through the proper ESI extraction process
10
     Walmart’s Outlook emails and calendar items should have an “msg” extension.
11

12                  Epiq eDiscovery Solutions, Inc. Through Their Employees (Douglas
                    Kasales and Kathy Von Lindern) Destroyed Evidence of Huynh’s
13                  Oct 4, 8, and Dec 1, 2016 Meetings with Seth Beal.
14          194.    Huynh emailed David Dobson, Epiq eDiscovery Solutions, Inc., on Feb
15
     13, 2020 to inform him that his employees (Kasales and Von Lindern) intentionally de-
16
     stroyed documentary evidence of Huynh’s Oct 4, Oct 18, and Dec 1, 2016. See the sum-
17
     mary table in Exhibit 58 at 5. showed that Epiq eDiscovery Solutions, Inc. destroyed the
18
     Subject, Location, and the From Fields from Huynh’s Oct 4, 8 and Dec 1, 2016 outlook
19

20   meetings with Seth Beal. See Exhibit 58 at page 6 to 8.

21
            195.    Additionally, Huynh also brought up the fact that Kasales and Von Lin-
22
     dern used the UTC versus PST time zone when the ESI Protocol Order ECF-36 specifi-
23

24   cally dictated that the documents should be processed in the PST time zone.44 Huynh

25

26   44
        Kasales lied to Huynh when he asked Kasales why did he use the UTC versus the PST time
27   zone to process Huynh’s evidence when the ESI Protocol Order specifically stated the PST
     time zone. This was a bogus excuse because on Sept 18, 2018 Kari deRubertis emailed
28   Kasales and specifically instructed him to follow the ESI Protocol not the June 2018 designed
     ‘                                                117
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 1   provided specific examples on how this had prejudiced Huynh from defending himself
 2   against Walmart’s motion for summary judgment. Exhibit 58 at 11 to 22.
 3

 4          196.    In addition to the email to Dobson above, Huynh also emailed Kasales on

 5   9/25/2019, why the email Huynh sent to Marc Lore was so jumbled? Kasales lied by as-
 6   serting some technical jargons to cover up the facts that he colluded with Kari and David
 7
     deRubertis to mutilate Huynh’s emails so he couldn’t use it as evidence to oppose
 8
     Walmart’s motion summary judgement. Kasales also admitted that all the emails he pro-
 9
     cessed may have appeared jumble up. See Exhibit 59.
10

11
                    Lighthouse Document Technologies, Inc. Through Their Employees
12                  (Renee Kasales) Manufactured Evidence to Purportedly Prove That
                    Huynh Didn’t Engage In Protected Activity On Oct 4, 2016.
13
            197.    Support Walmart’s motion for summary judgement (ECF 113), Rachel
14
     Brass field exhibit 66 (in Case 3:18-cv-01631-VC- ECF 116-4; See Exhibit 61. which is
15

16   Melvenia Ha’s purported interview note with Huynh on Oct 17, 2016. This note was fab-

17   ricated by the Walmart and Gibson Dunn Defendants then corruptly influenced Renee

18   Quezada to produce this manufactured note. Although, Rachel Brass caused Melvenia
19   Ha to declare under the oath that she interviewed Huynh on Oct 17, 2018 to support the
20
     manufacture evidence. See Ha’s declaration (ECF 116) at paragraph 1045. However, the
21
     evidence in Exhibit 60 clearly showed that Ha emailed Huynh October 18, 2016 at 11:22
22

23   AM to interview Huynh for regarding a “Confidential” matter. Huynh replied to Ha and

24   told her he could meet her between 3:00 PM to 4:00 PM. Subsequently, Ha interviewed
25

26
     manual.
     45
27      Seth Beal also submitted false declaration (Case 3:18-cv-01631-VC ECF 171-1 at para-
     graph 35) that Ha completed her investigation in Mid-Oct 2018. As discussed above the Oct
28   18 final HR investigation report was bogus.
     ‘                                                118
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 1   Huynh at 3:30 PM that same day. Additionally, Ha’s purported Oct 17, 2016 interview
 2   note contradict with Exhibit 67 in Case 3:18-cv-01631-VC. (Ha’s purported Oct 18, 2016
 3
     completed HR investigation report) filed by Rachel Brass in support of Walmart’s motion
 4
     for summary judgement. Exhibit 61 at 2 to 6 is Ha’s purported HR Oct 18, 2016 final in-
 5
     vestigation report. In the report, Ha wrote that she interviewed Huynh on Oct 18, 2016
 6

 7   not Oct 17, 2016. Therefore, not only she lied about the Oct 17 interview note but she

 8   also lied about the authenticity of the Oct 18, 2016 HR investigation report because it

 9   was impossible for her to have completed that report when she didn’t complete her inter-
10
     view with Huynh until 4:00 PM. The way Corporate America works is that even if Ha
11
     did in fact completed the report late at night on Oct 18 (not true), she had to run up the
12
     chain of command for feedbacks and approval before she could issue the complete report
13
     to Seth Beal.
14

15
            198.     In short, even though the documents above were manufactured by the
16
     Walmart and Gibson Dunn defendants. However, Lighthouse Document Technologies,
17
     Inc. (Renee Quezada and other employees) knew that these documents were fake but they
18

19   processed them any way by bypassing the industry standard ESI processing methodolo-

20   gies. Lighthouse Document Technologies, Inc communicated with Walmart and their

21   lawyers to coordinate the production of these fake documents via email, phone, internet
22
     communication etc. There must be hundreds if not thousands of emails that were sent
23
     and received by these collaborators. Thus, Lighthouse Document Technologies, Inc. vio-
24
     lated hundreds of predicate acts. As discussed above each email sent is considered to be
25
     a unique and distinct count of wire fraud.
26

27
            199.     In summary, the reason that the Walmart and Gibson Dunn participants,
28
     ‘                                                 119
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 1   Quezada, and Ha manufactured the Oct 17 interview note and October 18 HR investiga-
 2   tion report were to discredit Huynh’s potential declaration (which Huynh didn’t know he
 3
     had to file in support of his opposition to Walmart’s motion for summary judgement) to
 4
     neutralized the statement Huynh provided to David deRubertis in Exhibit 52 at 15 that
 5
     Beal retaliated against Huynh by ordering HR to investigate into the made-up sexual har-
 6

 7   assment charge against Huynh on Oct 18, 2016. This also proved that David and Kari

 8   deRubertis shared the confidential information in Exhibit 52 because based on this infor-

 9   mation the Walmart and Gibson Dunn participants improperly influenced Renee Quezada
10
     and other unknow employees of Lighthouse Document Technologies, Inc. to manufacture
11
     the above evidence. Since Lighthouse Document Technologies, Inc is responsible for the
12
     actions of their employees and/or agents, they also committed hundreds counts of wire
13
     fraud.
14

15
              200.   Taken together the destruction of evidence, fabrication of evidence, and
16
     false declarations discussed above allowed Walmart’s to purportedly proved in their mo-
17
     tion for summary judgement (Case 3:18-cv-01631-VC ECF-113) that Huynh didn’t en-
18

19   gage in protected activity in early October 2016.

20
              Step #2: The RICO Defendants and Their Co-Conspirators Manufactured
21            Evidence and Entered False Declarations to Purportedly Prove That Beal Se-
              lected Huynh for Termination Weeks Before He Raised His Complaint with
22            Global Ethics on Dec 20, 2016.
23
              201.   Based on the evidence Huynh provided to deRubertis in 2017 (see discus-
24
     sion above), the Walmart and Gibson Dunn participants directed Payne & Fears to work
25
     with Walmart’s employees (Beal and Ricetti) and Walmart’s internal counsel ( Seth Beal
26
     and Valerie Ricetti to manufacture the Nov 30, 2016 and Marketplace RIF list to purport-
27

28   edly prove that Huynh’s protected activity in Dec 2016 was not a contributing factor to
     ‘                                               120
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 1   his termination because 1) Huynh didn’t engage in protected activity in early Oct 2016
 2   (discussed above) and Beal had already selected Huynh for termination one day before
 3
     Beal threatened to put Huynh on a PIP (see Exhibit 52 at 12-13) and several weeks before
 4
     Huynh’s 12/20/16 complaint to Walmart’s Global Ethics. Payne & Fears LLP submitted
 5
     these misleading assertions to the DOL/OSHA in Sept 2016, knowing that Huynh and his
 6

 7   SEC Lawyers will eventually share this information with the SEC which would dimmish

 8   Huynh’s credibility as a whistleblower (i.e., Walmart purportedly claimed that they didn’t

 9   terminate Huynh’s employment because of his protected conducts.)
10

11          202.    In late Sept 2017, Huynh provided deRubertis with detailed analysis to

12   prove that Beal Nov 30 email and Marketplace RIF list was bogus because it was chrono-

13   logically impossible for Beal to come up with the RIF list and the purported Nov 30 dis-
14   cussed Walmart’s DSO not Walmart’s Marketplace Group. See Exhibit 53. Subsequently
15
     David deRubertis refused to confirm to Huynh whether the Nov 30 email and RIF list
16
     were fabricated after the GO 71 production in Sept 20108.
17

18          203.    However, Huynh recently discovered that there was an easier way to prove
19
     that these documents were fabricated by examining the Document Payne & Fears submit-
20
     ted to OSHA/DOL in Sept 2017 and the documents manufactured by the Walmart and
21
     Gibson Defendants and processed by Renee Quezada and other employees at Lighthouse.
22

23   These documents were produced to David deRubertis in late Sept 2018. Exhibit 63 at 3

24   showed that the Nov 30 email that Payne & Fears submitted to OSHA in Sept 2017 didn’t

25   have the DSO and Marketplace RIF excel lists attached to it (even though, Mr. Fears ref-
26   erence the Marketplace RIF list as Exhibit C in his memo to OSHA). To coverup this
27

28
     ‘                                               121
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 1   SNAFU, the Walmart and Gibson Dunn participants caused Renee Quezada to manufac-
 2   ture a new version of the Nov 30 email to show that it had both the Marketplace and DSO
 3
     RIF excel lists attached to it. See Exhibit 64 at 2.
 4

 5          204.    In short, the OSHA Nov 30 email had no attached excel files while the
 6   new version had the attached excel. Additionally, because these documents were fabri-
 7
     cated, Lighthouse Document Technologies, Inc (through Renee Quezada and other em-
 8
     ployees of Lighthouse) produced these documents with bogus email extension i.e.,
 9
     “eMail” and DSO and Marketplace RIF excel lists had no file name, no file extension.
10

11   See Exhibit 65 for the metadata of the documents produced in late Sept 2018. Basically,

12   Renee Quezada and others at Lighthouse didn’t process these bogus documents using an

13   industry accepted ESI a processing standard discussed above. Instead, these Lighthouse’
14   employees just attached the new version of the fabricated Nov 30 email and attached
15
     child excel spreadsheets.
16

17          205.    Huynh raised to Ms. Brass in Feb 7 (Exhibit 66) and Feb 11(Exhibit 67)
18   letters that Walmart didn’t comply to the ESI Protocol order (Case 3:18-cv-01631-VC:
19
     ECF-36) because the metadata produced that Walmart produced on Sept 18, 2018 missed
20
     various data attribute. On Feb 12, 2019, Walmart purportedly produced another 2,354
21
     pages of documents that were manually processed (instead of following industry standard
22

23   protocols) by Lighthouse. Because Huynh told Ms. Brass that Walmart needed to pro-

24   duce the metadata for the Nov 30 email and excel RIF lists produced in Sept 2018 due to

25   the metadata deficiencies, Ms. Brass directed Renee Quezada to manufacture metadata
26   for attached excel spreadsheets by populating the document type, file name, file exten-
27
     sion, and document date metadata field. Interestingly, only a two weeks early Ms. Brass
28
     ‘                                                 122
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 1   vouched in her Jan 29, 2019 (Exhibit 69) letter to Huynh that metadata for the Market-
 2   place Nov 30 RIF were accurate and this document was genuine. Ms. Brass also caused
 3
     Valerie Ricetti to submit false verification to vouch that the Marketplace Nov 30 RIF was
 4
     not altered or falsified.46
 5

 6
             206.    In summary, by executing the two-steps fraudulent scheme discussed
 7
     above, the RICO Defendants (the Walmart and Gibson Dunn participants, Kari and David
 8
     deRubertis, Kasales and Von Lindern (Epiq eDiscovery Solutions, Inc.), Renee Quezada
 9

10   (Lighthouse Document Technologies, Inc.), and Payne & Fears purportedly proved that

11   Huynh failed to meet his burden of production for prong #4 of his SOX prima facie case.

12   Judge Chhabria cited bogus evidence in ruling that Huynh failed to prove that his pro-
13
     tected activity was a contributing factor to his termination. See Exhibit 70 at 2-3.
14

15           Step #2: The RICO Defendants and Their Co-Conspirators Engaged Evi-
             dence Concealment, Suppression, and Committed Perjury Under Oath to
16           Burden Prove That Huynh Failed His Burden of Production to Rebut
             Walmart’s Affirmative Defense.
17
                     The Walmart and Gibson Dunn Defendants Caused David and Kari
18
                     deRubertis, Kasales and Von Lindern to Conceal and Suppressed
19                   Over 2,300 Pages of Documents to Obstruct Justice

20           207.    On Nov 29, 2018, after Huynh terminated his relationship with deRuber-

21   tis, deRubertis returned 3,672 pages of documents that the he purportedly claimed that
22   Walmart had produced to him on Sept 18, 2018. See Exhibit 71. However, he refused to
23

24

25   46
        Defendants did not alter and/or falsify any documents submitted to OSHA in connection
26   with Case No. 9-3290-17-361, including but not limited to Exhibit B, as demonstrated by the
     metadata produced with that document in this litigation (see WM00000831; WM00000836).
27   Defendant’s response to Huynh Interrogatory No. 4(a). Ms. Brass not only caused Ricetti to
     lie under oath, she also emailed it across interstate boundary (California to Seattle) to deceive
28   Huynh. This is a violation of Wire Fraud and Obstruction of a Judicial Proceeding.
     ‘                                                  123
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 1   confirm how many pages Walmart actually produced to him in total on 9/18/2018.
 2
            208.    On Dec 17, 2018, Huynh impounded his second set of interrogatories
 3

 4   upon Walmart and they responded to Huynh’s ROG on Jan 16, 2019. Walmart’s answer

 5   to Huynh ROG No. 9 stated for the first time that they had produced more than 4,048
 6   pages of document to deRubertis in late Sept 2018,47 (See Exhibit 72 at 3) subtracted this
 7
     number from the 36 pages Walmart designated as AEO, deRubertis still received 340
 8
     pages more than what he purported claimed Walmart produced to him which he FedEx to
 9

10   Huynh in late 2018. Additionally, at David and Kari deRubertis instruction, Douglas

11   Kasales and Von Lindern only uploaded in the Relativity Server 3,672 pages of

12   Walmart’s documents on the Epiq portal to Huynh. When Huynh asked Kasales whether
13
     he could provide the Walmart documents to Huynh he said it cost money to extract these
14
     documents.
15

16          209.    On Feb 7, 2019, Brass set up a conference call with Huynh to harass
17   Huynh to produce his confidential records to Walmart. Brass previously arranged a dis-
18
     covery teleconference call with Magistrate Judge Kim on Feb 15, 2019 at 9:30 AM to get
19
     Judge Kim to force Huynh to produce these documents if Huynh refused to do so. Dur-
20
     ing the call Huynh told Brass that he believes his previous counsel may have acted in
21

22   concert with the Walmart’s lawyers to suppress evidence from Huynh. On the same day,

23   Huynh emailed Brass a letter listing his concerns that Walmart intentionally discoverable

24

25   47
        Subject to and without waiving the foregoing objections and subject to its interpretation of
26   this Interrogatory, Defendants refer Plaintiff to documents labeled WM00003323;
     WM00003377; WM00003437; WM00003447; WM00003621; WM00003676;
27   WM00003741; WM00003755; WM00003934; and WM00004048, which are non-privileged
     documents and communications sufficient to show the basis for the above-identified statement
28   that Plaintiff’s allegations were investigated and deemed unsubstantiated
     ‘                                                  124
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 1   documents that Huynh requested in his first set of RFDP and second set of ROGs.
 2
            210.    Toward the end of a nine minutes teleconference call with Judge Kim on
 3

 4   Feb 15, Brass told Judge Kim that Huynh had a serious matter that he would like to bring

 5   to her attention and whether Huynh still want to do it. Huynh told Judge Kim that it
 6   seemed that David deRubertis and the Walmart’s lawyers may have acted improperly to
 7
     prejudice Huynh in the instant litigation. To Huynh’s surprise, the next day Judge Kim
 8
     posted a video’s court staff file Case 3:18-cv-01631-VC: ECF-60. Attached to the PDF
 9
     file was an audio recording of the teleconference call the day before. Looking back this
10

11   was quite unusually for Judge Kim to record the teleconference call then filed it in the

12   public docket. Huynh believe the most logical explanation was Brass may have informed

13   Judge Kim about Huynh’s complaint. Thus, to purportedly show an appearance of im-
14   partiality, Judge Kim record and file the audio file for public consumption. The audio re-
15
     cording could be accessed by clicking the link: https://youtu.be/jP03UYa8iyY. Huynh’s
16
     concerned about potential David deRubertis’ and Walmart’s lawyers’ misconduct could
17
     be heard starting at 7 minutes and 6 second for the recording.
18

19
            211.    After the conference call with Judge Kim. Later that evening of Feb 11,
20
     2019 (Exhibit 67 at 5), Huynh emailed Brass a letter stating that there were at least 386
21
     pages of Walmart’s documents missing from the Sept 2018 GO 71 productions. In Ex-
22

23   hibit 67 at 7, Huynh stated that believes this is a violation California Professional Code of

24   Conduct Rule 3.4 Fairness to Opposing Party and Counsel and Rule 4.1 Truthfulness in

25   Statements to Others. The following morning at 7:45 AM Ryan Stewart produced an ad-
26   ditional 2,354 pages documents. This proved that David and Kari deRubertis, Kasales,
27
     and the Walmart and Gibson Dunn participants attempted to suppress evidence to prevent
28
     ‘                                                125
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 1   Huynh’s access to the Court to prosecute his case against Walmart. This is obstruction of
 2   the undue administration of justice in a judicial producing which is a predicate acter un-
 3
     der the RICO statute. Some of these documents had material evidence for Huynh to ex-
 4
     ceed his burden of production to prove prong #4 of his prima facie case by preponderance
 5
     of evidence and rebut Walmart’s affirmative defense. The table below summarized the
 6

 7   material facts that Huynh were able extracted from the additional 2,354 pages of docu-

 8   ments that David and Kari deRubertis, Kasales, Lindern, Brass, Stewart and others sup-

 9   pressed from Huynh to prevent him from using them in his defense against Walmart.
10

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     ‘                                                126
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 1                  The Walmart and Gibson Dunn Defendants Corruptly Influenced Magis-
                    trate Judge Sallie Kim to Deny Huynh’s Requests to Get Walmart to Re-
 2                  move the Confidential Designation on a Limited Number of Pages.
 3
            212.    In late May and early June 2019, Huynh met and conferred with the Gib-
 4
     son Dunn participants in an attempt to get Walmart to remove the confidentiality designa-
 5
     tion for only 65 pages of documents which are not confidential so Huynh could later use
 6
     them to defend himself against Walmart’s motion for summary judgement (given that
 7

 8   Huynh didn’t know how to file documents under seal). However, instead of negotiating

 9   in good faith, the Gibson Dunn participants made misleading statements about the laws to
10   deceived Huynh from challenging Walmart’s improper confidentiality designation. Chris
11
     Wilson emailed Huynh on 4/15/19 (from Washing D.C. to Seattle) to deceive Huynh that
12
     confidentiality designation applies to an entire document, as opposed to selected pages of
13
     documents and Fed. R. Civ. P. 34(b)(2)(E)(i) requires that parties “produce documents as
14

15   they are kept in the usual course of business.” This prevents Walmart from breaking up a

16   single document in its files into confidential and non-confidential portions for discovery

17   purposes. See Exhibit 74. In short, Wilson lied to Huynh in an attempt to obstruct the
18   removal of the confidentiality designation from these documents to suppress them from
19
     being used by Huynh to defend himself against Walmart’s motion for summary judge-
20
     ment. The parties filed a joint discovery brief letter with Magistrate Judge Sallie Kim on
21
     June 3, 2019 (Case 3:18-cv-01631-VC: ECF-75 and 76). The following day, Judge Kim
22

23   ordered Walmart to submit the disputed documents for in camera review. Case 3:18-cv-

24   01631-VC: ECF-77. Two weeks later Judge Kim issued an order given Walmart the op-

25   tion to pick and choose which of the 65 pages of documents Walmart wanted to remove
26
     the confidentiality designation. Case 3:18-cv-01631-VC: ECF-78.
27

28          213.    At that time, Huynh didn’t know any better so he believed Magistrate
     ‘                                              127
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 1   Judge Sallie Kim’s order was proper. However, Huynh recently discovered that after a
 2   District Judge or a Magistrate Judge performed in-camera review for disputed documents
 3
     that Judge most of the time will issue an order giving specific instructions to the produc-
 4
     ing party what they must do with regard to the disputed documents. Therefore, by giving
 5
     Walmart the option to decide which of the 65 pages they wanted to produce to Huynh
 6

 7   without the confidentiality designation was prejudicial, and improper. This is akin to let-

 8   ting “the fox guarding the hen house”. The links below are discovery dispute orders is-

 9   sued by Judges at the United States District Court, Northern District of California after
10
     completing in camera reviews.
11

12          i.      https://storage.courtlistener.com/re-
                    cap/gov.uscourts.cand.320421/gov.uscourts.cand.320421.105.0.pdf) – Judge Kim
13                  order after in-camera review.
14         ii.      https://storage.courtlistener.com/re-
                    cap/gov.uscourts.cand.364504/gov.uscourts.cand.364504.174.0.pdf
15
          iii.      https://storage.courtlistener.com/re-
16                  cap/gov.uscourts.cand.325523/gov.uscourts.cand.325523.343.0.pdf
          iv.       https://storage.courtlistener.com/re-
17
                    cap/gov.uscourts.cand.206484/gov.uscourts.cand.206484.31.0.pdf
18         v.       https://storage.courtlistener.com/re-
                    cap/gov.uscourts.cand.204440/gov.uscourts.cand.204440.68.0.pdf
19
          vi.       https://storage.courtlistener.com/re-
20                  cap/gov.uscourts.cand.202134/gov.uscourts.cand.202134.38.0.pdf
21       vii.       https://storage.courtlistener.com/re-
                    cap/gov.uscourts.cand.178002/gov.uscourts.cand.178002.154.0.pdf
22
         viii.      https://storage.courtlistener.com/re-
23                  cap/gov.uscourts.cand.176106/gov.uscourts.cand.176106.37.0.pdf
          ix.       https://storage.courtlistener.com/re-
24
                    cap/gov.uscourts.cand.174687/gov.uscourts.cand.174687.117.0.pdf
25         x.       https://storage.courtlistener.com/re-
                    cap/gov.uscourts.cand.174323/gov.uscourts.cand.174323.38.0.pdf
26

27
                 214.   Since Walmart still refused to remove the confidentiality designation for
28
     ‘                                                   128
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 1   any of the remain disputed pages, Huynh filed a second discovery brief letter on Aug 13,
 2   2019 (Case 3:18-cv-01631-VC: DC Dkt. 103-104) to request Magistrate Judge Sallie
 3
     Kim to order Walmart to remove the confidentiality designation from these pages. On
 4
     the very same day, Magistrate Judge Sallie Kim issued an order (Case 3:18-cv-01631-
 5
     VC: DC Dkt. 106) denying Huynh’s requests for the second time without any rational ex-
 6

 7   planations.

 8

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18
         Note items #18, #20, #23, and #25 are the very items that Judge Kim refused to order Walmart to re-
19       move the confidentiality designation. See Exhibit 75.

20          215.     The key question here is whether Judge Kim refusal to order Walmart to

21   remove the Confidentiality Designation for the items listed in Case 3:18-cv-01631-VC:
22
     ECF-104-1 prejudicial to Huynh’s SOX claim against Walmart. The answer is absolutely
23
     yes. Huynh could not use item #18, #20, #25, and #23 to meet his burden of production
24
     to prove prong #4 of his prima facie case and to rebut Walmart’s affirmative defense dur-
25
     ing summary judgement because Huynh didn’t know how to file these items under seal.
26

27   See Exhibit 75. In short, the Walmart and Gibson Dunn participants improperly influ-

28   enced Jude Kim to rule in Walmart’s favor to obstruct the undue administrative of justice
     ‘                                              129
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 1   in a judicial proceeding.
 2
            216.    Two days after Huynh filed his opposition brief to Walmart’s motion for
 3

 4   summary judgment, Huynh filed a motion seeking leave from District Judge Vince Chha-

 5   bria to supplement his opposition brief (See Exhibit 76) as afforded by F.R.C.P Rule
 6   56(e). Shortly after, Rachel Brass filed an opposition to Huynh’s motion (See Exhibit 76)
 7
     by making frivolous legal arguments and cited in misleading case laws in an attempt to
 8
     obstruct the undue administrative of justice. The case laws Brass cited below had nothing
 9
     to do with Huynh’s motion for leave to supplement his opposition brief.
10

11        Accordingly, Plaintiff’s request for leave to amend his opposition brief to add new
         exhibits should be denied. See Banga v. Kanios, 2016 WL 7230870, at *2, n. 3 (N.D.
12       Cal. Dec. 14, 2016) (denying motion to extend deadline to oppose motion to dismiss
         because pro se plaintiff “d[id] not explain why he did not request an extension before
13
         the response deadline passed, or why his neglect to do so is excusable.”
14       Porter v. Jennings, 2013 WL 552123, at *1 (E.D. Cal. Feb. 12, 2013) (denying motion
         to extend deadline to amend pleadings and conduct discovery because pro se Plaintiff
15
         “present[ed] no documents demonstrating that good cause exists” and “present[ed] no
16       argument that would merit granting modification.”)

17

18          217.    The Walmart and Gibson Dunn Defendants corruptly influenced District

19   Judge Vince Chhabria not to rule on Huynh’s motion to supplement material fact into the

20   record for the next 122 days. Indeed, Judge Chhabria dismissed all of Huynh’s claims
21   against Walmart with prejudice in early Mid-January 2020 without ever ruling on
22
     Huynh’s motion. The question again is whether Judge Chhabria prejudicial action to ob-
23
     struct the undue administration of justice in his court’s room prevented Huynh from de-
24
     fending his case against Walmart. The answer is unquestionable yes. The table below
25

26   showed that by not allowing Huynh to submit the following material evidence into the

27   record Judge Chhabria used this lack of evidence to rule in Walmart’s favor. Item #18,

28
     ‘                                               130
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 1   #20, and #25 are the same items that Huynh requested Judge Kim to order Walmart to re-
 2   move the confidentiality designation. See Exhibit 75.
 3

 4

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16
              218.   After Huynh learned how to file documents under seal, Huynh filed 11
17
     Exhibit under seal in early Oct 2019 to support his motion for summary judgement. See
18
     ECF-142, 143, 144, and 145. ECF 143-1 is a summary table of the exhibits and their de-
19
     scription. The following Exhibits (from ECF 143-1) proved without a doubt that Huynh
20

21   overwhelmingly met his burden of production to prove that Walmart failed to prove by

22   clear and convincing evidence that Walmart would have terminated Huynh’s employment
23   in the absence of Huynh’s protected activity. See Exhibit 77.
24

25        •    Exhibit 25 proved that Huynh’s role was not eliminated, rather it was trans-
               ferred to Huynh’s peer even though he had no business development experi-
26             ence. This rebutted Walmart’s misleading asserting that was selected for the
               RIF because his role became obsolete.
27
          •    Exhibit 21, proved that Walmart’s purported RIF was bogus because instead of
28
     ‘                                               131
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 1             saving labor cost Beal actually hired 10 new FTEs for the Marketplace Group in
               the middle of a RIF.
 2
          •    Exhibit 22 and 28 proved that Walmart removed the names of two employees
 3
               who were selected for the Jan 24, 2017 RIF several days after Huynh’s termina-
 4             tion because they didn’t complaint about Walmart’s shareholder fraud conducts.

 5            219.   Despite the facts that Huynh filed the material facts above into the record,

 6   to support his opposition to Walmart’s motion for summary judgement, Judge Chhabria
 7
     ignored these material facts when he granted Walmart summary judgement. However,
 8
     the most chilling thing for Huynh was the fact that Judge Chhabria purportedly claimed
 9
     that he reviewed these Exhibits but found them immaterial to Huynh’s defenses.
10

11       “Otherwise, Huynh’s opposition brief references numerous instances when he pur-
         portedly raised concerns to supervisors at Walmart prior to October 2016, using the
12       citation “(Exhibit),” but the Court has not been able to identify any evidence support-
         ing any of these allegations in any of Huynh’s copious filings. See Exhibit 70 at page
13
         2 (footnote).
14            Acting on Behalf of the Walmart Defendants, the Gibson Dunn Defendants
              Corruptly Influenced District Judge Vince Chhabria to Violated Huynh’s
15            Substantive Due Process Right and Equal Protection Under the Law
16
              220.   A few days after Judge Chabbria dismissed all of Huynh’s claims against
17
     Walmart, Huynh filed a letter in (Case 3:18-cv-01631-VC: ECF 170) on Jan 19, 2020 to
18
     inform and guide Judge Chhabria to evidence Huynh filed in the record that rebutted
19

20   Walmart’s affirmative defense i.e., Seth Beal hired 10 new FTEs in the Marketplace

21   group right in the middle of the purported Marketplace RIF. See Exhibit 78 at 12.

22
              221.   A few days later, Huynh discovered that David and Kari deRubertis
23
     caused Kasales to destroy evidence of Huynh’s meetings with Beal in early Oct 2016. In
24

25   the absence of this evidence, Huynh’s could not meet his burden of production that

26   Huynh’s protected activity was a contributing factor to his termination. Huynh immedi-
27   ately emailed Kasales in Jan 27, 2020 to ask him to explain why he destroyed Huynh’s
28
     ‘                                                132
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 1   Outlook meeting appointments with Beal. Additionally, Huynh told Kasales he needed
 2   an answer from Kasales by Jan 30, 2020 so he could file a motion for reconsideration of
 3
     Judge Chhabria’s ruling granting Walmart summary judgement. At 9:41 AM on Jan 28,
 4
     2020, Kasales replied and provided a misleading and bogus answer to justify his destruc-
 5
     tion of evidence. See Exhibit 79 at 4. An hour after Kasales email, Judge Chhabria is-
 6

 7   sued an order regarding Huynh’s Jan 19 letter (ECF 170). See Exhibit 79 at 8. In his rul-

 8   ing Judge Chhabria wrote: “The Court construes Mr. Huynh’s notice, filed at docket 170,

 9   as a request to file a motion for reconsideration. The request is denied. The Court will not
10
     consider further unsolicited filings on the docket by Mr. Huynh.” This purported ruling
11
     was not based on the law because F.R.C.P Rule 59(e) allowed Huynh to file a motion for
12
     reconsideration 28 days after entry of final judgement against him.
13

14          222.    The one-hour temporal proximity between Kasales’ email to Huynh and
15
     Judge Chhabria ruling (attempted of obstruct Huynh from filing a motion for reconsidera-
16
     tion) led Huynh to conclude that after receiving Huynh’s email, Kasales contacted Rachel
17
     Brass and/or David deRubertis to inform them of Huynh’s plan to file a motion for recon-
18

19   sideration of Judge Chhabria’s ruling granting Walmart summary judgement. Huynh be-

20   lieves, subsequently a reputable party within the judicial community must have contacted

21   Judge Chhabria to improperly influence him to issue the ruling to obstruct Huynh from
22
     filing a motion for reconsideration. On Feb 9, 2020, Huynh filed a motion for reconsid-
23
     eration of Judge Chhabria dismissal of all of Huynh’s claims per Rule 59(e). Ms. Schue-
24
     mann immediately reached out to Huynh and alleged that Huynh violated Judge Chha-
25
     bria’s protective order because he failed to redact the last of a non-party. Huynh imme-
26

27   diately fixed the redaction issue then filed a notice with Judge Chhabria informing him

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     ‘                                                133
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 1   that with had fixed the defect raised by Walmart’s counsel. Two days later, Judge Chha-
 2   bria issued an order denying Huynh’s motion for reconsideration. In his ruling, Judge
 3
     Chhabria wrote:
 4

 5       “On January 28, the Court issued an order denying reconsideration of the sum-
         mary judgment ruling. Now Huynh has filed another motion for reconsideration.
 6       That motion too is denied. In connection with his latest motion, Huynh filed on the
         public docket documents that should have been filed under seal. Accordingly,
 7
         Huynh’s e-filing privileges are hereby revoked. The Court will not consider any fur-
 8       ther filings by Huynh in this case.” See Exhibit 80.

 9          223.    Judge Chhabria changed the language he used to characterize Huynh’s

10   1/19/20 letter (DC Dkt. 170) from “a request to file a motion for reconsideration” (used in
11
     DC Dkt 174) to “a motion for reconsideration” (used in See Exhibit 80). Judge Chhabria
12
     made this misleading statement to mislead the America public and the media into believ-
13
     ing that since Huynh filed duplicate motions for reconsideration Judge Chhabria was jus-
14
     tified in denying Huynh’s motion without having to go through the motion practice dic-
15

16   tated by Local Rule 7-2 and 7-3 and without given his right to procedural and substantive

17   due process right under the Fifth Amendment of the US Constitution.
18
            224.    In short, after ruling in Walmart’s favor to dismiss all of Huynh’s claims
19

20   (by suppressing and obstructing Huynh from filing evidence into the record), Judge

21   Chhabria attempted to block Huynh from filing a motion for reconsideration. When

22   Huynh finally filed his motion for reconsideration, Judge Chhabria denied Huynh’s mo-
23
     tion without notice and hearing according to this court’s local rule.
24

25          225.    The Walmart and Gibson Dunn Defendants (either Mr. Scalia or Mr.

26   Boutros due to their prestige within the legal community) corruptly influenced Judge
27   Chhabria by offering him things of value in exchange for his dismissal of all of Huynh’s
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     ‘                                                134
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 1   claims against Walmart. As a reminder, the dismissal of Huynh’s complaint against
 2   Walmart was extremely critical because it further support the SEC’s decision not to pros-
 3
     ecute Walmart for committing fraud against its shareholders
 4

 5          Obstruction of the OSHA Investigation Process for Improper Purpose.
 6
            226.   On May 11, 2017 (See DC Dkt. 158-7), deRubertis asked McKessy via
 7

 8   email to confirm whether the way deRubertis drafted Huynh’s OSHA SOX whistle-

 9   blower complaint against Walmart may interfere with any future SEC proceeding.

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     ‘                                               135
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 1   McKessy confirmed that it would not due to the general nature of the allegations. deRu-
 2   bertis filed the complaint with OSHA that same day.
 3

 4          227.   On 7/10/17, David deRubertis purportedly asked Huynh via email to do a

 5   quick review of an amended complaint he planned to file with OSHA later that afternoon.
 6   Huynh reviewed and gave David deRubertis his feedback. However, unliked in early
 7
     May 2017, deRubertis didn’t ask McKessy for feedback this time. Later that day, deRu-
 8
     bertis purportedly filed a 125-page amended complaint (See DC Dkt. 158-7) with OSHA
 9
     via fax, email, and overnight delivery to Ms. Jonelle Dunn, an OSHA investigator.
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26          228.   Having the benefit of hindsight, Huynh now realized that it made no sense
27   whatsoever for David deRubertis to file a 125-page amended complaint because OSHA
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     ‘                                              136
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 1   had no such requirement (not even in Federal Court).
 2
            229.    For the next several months, Huynh repeatedly asked deRubertis for status
 3

 4   update on his OSHA complaints. Specifically, Huynh asked deRubertis to forward him

 5   the complainant notification letter that OSHA sent to the deRubertis Law Firm. Neither
 6   deRubertis nor his office replied to Huynh’s request. It was unusual for deRubertis to re-
 7
     peatedly avoiding Huynh’s numerous requests because by law OSHA was required to
 8
     send the complainant notification letter to a complainant shortly after receiving his/her
 9
     complaint. In the letter, OSHA would provide the complainant with the case name, as-
10

11   signed case number, the name of the assigned investigator and his/her contact infor-

12   mation. 29 CFR §1980.104(a) 48, and the OSHA’s Investigation Manual49 outlined the

13
     steps that OSHA typically took to investigate a SOX complaint.
14

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16   48
        (a) Upon receipt of a complaint in the investigating office, OSHA will notify the respond-
     ent of the filing of the complaint, of the allegations contained in the complaint, and of the sub-
17
     stance of the evidence supporting the complaint. OSHA will provide an unredacted copy of
18   these same materials to the complainant (or complainant's legal counsel, if complainant is rep-
     resented by counsel) and to the Securities and Exchange Commission. (b) Within 20 days of
19   receipt of the notice of the filing of the complaint provided under paragraph (a) of this section,
     the respondent may submit to OSHA a written statement and any affidavits or documents sub-
20   stantiating its position. Within the same 20 days, the respondent may request a meeting with
21   OSHA to present its position
     49
        Chapter 2-5 stated “As part of the docketing procedures, when a case is opened for inves-
22   tigation, the supervisor must send a letter notifying the complainant that the complaint
     has been reviewed, given an official designation (i.e., case name and number), and as-
23   signed to an investigator. The name, address, and telephone number of the investigator
     will be included in the docketing letter. A Designation of Representative Form (see sample
24
     at the end of this Chapter) will be attached to this letter to allow the complainant the option of
25   designating an attorney or other official representative.
     Also, at the time of docketing, or as soon as appropriate, the Supervisor must prepare a letter
26   notifying the respondent that a complaint alleging retaliation has been filed by the complain-
27   ant and requesting that the respondent submit a written position statement. Failure to promptly
     forward the respondent letter could adversely impact the respondent’s due process rights and
28   the timely completion of the investigation.
     ‘                                                   137
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 1          230.    After receiving a SOX Whistleblower complaint from a complainant, a
 2   Regional OSHA Investigator Supervisor should open and docket a case in IMS, assign an
 3
     investigator to investigate the case, and send notification letters to both the respondent
 4
     and complainant.
 5

 6          OSHA’s investigation manual chapter 5-10 – VII described how an OSHA inves-
            tigator should determine the proper complaint filed date before entering it into
 7
            IMIS. A correct filed date for the complaint was critically importantly because it
 8          would be used to determine the timeliness of the complaint.

 9          Documenting Key Dates in IMIS: The timely and accurate entry of information in
            IMIS, as detailed in OSHA Directive IRT 01-00-016, is critically important. A.
10          “Date Complaint Filed: the date a complaint is filed is the date of the post-mark,
            facsimile transmittal, e-mail communication, telephone call, hand-delivery, deliv-
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            ery to a third-party commercial carrier, or in-person filing at an OSHA office.”
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            231.    The respondent notification letter should also inform the respondent that
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     they may submit a position statement to OSHA within 20 days. Additionally, under 29
23
     CFR § 1980.105(a) 50, OSHA must issue a preliminary reasonable cause finding
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26   50
        Issuance of findings and preliminary orders: (a) After considering all the relevant infor-
27   mation collected during the investigation, the Assistant Secretary shall issue, within 60 days
     of filing of the complaint, written findings as to whether or not there is reasonable cause to
28   believe that the respondent has retaliated against the complainant in violation of the Act.
     ‘                                                  138
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 1   and preliminary order for the case within 60 days after receiving the com-
 2
     plaint. The chart above outlined the timeline that OSHA would have investi-
 3

 4   gated Huynh’s 5/11/17 complaint against Walmart if deRubertis did in fact

 5   filed the complaint on 5/11/17.
 6

 7       Note: The average time it took OSHA to process the complaint and send out the notifi-
         cation letters is about 14 days based on the two SOX case below.
 8
            •     https://storage.courtlistener.com/recap/gov.uscourts.paed.534987.1.0.pdf
 9

10          •      https://storage.courtlistener.com/re-
                  cap/gov.uscourts.flsd.535106/gov.uscourts.flsd.535106.1.0_1.pdf
11
                         Coverup the Obstruction of the OSHA Investigation Process
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                232.   David deRubertis and the other RICO Defendants never intended to go
14
     through the OSHA Whistleblower complaint process because they wanted to take
15
     Huynh’s case to Federal Court in order execute the two-pronged strategy discussed
16
     above. However, David deRubertis, Payne & Fear, the Walmart and Gibson Dunn partici-
17

18   pants, and Mark Marchione pretended that David deRubertis had filed the complaint and

19   the amended complaint with OSHA in May and July 2017 for three purposes:
20
                233.   First, to purportedly show that deRubertis exhausted OSHA’s administra-
21

22   tive remedies requirements before taking Huynh’s case to Federal Court to cover up their

23   obstruction of the OSHA proceeding.

24
                234.   Second, David deRubertis and Payne & Fear exploited these filings to le-
25

26   gitimately handed over Huynh’s SEC submissions to the Walmart and Gibson Dunn Par-

27   ticipants.

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     ‘                                                  139
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 1            235.   Third, to create paper trails to protect the RICO Defendants from future
 2   criminal prosecution for obstructing an SEC investigation.
 3

 4            236.   Although Huynh currently doesn’t possess direct evidence to prove that

 5   the RICO Defendants obstructed the OSHA proceeding in order to take Huynh’s case to
 6   Federal Court. Huynh believes this in-formation is in the RICO Defendants’ possession
 7
     and is discoverable during discovery. However, even in the absence of this evidence,
 8
     Huynh proved that the RICO Defendants conspired to obstruct the OSHA proceeding
 9
     based on the following circumstantial evidence.
10

11
              237.   First, deRubertis repeatedly refused to provide Huynh a copy of the OSHA
12
     complain-ant notification letter despite Huynh’s multiple requests. This proved that deR-
13
     ubertis never filed Huynh’s complaints with OSHA because if he had OSHA would have
14
     sent him the complainant notification letter because it was required by law for OSHA to
15

16   do so.

17
              238.   Second, deRubertis purportedly claimed that he filed a 125-amended com-
18
     plaint with OSHA even though there was no such pleading requirement by OSHA. deRu-
19

20   bertis’ real motive for pretending to file the amended complaint was to use it as a justifi-

21   cation to lift the content in Huynh’s 4/19/17 SEC submission verbatim and inserted them

22   into the bogus 125-page amended complaint to launder the information to legitimately
23
     share it with the Gibson Dunn and the Walmart Participants. The RICO Defendants later
24
     used this information to submit factual misrepresentations to neutralize the evidence
25
     Huynh provided to the SEC.
26

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     ‘                                                 140
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 1          239.    Third, deRubertis pretended to file the fake complaint and amended com-
 2   plaint on 5/11 and 7/10/17 in order to create paper trails which enabled the RICO De-
 3
     fendants to assert their chronologically impossible defense to coverup the facts that the
 4
     they conspire to obstruct the SEC investigation process as early as the beginning of May
 5
     2017. To effectuate their scheme, deRubertis purportedly asked McKessy to review the
 6

 7   OSHA complaint on 5/11/17 because he wanted McKessy to serve as an alibi to the fact

 8   that prior to Walmart’s Q1 FY18 earnings call on 5/18/17 the Walmart Participants only

 9   knew about Huynh’s allegations of Walmart’s misconducts at a superficial level based on
10
     deRubertis’ 5/11/17 OSHA complaint. Then even though, Walmart’s senior executives
11
     knew about the specificity of Huynh’s allegation from deRubertis’ fake 125 pages
12
     amended complaint after 7/10/17 it didn’t matter because by then the RICO Defendants
13
     had already executed their Whitewashing Campaign. Thus, it would be chronologically
14

15   impossible for the US government that the RICO Defendants obstructed the SEC investi-

16   gation/proceeding.
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 1           240.   Fourth, on Aug 2, 2019, the Brass, Boutros, and Stewart filed the fake
 2   OSHA’s 3/16/18 dismissal letter from Mark Marchione in the Court docket to purport-
 3
     edly show that deRubertis exhausted administrative remedies before taking Huynh’s case
 4
     to Federal Court. See Case 3:18-cv-01631-VC: DC Dkt. 119-20. Huynh recently came to
 5
     the conclusion that the RICO Defendants manufacture this letter to cover up their ob-
 6

 7   struction of the OSHA investigation process. This letter was bogus because its contents

 8   were inconsistent with SOX’s statutory language and also inconsistent when compared

 9   with the dismissal letter from the Jackie Hosang Lawson’s case (Case 1:04-cv-11651-
10
     MLV).
11

12       •    In the Lawson’s case the dismissal letter came from a “Regional Administrator” Not
              a “Regional Supervisory Investigator”.
13
         •    Marchione listed the kick out period for SOX as 60 days instead of 180 days.
14       •    Huynh’s complaint was filed on 5/11/17 not on 5/17/17. Why?
15       •    Marchione cc: the U.S. Department of Justice, Civil Fraud Division when there was
              no such requirement.
16
         •    The letter address “Dear Mr. Huynh” when it should have been addressed to
17            Huynh’s Lawyer David deRubertis.
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 1          241.    Walmart and the Gibson Dunn Participants hired the Law Firm of Payne
 2   & Fears on the behalf of the Walmart Participants to represent Walmart to interact with
 3
     deRubertis and Mark Marchione regarding Huynh’s OSHA complaints. Huynh believes
 4
     Payne & Fears along with David deRubertis, the Gibson Dunn leaders fabricated and/or
 5
     caused other to fabricate of Beal’s 11/30/16 email and 11/30/16 Marketplace RIF then
 6

 7   submitted the fake documents to OSHA. They also conspired with Mark Marchione to

 8   obstruct OSHA from investigating Huynh’s complaints.

 9
            242.    The chart above proved that Terri M. Shaw and Daniel F. Fears engaged
10

11   in extensive communications with Seth Beal, Valerie Ricetti, and other Walmart’s em-

12   ployees via mail and the wire to manufacture evidence (Beal’s 11/30 email and RIF list)

13   and submit false information to OSHA.
14
            243.    Fifth, Since David deRubertis refused to provide Huynh with a copy of
15

16   OSHA notification letter, the RICO Defendants manufactured the OSHA complainant

17   notification letter after the fact to purportedly show that OSHA did in fact send a notifica-
18   tion letter to deRubertis on Aug 7, 2017 to coverup the fact that the RICO Defendants
19
     conspired with Mark Marchione to obstruct OSHA from investigating Huynh’s OSHA
20
     complaint. Below are discrepancies between Marchione’s fake notification letter and the
21
     notification template letter provided to OSHA investigators to communicate with com-
22

23   plainants.

24
             •     As per statutory requirement Marchione should have sent the complainant
25                 notification letter by end of May 2017 at the very latest to deRubertis. How-
                   ever, Marchione didn’t send the letter until Aug 2017. It’s worth to mention
26                 that Huynh didn’t have access to this letter until after he fired deRubertis
                   and forced him to return Huynh’s client files.
27

28           •     Marchione didn’t assign an investigator to the case even though deRubertis
     ‘                                               145
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 1             purportedly filed that the complaint with OSHA on May 11, 2017.
 2         •   Marchione stated that Huynh’s complaint was filed on 5/17/17 but deRuber-
               tis claimed that his firm faxed, emailed, and UPS the complaint to OSHA on
 3
               5/11/17. Why the 6 days discrepancies?
 4
           •   Marchione didn’t attached the purported 125-page amended OSHA com-
 5             plaint David deRubertis claimed he filed with OSHA on July 10, 2017.
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 1          244.   Sixth, although David deRubertis claimed that he had filed Huynh’s
 2   OSHA complaint on May 11, 2017 but the Gibson Dunn and Walmart Defendants im-
 3
     properly influenced Mark Marchione to list the complaint filed date as May 17, 2017.
 4
     What was May 17, 2017’ significance?
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25          245.   Huynh put deRubertis on notice in late Sept 2017 that the SEC began to
26   scrutinize Walmart on how they accounted for Walmart Marketplace sales, customer re-
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     ‘                                              147
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 1   turns, and inventory mark down due to the allegations in Huynh’s 4/19/17 SEC submis-
 2   sion. Huynh shared with deRubertis Thompson’s 5/22/17 letter to Biggs. To coverup the
 3
     fact that the RICO Defendants conspired with Thompson as well as engaging in the
 4
     Whitewashing Campaign, the RICO Defendants attempted to reset the boundary condi-
 5
     tion of their previous “Chronologically Impossible” 1.0 Defense by getting Marchione to
 6

 7   fabricate the 8/7/17 notification letter where he listed the filed date for Huynh’s com-

 8   plaint as 5/17/17 instead of the actual filed date of 5/11/17.

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            246.    The RICO Defendants purportedly listed 5/17/17 as the filed date for
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20   Huynh’s complaint instead of 5/11/17 in order to reset the initial boundary condition

21   (since Huynh knew that Walmart’s senior executives conspired with Thompson to white-

22   wash evidence of Walmart’s illegal conducts). By changing the complaint filed date from
23   5/11/17 to 5/17/17, the RICO Defendants would argue that even if someone at OSHA got
24
     a hand on Huynh’s complaint and leaked the information to Walmart it didn’t really mat-
25
     ter because by then Walmart’s senior executives had already pre-record Walmart’s Q1
26
     FY18 earnings call where Walmart shifted its reported SKU metric from Marketplace to
27

28   Walmart.com Additionally, the RICO Defendants chose Aug 7, 2017 as the purported
     ‘                                          148
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     date to send out the complainant notification letter to purported proved that by then
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     Thompson’s communications with Biggs regarding Walmart’s Ecommerce accounting
16
     treatment had already been completed.
17

18                                           Coverup at DFHE
19

20          247.    Fourth, to purportedly show that deRubertis exhausted DFEH’s adminis-

21   trative remedies requirements before shotgun pleaded the five ADHD FEHA claims in
22   Federal Court, the RICO Defendants fabricated the proof of service from DFHE and the
23
     deRubertis Law Firm to purportedly show that deRubertis and DFEH served Walmart
24
     Huynh’s right to sue letter on Mar 9, 2018. Upon further inspections of these documents,
25
     Huynh concluded that they were manufactured for the following reasons.
26

27
            248.    First, it was hard to imagine that both the deRubertis Law Firm and DFEH
28
     ‘                                                149
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 1   served Huynh’s right to sue letter to Walmart at the exact same time and date i.e., on

 2   March 9, 2018 at 12:05 PM. The probability that this would happen in real life is like

 3   wining the “Powerball” lottery.

 4
            249.    Second, Huynh’s right to sue letter clearly stated in bolded words “Pursu-
 5
     ant to Government Code Section 12962, DFEH will not serve these documents on your
 6
     employer”. Thus, it made no sense why would DFEH spend the time and resources to
 7
     serve Huynh’s right to sue letter to Walmart? Third, the purported right to sue letter that
 8
     DFEH serve to Walmart had Huynh’s actual signature on it even though the original right
 9
     to sue letter that Huynh received from DFEH didn’t have Huynh’s signature. However,
10
     deRubertis was the only who had Huynh’s right to sue letter that has Huynh’s signature
11
     because right after Huynh received the right to sue letter from DFEH, deRubertis asked
12
     Huynh to physically sign the letter then emailed it to him. Thus, the only way that the
13
     Rescue Squad had the right to sue letter with Huynh’s signature on it was deRubertis in-
14
     tentionally gave it to them.
15

16          250.     Fourth, in Huynh’s right to sue letter (under the notice to the respondent

17   section), DFEH clearly stated that “No response to DFEH is requested or require”. How-

18   ever, in the purported DFEH’s proof of service letter it showed that DFEH requested

19   Walmart to respond to Huynh’s right to sue letter within 30 days. “Appearance or An-

20   swer Due: within 30 days of receipt51. This further proved that the DFEH proof of ser-

21   vice letters were manufactured to cover up the facts that the RICO Defendants conspired

22   to shotgun pleaded the five ADHD FEHA claims in Huynh’s 3/15/18 complaint.

23

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25   51
        This purported statement also contradicted with what is stated in the right to sue section of
26   the DFEH website at https://www.dfeh.ca.gov/obtainrighttosue/ which stated “You may file
     your own lawsuit for employment discrimination in court rather than using the DFEH investi-
27   gation process. This is advisable only if you have an attorney. Also note that if you receive a
     right-to-sue notice, your complaint will not be investigated by DFEH even if you later de-
28   cide not to file a lawsuit.
     ‘                                                150
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 1                                      Cover Up at LWDA
 2
            251.   Since David deRubertis never filed the 125-page amended complaint with
 3
     OSHA (deRubertis couldn’t claim that he produced the content of Huynh’s 4/19/17 SEC
 4

 5   submission to Walmart through a legitimate legal process), deRubertis and the Rescue

 6   Squad acted in concert to file a PAGA claim with LWDA in early Jan 2018 then added

 7   the PAGA claim to Huynh’s amended complaint (see Case 3:18-cv-01631-VC: Dkt. 8 at
 8   68) to use the PAGA claim as another excuse to leak Huynh’s 4/19/17 SEC submission to
 9
     the RICO Defendants.
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     ‘                                             152
            VERIFIED FIRST AMENDED COMPLAINT – DEMAND FOR JURY TRIAL
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 1          252.   On Jan 9, 2018, deRubertis mailed the PAGA notification letter to
 2   Walmart via US Postal Mail. As showed below the OSHA amended complaint and the
 3
     PAGA notification letter were exactly the same
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     ‘                                                153
            VERIFIED FIRST AMENDED COMPLAINT – DEMAND FOR JURY TRIAL
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 1            253.   Additionally, in order to coverup the fact that the David deRubertis and
 2   Brass acted in concerted to assert the ridiculous and frivolous PAGA claim in Huynh’s
 3
     amended complaint to secretly leak Huynh’s SEC submission to the Walmart Partici-
 4
     pants, the Rescue Squad asked Huynh to e-file a joint stipulation to ask District Vince
 5
     Chhabria to dismiss the PAGA claim with prejudice. Judge Chhabria dismissed the claim
 6

 7   with prejudice in early April 2019. Case 3:18-cv-01631-VC: DC Dkt. 67..

 8
              The Walmart Shareholder Fraud Coverup Enterprise Continues to Commit-
 9            ted Illegal Predicate Acts in Furtherance of Their Common Purpose of Get-
              ting Huynh’s Lawsuit Dismissed Against All the RICO Defendants.
10
              254.   Huynh filed the instant law suit with the United States District Court,
11

12   Northern District of California on Jan 10, 2022 asserting RICO and RICO conspiracy

13   claims against the RICO Defendants. The RICO Defendants immediately acted in con-

14   cert to plan and execute a coordinated fraudulent scheme to obstruct the undue admin-
15
     istration of justice in a judicial proceeding to get Huynh’s complaint dismissed by this
16
     Court.
17

18                   The Court Would Most Likely Dismiss Huynh’s Complaint If It
                     Lacked Jurisdiction Over the RICO Defendants.
19
              255.   For this Court to have jurisdiction to hear Huynh’s complaint, Huynh have
20

21   to meet three legal requirements. First, this Court must have subject matter jurisdiction to

22   hear Huynh’s lawsuit. This would not be a problem because his causes of actions arose
23   under Federal Laws i.e., RICO 18 U.S.C. § 1964(c) and RICO 18 U.S.C. § 1964(d), and
24
     Bivens Action Claim against the Defendants.
25

26            256.   Second, in order for this Court to have personal jurisdiction upon the De-

27   fendants Huynh must satisfied two requirements: 1) Nexus of the Defendant to the forum
28
     ‘                                                 154
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 1   (i.e., Huynh must satisfy the minimum contact requirement for the Defendant). This
 2   should not be a problem because Huynh’s RICO claims allow for national service of pro-
 3
     cess. The Defendants need on have minimum contact with the United States, and 2)
 4
     Huynh must meet the “Notice” requirements i F.R.C.P. Rule 4.
 5

 6           257.    Third, Huynh must prove the United States District Court, Northern Dis-
 7
     trict, Northern District of California is the proper venue for his lawsuit. This would not be
 8
     a problem because a substantial number of the events (T and O) giving rise to this action
 9
     occurred in this District.
10

11
             258.    Therefore, the single point of failure for Huynh in this law suit is if he
12
     failed to effectuate service of process upon any of the Corporate Defendants because the
13
     Defendant will file a 12(b)(5) motion to dismiss Huynh’s complaint. Once the Court dis-
14
     missed Huynh’s complaint, any of the remaining Defendant could file a 12(b)(7) motion
15

16   to dismiss Huynh’s complaint for failure to joint an indispensable party. Once the defend-

17   ant succeeds in their motion, Huynh’s complaint will be dismissed as to all the Defend-
18   ants with prejudice.
19

20                   Rachel Brass Attempted to Deceive Huynh Into Improperly Effectuat-
                     ing Service Upon the RICO Defendants By Making Misleading State-
21                   ments Regarding F.R.C.P Rule 4(d).

22           259.    Exhibit 81 at 3 to 8 summarized in details of how Ms. Brass attempted to
23   obstruct Huynh from effectuating service of process upon the Walmart and Gibson Dunn
24
     Defendants. Huynh discussed below two instances where Ms. Brass (acting on behalf of
25
     the Walmart Shareholder Fraud Cover Up Enterprise) committed wire fraud to execute
26
     the RICO Defendants’ fraudulent scheme to get Huynh’s lawsuit dismissed.
27

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     ‘                                                  155
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 1          260.    On Jan 25, 2022 (Exhibit 82), Ms. Brass emailed Huynh out of the blue
 2   and purportedly claimed that she represents the Walmart and Gibson Dunn Defendant.
 3
     Brass asked Huynh to send her the required paper work so she could waiver service of
 4
     process for all of her clients. Ms. Brass attempted to deceive Huynh into obtaining waiver
 5
     of service from her by purportedly cited F.R.C.P Rule 4(d). However, Ms. Brass state-
 6

 7   ment was misleading for two reasons. First, Rule 4(d) specifically instructs Huynh to

 8   mail a notice of waver of service of summons directly to Defendant directly (not to the

 9   Defendant’s counsel). Second, let assumed arguendo that Rule 4(d) does allow Huynh to
10
     send the notice of waiver of service of summons to miss Brass, Huynh still failed to ef-
11
     fectuate service of process upon he purported clients because Ms. Brass produced zero
12
     evidence which proved that she is the Walmart and Gibson Dunn Defendants’ counsel.
13
     Although Ms. Brass previously represented Walmart Inc. in Huynh’s SOX matter in
14

15   2018, it doesn’t mean by extension that she is Walmart’s legal counsel. In short, if

16   Huynh had acted on Ms. Brass’ insidious deceptions, Huynh’s lawsuit against all the
17   RICO Defendants would be dismissed by this Court.
18

19          261.    On Jan 26, 2022 (Exhibit 83) , Ms. Brass attempted to deceive Huynh a

20   second time. She emailed and purportedly claimed that she already waived service of pro-

21   cess for the Walmart and Gibson Dunn Defendants and she ordered Huynh to email her
22
     the appropriate paper work so she could sign and return the waiver of service. Ms. Brass’
23
     action was appalling and shameless because nowhere in Rule 4(d) that stated that Huynh
24
     could email Ms. Brass the notice of waiver of service of summons.
25

26          262.    In short, right of the bat Ms. Brass perpetrated at least two predicate acts
27
     (wire fraud under 18 U.S.C. § 1343) by emailing Huynh twice from California to Seattle
28
     ‘                                                156
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 1   in furtherance of the RICO Enterprise’s Common Purpose of getting the instant lawsuit
 2   throw out of Court. Additionally, Ms. Brass also violated 18 U.S.C. § 1503 for obstruc-
 3
     tion of the undue administration of Justice in a Judicial Proceeding. The other RICO De-
 4
     fendants also committed the sane predicate acts Ms. Brass because they caused Ms. Brass
 5
     to email Huynh in attempt to get Huynh’s lawsuit against them dismissed.
 6

 7
                    Clawson Attempted to Deceive Huynh to Get His Case Dismissed
 8                  Against All Defendants Through Fraudulent Means.

 9          263.    On March 9, 2022, Ms. Clawson emailed Huynh and purportedly claimed

10   that she was retained by Epiq Global Service (there’s no such entity). Since Ms. Clawson
11
     didn’t furnish any documentary evidence to prove that she was acting as Epiq eDiscovery
12
     Solutions, Inc.’s legal counsel, Huynh asked her to file a notice of appearance with this
13
     Court before he could talk with her regarding the case.
14

15          264.    On March 17, 2022, Ms. Clawson filed a notice of appearance (Case 3:22-
16
     cv-00142-JSC: ECF 92) where she purportedly named EPIQ GLOBAL BUSINESS
17
     TRANSFORMATION SOLUTIONS, LLC as a Defendant in this case as well as
18
     Kasales, and Lindern. Therefore, by default Ms. Clawson purportedly claimed that
19

20   Kasales and Lindern worked for EPIQ GLOBAL BUSINESS TRANSFORMATION SO-

21   LUTIONS, LLC while they participated in the conducts of the RICO Enterprise between

22   Mid-June 2018 to beginning of 2020. Huynh proved to Ms. Clawson in his March 17,
23
     2022 email that neither Lindern nor Kasales worked for EPIQ GLOBAL BUSINESS
24
     TRANSFORMATION SOLUTIONS, LLC. This entity was not formed until October of
25
     2019. Furthermore, Huynh provided Ms. Clawson with the contract that Kari deRubertis
26
     had signed with Epiq eDiscovery Solutions, Inc. and various wire transfers made by Kari
27

28
     ‘                                                157
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 1   deRubertis to pay the billed invoices. Subsequently, Ms. Clawson filed an amended no-
 2   tice of appearance to replace the name EPIQ GLOBAL BUSINESS TRANSFOR-
 3
     MATION SOLUTIONS, LLC with Epiq eDiscovery Solutions, Inc. See Exhibit 84.
 4

 5          265.    In short, Ms. Clawson used the name EPIQ GLOBAL BUSINESS
 6   TRANSFORMATION SOLUTIONS, LLC as the named Defendant in this lawsuit in or-
 7
     der to purportedly claim later that Huynh served the wrong entity i.e., Epiq eDiscovery
 8
     Solutions, Inc instead of her client. So, this Court couldn’t assert personal jurisdiction
 9
     over her client. As discussed above, Since the Court had no personal jurisdiction over
10

11   her client the Court mostly likely dismissed all of Huynh’s claim against all of the other

12   RICO Defendants.

13
            266.    In her notice of appearance filed on March 19, 2022, Ms. Clawson stated
14
     that Huynh purportedly served Epiq eDiscovery Solutions, Inc on Feb 28. Huynh wor-
15

16   ried that Ms. Clawson may improperly influenced the person who accepted service from

17   Victoria Huynh on Feb 28 to file a false declaration to purportedly assert that Huynh was
18   the one who served him not Victoria Huynh. Out of abundance of caution Huynh asked
19
     Victoria Huynh to serve Epiq eDiscovery Solutions, Inc. again. However, this time,
20
     Huynh captured the service of process in video to prove to this Court Huynh properly ser-
21
     viced Epiq eDiscovery Solutions, Inc. See Exhibit 84.
22

23
            267.    Huynh filed additional proof of service for Epiq eDiscovery Solutions,
24
     Inc. on March 24, 2022(See Exhibit 85). In his filing, Huynh explained to the Court that
25
     the reason that Huynh served the Defendant again because his complaint may be dis-
26
     missed against all the RICO Defendants if he failed to comply to F.R.C.P Rule 4. Inter-
27

28   estingly, on the following Monday, the Defendant’s registered agent, Cogency Global
     ‘                                             158
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 1   Inc., purportedly returned the summons and complaint served upon them a few days
 2   early. The reason they provided was that they do not serve or no longer serve as agent of
 3
     process for the Defendant. However, when Victoria Huynh served Epiq eDiscovery So-
 4
     lutions, Inc. on Feb 28, 2022 by personally serve Cogency Global, Inc. they didn’t return
 5
     the summons and complaint to Huynh. See Exhibit 86 at 4 to 8.
 6

 7
             268.    On March 29, 2022, Huynh emailed Ms. Clawson four times to ask her to
 8
     confirm whether Cogency Global Inc. is still the registered agent for Epiq eDiscovery So-
 9
     lutions, Inc. However, Ms. Clawson refused to confirm whether Cogence Global, Inc. is
10

11   still the registered agent for her client. See Exhibit 86.

12
             269.     In short, the circumstantial evidence discussed above led Huynh to infer
13
     that after Huynh filed his additional proof of service for her client, Ms. Clawson con-
14
     tacted and/or caused other to contact Cogency Global to ask them to return the summons
15

16   to Huynh in other to coverup the facts that Ms. Clawson was acting in concert with the

17   other RICO Defendants to get Huynh’s lawsuit dismissed against all of the RICO De-
18   fendants. Since Ms. Clawson not only acted in Epiq eDiscovery Solutions, Inc.’s behalf
19
     but also acted in the other RICO Defendants’ behalf to dismiss Huynh’s lawsuit, she also
20
     committed wire fraud several times (email transmissions from California and Washington
21
     States) in furtherance of the RICO Enterprise’s objective.
22

23
             The RICO Defendants Caused ABC Legal Service to Sabotage Huynh’s At-
24           tempt to Effectuate Service of Process Upon These Defendants.

25                   Circumstantial Evidence Led Huynh to Conclude That David deRu-
                     bertis Caused ABC Legal Service to Sabotage Huynh’s Attempt to Ef-
26                   fective Service of Process Upon Him and His Wife
27           270.    Huynh hired ABC Legal Services to serve the summons and complaint
28
     ‘                                                  159
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 1   upon Kari deRubertis on Mar 3, 2022. In his proof of service, he wrote:
 2
            “Kari deRubertis, I delivered the documents to Kari deRubertis with identity con-
 3
            firmed by subject stating their name. The individual accepted service with direct
 4          delivery. The individual appeared to be a bald white male contact 45-55 years of
            age and 5'6"-5'8" tall. Very rude acceptance of service”
 5
            271.    Huynh interpreted the term “bald white male” who lives in the same house
 6
     with Kari deRubertis to be David deRubertis. David deRubertis purportedly claimed to
 7

 8   be Kari deRubertis to accept service of process from the process server to cause Huynh’s

 9   service of process upon Kari deRubertis to be defective. However, it was abnormal for

10   the server to personally served deRubertis when he was not a woman. Subsequently,
11
     Huynh emailed David deRubertis multiple times to ask him to confirm whether he had
12
     received service of process for his wife, Kari deRubertis. deRubertis refused to answer
13
     Huynh’s question. This led Huynh to conclude that David deRubertis acted in concert
14
     with ABC Legal Service and the process server to sabotage Huynh’s service of process
15

16   upon Kari deRubertis. This allowed Kari deRubertis to get Huynh’s lawsuit against her

17   dismissed. See Exhibit 87
18
            272.    Huynh hired ABC Legal Service to serve David deRubertis with summons
19

20   in his official capacity at his office at 8889 W. Olympic Blvd. Second Floor, Beverly

21   Hills, CA 90211. The process server served a Jane Doe instead of David deRubertis in

22   the first instance on Feb 14, 2022. Huynh filed the proof of service with this Court the
23
     following day. At the time Huynh didn’t realize that the manner upon which the ABC Le-
24
     gal Service’s process server served deRubertis was deficient. After conducting legal re-
25
     search, Huynh found that the service of process was flawed in two ways. First, the pro-
26
     cess server didn’t attempt to personally serve David deRubertis at least 2 to 3 times be-
27

28   fore resorted to substitute service. This violated ABC Legal Service Process and Poicies.
     ‘                                                 160
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 1   See Exhibit 91.
 2
            273.    Second, the process server served a Jan Doe without verifying whether she
 3

 4   was authorized to receive service of process on David deRubertis’ behalf. Huynh com-

 5   municated these findings to ABC Legal Service. Huynh also asked Vincent Lo, project
 6   manager, at ABC Legal Service during a phone call on Mar 9, 2022 why the process
 7
     server didn’t attempt to personally serve David deRubertis at least a few times as required
 8
     by California Civil Code of Civil Procedure before resorting to substitute service. Mr. Lo
 9
     angrily told Huynh that ABC Legal Service did comply with the Court process. Lo told
10

11   Huynh that if Huynh didn’t like it then he will cancel the order and refund Huynh the

12   money. Huynh asked Mr. Lo to send another server to serve Mr. deRubertis at his resi-

13   dence. Substitute service was effectuated upon deRubertis in his official capacity on Mar
14   15, 2022 in accordance with California Laws. Huynh filed an amended proof of service
15
     with the Court on Mar 31 (ECF 146). Despite knowing that ABC Legal Service properly
16
     served him the summons on Mar 15, 2020, Mr. deRubertis and his lawyer filed a frivo-
17
     lous motion to dismiss Rule 12(b) for improper purpose. Huynh emailed deRubertis’
18

19   counsel an analysis which proved that both Mr. deRubertis and Mr. Holder acted improp-

20   erly when they filed their motion to dismiss. See Exhibit 88.

21
            274.    In short, Mr. deRubertis committed wire fraud and/or caused others to
22

23   commit wire fraud by using email and/or cell phone to communicate with ABC Legal

24   Service (between California and Washington States) in an attempt to cause Huynh service

25   of process upon him, his wife, and the deRubertis Law Firm to be defective.
26

27

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     ‘                                               161
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 1                  The Circumstantial Evidence Discussed Below Led Huynh to Con-
                    clude That Each of the RICO Defendants Directly Influenced And/Or
 2                  Caused Other To Improperly Influence ABC Legal Service to Sabo-
 3                  tage Huynh’s Service of Process.

 4          275.    On March 14, 2022, Huynh emailed Vincent Lo at ABC Legal Service to

 5   put him and his employer on notice that ABC Legal Services provided Huynh with defec-
 6   tive proof of services which could cause Huynh’s lawsuit to be dismissed by this Court.
 7
     The proof of services that ABC Legal Services produced for Payne & Fears LLP, Orrick
 8
     Herrington & Sutcliffe LLP, Matthew Boyle, Mark Marchione, Kathy Von Lindern (per-
 9
     sonal capacity), Kari deRubertis, and Renee Quezada (personal capcity) listed the Oak-
10

11   land District Court as the Court that has jurisdiction on Huynh’s Lawsuit instead of the

12   San Francisco Court. See Exhibit 89. Additionally, the proof of services produced for

13   Payne & Fears LLP, Orrick Herrington & Sutcliffe LLP didn’t provide the details of who
14   the process server served the summons and complaint to. This was a violation of ABC
15
     Legal Service policy and procedure. See Exhibit 90.
16

17          276.    In summary, the circumstantial evidence discussed in in paragraph 218 to
18   236 proved that the RICO Defendants acted in a coordinate manner since the beginning
19
     of this litigation to execute a two-prong strategy to get Huynh’s Lawsuit against all the
20
     RICO Defendants dismissed by 1) caused Huynh’s service of process for at least one
21
     Corporate Defendant to be defective which led Huynh’s complaint against this Defendant
22

23   to be dismissed under Rule 12(b)(5), and 2) this enabled any one of the RICO Defendants

24   to get Huynh’s lawsuit against all the Defendants dismissed by filing a motion to dismiss

25   for failure to join an indispensable party under Rule 12(b)(7).
26

27

28
     ‘                                                162
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 1                                          CLAIMS FOR RELIEF
                                        FIRST CLAIM FOR RELIEF
 2                                 (Violations of RICO, 18 U.S.C. § 1962(c))
 3                                      (Against All RICO Defendants)

 4
                                        Legal Elements of a 1962(c) Claim
 5

 6       "To allege a RICO claim under 18 U.S.C. § 1962(c), the plaintiff must plead four elements:
         (1) conduct (2) of an enterprise (3) through a pattern of (4) racketeering activity. Stanford v.
 7       MemberWorks, Inc., 625 F.3d 550, 557 (9th Cir. 2010). It is also important to note that in
         RICO civil claim Huynh only needs to prove the elements above by preponderance of evi-
 8       dence versus the beyond reasonable doubt standards under criminal case.
 9       There are five components that the Plaintiff needs to prove:
10
            1. Existence of an enterprise.
11
            2. That Engaged or Affect in Interstate Commerce.
12
            3. The Defendants Participate in the Conduct or Management of the Enterprise.
13
            4. Through a pattern of racketeering activity
14
            5. Which Caused Injury to the Plaintiff’s properties
15

16
              278.    Elements #1 and #2 are proved at the Enterprise Level while Elements 3,4, and
17
     5 are proved at the Defendants level.
18
             279.     Huynh restates and incorporate herein by reference the preceding para-
19

20   graphs as if fully set forth herein. This claim is brought against the RICO Defendants for

21   actual damages and treble damages under 18 U.S.C. § 1964 for violations of 18 U.S.C. §

22   1962, et seq.
23
             Existence of the Walmart Shareholder Fraud Coverup Association in Fact
24
             Enterprise
25
              The Walmart Shareholder Fraud Coverup Enterprise Is an Association in
26            Fact Enterprise Form as Early as Late June 2016 and Continue To Today.

27

28
     ‘                                                   163
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 1           280.       The Walmart Shareholder Fraud Coverup Enterprise (referred herein as the
 2   WSF Coverup Enterprise) is an association-in-fact enterprise. It was formed as early as 2016
 3
     and continues to Mid 2021 for the common purpose of covering up Walmart’s $140 Bil fraud
 4
     against shareholders and ensuring a civil and criminal risk-free future for all of its members.
 5
     The Enterprise Consists of the Following Individual.
 6

 7       The Walmart Participants)

 8       •   Walmart Inc. and Walmart.com USA LLC
         •   Doug McMillion, President and CEO, Walmart Inc.
 9       •   Brett Biggs, Executive Vice President and Chief Financial Officer, Walmart
10       •   Marc Lore, former President and CEO, Walmart.com US.

11   The law firm of Gibson Dunn Crutcher Law Firm, including its employees and agents;
     and the GDC participants (aka the Rescue Squad).
12
         The Gibson Dunn Particpants
13
         •   Theodore Boutros, Senior Partner
14       •   Eugene Scalia, Senior Partner
15       •   Rachel Brass, Senior Partner

16       The other Law Firm participants
17       •   The deRubertis Law Firm, including its employees and agents; and the deRubertis par-
             ticipants i.e., David deRubertis and Kari deRubertis.
18
         •   The Payne & Fears Law Firm, including its employees and agents
19       •   The law firm of Orrick, Herrington & Sutcliffe, including its employees and agents
             i.e., Kenneth Herzinger and others
20

21       The ESI Providers
22       •   Epiq eDiscovery Solutions, Inc. including its employees and agents such as Doug
23           Kasales, Kathy Vonlindern, and others.
         •   Lighthouse Document Technologies, Inc. including its employees and agents, and the
24           e.g., Renee Quezada, and other
25
         The PR Machine (PR agencies and Journalists)
26
                    •   Matthew Boyle, a Bloomberg News’ Reporter.
27

28       The Investment Analysts
     ‘                                                 164
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 1                   •   BOFA Securities, Inc. including its employees and agents, such as Robert
                         Ohmes, Investment Analys.
 2

 3        The Federal Official

 4        •   Mark Marchione, former OSHA’s Regional Investigator

 5
          The Federal Judges52
 6
          •   Vince Chhabria, District Judge for the United States District Court for the Northern
 7            District of California
          •   Sallie Kim, Magistrate Judge for the United States District Court for the Northern Dis-
 8            trict of California.
 9

10            281.    As discussed in the paragraph above, the Walmart Shareholder Fraud Coverup

11   Enterprise was formed in late 2016 and operates through Mid-2021 (after the dismissal of
12
     Huynh’s 9th Circuit Court of Appeal Case). However, as discussed above the Enterprise starts
13
     up again after Huynh filed this instant lawsuit on Jan 10, 2022 in an attempt to obstruct
14
     Huynh from prosecute the RICO Enterprise and the RICO Defendants. The main purpose of
15
     the Enterprise was to coverup Walmart’s Shareholder Fraud Conducts for making misleading
16

17   statements of material facts to its investors in FY17 and FY18.

18            282.    The Walmart Shareholder Fraud Coverup Enterprise is an association in fact
19   enterprise because it met three criteria. First, it has a common purpose to coverup Walmart
20
     $140 Bil Shareholder Fraud Scheme. Second, there are tightly integrated and coordination of
21
     activities among its members to execute the two-pronged strategies discussed in paragraph 69.
22
     Third, it has longevity in its pursuit of its common purpose. The Enterprise formed sometime
23

24   late 2016 after Huynh raised his complaint to Walmart’s executives regarding Walmart’s po-

25

26

27

28   52
          Not named as Defendants in this complaint due absolute immunity protection.
     ‘                                               165
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 1   tential misconducts then continues to present day (attempting to obstruct Huynh from prose-
 2   cuting the instant lawsuit as well as continues to cover up Walmart’s $140 Bil shareholder
 3
     fraud scheme).
 4
         The Walmart Shareholder Fraud Coverup Enterprise Affect Interstate Commerce
 5
           283.       As discussed in previous paragraphs, to further its common objective the En-
 6

 7   terprise procured interstate services, move people/its members or others across state line, and

 8   engaged in predicate acts that used the instrument of interstate commerce.

 9         •    David and Kari deRubertis (based in California) signed an agreement with Epig
                eDiscovery Solutions, Inc (Based out of New York City) in Mid-2018 to provide
10
                ESI services that engaged in evidence destruction, mutilation and suppression.
11         •    Likewise, Walmart (Bentonville, AR) and Gibson Dunn (California) used the ser-
                vice of Lighthouse Document Technologies, Inc. (Based out of Seattle, WA) to fab-
12              ricate and manufacture evidence (discussed above for example, the Nov 30 email
                and RIF list). They also manipulated how they process other documents by bypass-
13              ing the industry standard ESI extraction/processing protocol.
14         •    David and Kari deRubertis caused Huynh to travel from Seattle, WA to Southern
                California, in order to collect confidential and non-public information that Huynh
15              submit to the SEC to execute the two prong-strategy discuss in paragraph 46 above.
           •    Additionally, the RICO Defendants used the instruments of Interstate Commerce
16              like emails, phone, internet video streaming, and US mails to effectuate the Enter-
                prise Common’s purpose.
17

18
           284.       In short, the evidence proved the Walmart Shareholder Fraud Enterprise met
19
     the Interstate Commerce Nexus requirement under RICO.
20

21         285.       The analysis of Element 3,4, and 5 will be conduct at an individual Defend-

22   ants. Please note that once Huynh proved the presume facts for the individual Defendants then

23   the Corporate Defendants would be liable for the actions and misconducts of their employees
24   and/or agent.
25

26

27

28
     ‘                                                166
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 1                 Individual Defendants Dough McMillon, Brett Biggs, and Marc Lore
 2

 3
           286.      As discussed above all three of these Defendants, engaged evidence white-
 4
     washing activities to make the misleading statements made by Walmart regarding the total
 5
     number of Marketplace SKUs to investors in FY17. They perpetrate in numerous predicate
 6

 7   acts (wire fraud and obstruction of an SEC proceeding etc.) to further the common purpose of

 8   the Enterprise. Additionally, these defendants also are the leaders which set strategy and di-

 9   rection for the Enterprise with the help of their trusted advisor at Gibson Dunn. In short, they
10
     not only participate in the conduct of the Enterprise but also involved its management.
11
           287.     These Defendants engaged in wire fraud as they engaged in the whitewashing
12
     evidence discussed above at numerous investors communication events such as Walmart’s
13
     Quarterly Earnings Calls, Annual Meetings with Walmart’s shareholders and investment ana-
14

15   lysts, they also attended various investment analyst conference to disseminate misleading

16   statements to whitewash evidence of Walmart’s misconducts. Additionally, they also caused
17   others to act on their behalf (e.g., David deRubertis, Ohmes, Boyles and others).
18
           288.     The predicate acts perpetrated by these Defendants were not random because
19
     the Enterprise have a framework, discussed above, to attack legal element #1 of the SEC Bur-
20
     den of Productions (i.e., to prove the non-existence of misleading statements of material
21

22   facts). Lastly, the predicate acts perpetrated and/or caused other to perpetrate in furtherance

23   of the Enterprise’s common purpose caused injury to Huynh’s properties (losing Huynh’s

24   SEC reward and losing Huynh’s SOX claims).
25          289.    Each of these three RICO Defendants hav engaged in multiple predicate acts,
26
     as described above. The conduct of each of the RICO Defendants constitutes a pattern of
27
     racketeering activity within the meaning of U.S.C. § 1961(5).
28
     ‘                                                167
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 1            290.   Huynh was injured in his property by reason of the RICO Defendants' viola-
 2   tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
 3
     Huynh’s claim to his SEC award and 2) loss of Huynh’s claim to his civil lawsuit against
 4
     Walmart, and 3) costs to appeal District Judge Vince Chhabria’s dismissal of Huynh’s com-
 5
     plaint against Walmart with the Ninth Circuit Court of Appeal.
 6

 7            291.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend-

 8   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and

 9   special damages and all appropriate compensatory relief.
10
              292.   Defendants’ conduct was a substantial factor in causing that harm. The above-
11
     described acts of Defendants, including by and through their managing agents, officers, or di-
12
     rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional manner in
13
     order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff’s rights.
14

15   Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests

16   an assessment of punitive damages against Defendants in an amount to be assessed at time of
17   trial.
18
              293.   Pursuant to 18 U.S.C. § 1964(c), Huynh is entitled to recover treble damages
19
     plus costs and attorneys' fees from the RICO Defendants.
20
              294.   Additionally, Walmart Inc. and Walmart.com USA LLC is also responsible for
21

22   the injuries sought by Huynh above because it is responsible for actions and misconducts of

23   its employee and/or agent.

24

25                           Individual Defendants Boutrous, Scalia, and Brass
26
              295.   As discussed above, these three defendants engaged in the conducts of the En-
27
     terprise (obstruction of the judicial proceeding by engaging evidence suppression, fabrication,
28
     ‘                                                 168
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 1   destruction, collection of confidential and non-public information from David deRubertis then
 2   and coordinate the activities among various members (including the Walmart Participants) in
 3
     furtherance of the Enterprise common purpose.). They also advised the Walmart participants
 4
     on strategies and tactics to defeat Legal Element #1 of the SEC 10-b 5 claim
 5
            296.    As discussed in details above, these Defendants used and/or cause other to use
 6

 7   the wire and/or mail infrastructure to carry out the Enterprise Fraudulent Coverup Scheme.

 8   For example, they engaged and/or cause other to engage in evidence destruction, fabrication,

 9   mutilation, and evidence suppression. They also caused Judge Chabbria to block Huynh from
10
     submitting evidence into the records to defend himself against Walmart’s Motion for Sum-
11
     mary Judgment. Additionally, by perpetrating all the described predicate acts above they also
12
     obstruct the judicial and SEC proceeding.
13
           297.     The predicate acts perpetrated by these Defendants were not random because
14

15   the Enterprise have a framework, discussed above, coordinate their activities with those order

16   RICO Defendants to attack legal element #1 of the SEC Burden of Productions (i.e., to prove
17   the non-existence of misleading statements of material facts) in order to obtain a non-enforce-
18
     ment action letter. Lastly, the predicate acts perpetrated and/or caused other to perpetrate in
19
     furtherance of the Enterprise’s common purpose caused injury to Huynh’s properties (losing
20
     Huynh’s SEC reward and losing Huynh’s SOX claims).
21

22          298.    Each of these three RICO Defendants have engaged in multiple predicate acts,

23   as described above. The conduct of each of the RICO Defendants constitutes a pattern of

24   racketeering activity within the meaning of U.S.C. § 1961(5).
25          299.     Huynh was injured in his property by reason of the RICO Defendants' viola-
26
     tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
27
     Huynh’s claim to his SEC award and 2) loss of Huynh’s claim to his civil lawsuit against
28
     ‘                                                169
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 1   Walmart, and 3) costs to appeal District Judge Vince Chhabria’s dismissal of Huynh’s com-
 2   plaint against Walmart with the Ninth Circuit Court of Appeal.
 3
              300.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
 4
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
 5
     special damages and all appropriate compensatory relief.
 6

 7            301.   Defendants’ conduct was a substantial factor in causing that harm. The above-

 8   described acts of Defendants, including by and through their managing agents, officers, or di-

 9   rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional manner in
10
     order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff’s rights.
11
     Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests
12
     an assessment of punitive damages against Defendants in an amount to be assessed at time of
13
     trial.
14

15            302.   Pursuant to 18 U.S.C. § 1964(c), Huynh is entitled to recover treble damages

16   plus costs and attorneys' fees from the RICO Defendants.
17            303.   Additionally, Gibson Dunn & Crutcher LLP. is also responsible for the injuries
18
     sought by Huynh above because it is responsible for actions and misconducts of its employee
19
     and/or agent.
20
                              Individual Defendants Kari and David deRubertis
21

22            278.   As discussed above, both Kari and David deRubertis engaged in the conducts

23   of the Enterprise (obstruction of the judicial proceeding by engaging evidence suppression,

24   fabrication, destruction, collecting a dissemination of confidential and non-public information
25   to the other RICO Defendants to further the Enterprise objective of covering up the $140
26
     Shareholder Fraud Scheme). Their conducts contributed to the defeat of Legal Element #1 of
27
     the SEC 10-b 5 claim
28
     ‘                                                 170
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 1          279.    As discussed in details above, these Defendants used and/or cause other to use
 2   the wire and/or mail infrastructure to carry out the Enterprise Fraudulent Coverup Scheme.
 3
     For example, they engaged and/or cause other to engage in evidence destruction, fabrication,
 4
     mutilation, and evidence suppression. They disseminate information to that result in the ob-
 5
     struction of the administrative of justice as well as obstruction of an official proceeding
 6

 7   (OSHA and SEC investigations).

 8         280.     The predicate acts perpetrated by Kari and David deRubertis were not random

 9   because the Enterprise have a framework in place to coordinate their activities with the other
10
     RICO Defendants to achieve the Enterprise’s common purpose. The predicate acts they perpe-
11
     trated eventually lead to the dismissal of Huynh’s SEC whistleblower case (attacking Legal
12
     Element #1 of the 10b-5 SEC action against Walmart). The predicate acts ultimately caused
13
     the dismissal of Huynh’s civil case.
14

15         281.     Lastly, these Defendants perpetrated predicate acts perpetrated and/or caused

16   other to perpetrate in furtherance of the Enterprise’s common purpose caused injury to
17   Huynh’s properties (losing Huynh’s SEC reward and losing Huynh’s SOX claims). Each of
18
     these three RICO Defendants have engaged in multiple predicate acts, as described above.
19
     The conduct of each of the RICO Defendants constitutes a pattern of racketeering activity
20
     within the meaning of U.S.C. § 1961(5).
21

22          282.     Huynh was injured in his property by reason of the RICO Defendants' viola-

23   tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of

24   Huynh’s claim to his SEC award and 2) loss of Huynh’s claim to his civil lawsuit against
25   Walmart, and 3) costs to appeal District Judge Vince Chhabria’s dismissal of Huynh’s com-
26
     plaint against Walmart with the Ninth Circuit Court of Appeal.
27

28
     ‘                                                 171
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 1            283.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
 2   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
 3
     special damages and all appropriate compensatory relief.
 4
              284.   Defendants’ conduct was a substantial factor in causing that harm. The above-
 5
     described acts of Defendants, including by and through their managing agents, officers, or di-
 6

 7   rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional manner in

 8   order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff’s rights.

 9   Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests
10
     an assessment of punitive damages against Defendants in an amount to be assessed at time of
11
     trial.
12
              285.   Pursuant to 18 U.S.C. § 1964(c), Huynh is entitled to recover treble damages
13
     plus costs and attorneys' fees from the RICO Defendants.
14

15            286.   Additionally, the deRubertis Law Firm, APC., is also responsible for the inju-

16   ries sought by Huynh above because it is responsible for actions and misconducts of its em-
17   ployee and/or agent.
18
                            Individual Defendants Kasales and Von Lindern
19
              287.   As discussed above, both Kasales and Von Lindern engaged in the conducts of
20
     the Enterprise (destruction, mutilation, and suppression of evidence which resulted in the ob-
21

22   struction of a judicial proceeding) in furtherance of the Enterprise’s common purpose to de-

23   feat Legal Element of the SEC 10b-5 claim and Huynh’s SOX claims). Their conducts con-

24   tributed to the defeat of Legal Element #1 of the SEC 10-b 5 claim
25            288.   As discussed in details above, these Defendants used and/or cause other to use
26
     the wire and/or mail infrastructure to carry out the Enterprise Fraudulent Coverup Scheme.
27
     For example, they engaged and/or cause other to engage in evidence destruction, fabrication,
28
     ‘                                                 172
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 1   mutilation, and evidence suppression. They disseminate information to that result in the ob-
 2   struction of the administrative of justice as well as obstruction of an official proceeding (SEC
 3
     investigations).
 4
            289.    The predicate acts perpetrated Kasales and Von Lindern were not random be-
 5
     cause they executed them within the framework established by the Enterprise in coordination
 6

 7   with the other RICO Defendants to achieve the Enterprise’s common purpose. The predicate

 8   acts they perpetrated contribute to the dismissal of Huynh’s SEC whistleblower case (attack-

 9   ing Legal Element #1 of the 10b-5 SEC action against Walmart) and the dismissal of Huynh’s
10
     SOX claim against Walmart.
11
            290.    Lastly, these Defendants perpetrated predicate acts in furtherance of the Enter-
12
     prise’s common purpose caused injury to Huynh’s properties (losing Huynh’s SEC reward
13
     and losing Huynh’s SOX claims). Each of these RICO Defendants have engaged in multiple
14

15   predicate acts, as described above. The conduct of each of the RICO Defendants constitutes a

16   pattern of racketeering activity within the meaning of U.S.C. § 1961(5).
17          291.        Huynh was injured in his property by reason of the RICO Defendants' viola-
18
     tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
19
     Huynh’s claim to his SEC award and 2) loss of Huynh’s claim to his civil lawsuit against
20
     Walmart, and 3) costs to appeal District Judge Vince Chhabria’s dismissal of Huynh’s com-
21

22   plaint against Walmart with the Ninth Circuit Court of Appeal.

23          292.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-

24   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
25   special damages and all appropriate compensatory relief.
26
            293.    Additionally, Epiq eDiscovery Solutions Inc., is also responsible for the inju-
27
     ries sought above because it is responsible for actions and misconducts of its employee and/or
28
     ‘                                                 173
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 1   agent. Please note there maybe other employees within Epiq eDiscovery Solutions, Inc. who
 2   engaged in the rendering of services to the deRubertis Law Firm who action may also caused
 3
     Epiq eDiscovery to be liable.
 4
                                     Individual Defendant Renee Quezada
 5
            294.    As discussed above, both Renee Quezada engaged in the conducts of the Enter-
 6

 7   prise (Fabrication of Evidence and Submitted False Evidence) in furtherance of the Enter-

 8   prise’s common purpose specifically to get Huynh’s Civil Claim against Walmart dismissed.

 9          295.    As discussed in details above, these Defendants used and/or cause other to use
10
     the wire and/or mail infrastructure to carry out the Enterprise Fraudulent Coverup Scheme.
11
     For example, they engaged and/or cause other to engage the manufacturing and production of
12
     false evidence which enable Walmart to fraudulent defeat Huynh’s lawsuit against them.
13
            296.    The predicate acts perpetrated Renee Quezada were not random because they
14

15   executed them within the framework established by the Enterprise in coordination with the

16   other RICO Defendants to achieve the Enterprise’s common purpose. The predicate acts they
17   perpetrated contribute to the dismissal of Huynh’s SOX claim against Walmart.
18
            297.    Lastly, the Defendant perpetrated predicate acts in furtherance of the Enter-
19
     prise’s common purpose caused injury to Huynh’s property i.e., the dismissal of Huynh
20
     Huynh’s SOX claims. Each of these RICO Defendants have engaged in multiple predicate
21

22   acts, as described above. The conduct of each of the RICO Defendants constitutes a pattern of

23   racketeering activity within the meaning of U.S.C. § 1961(5).

24          298.    Huynh was injured in his property by reason of the RICO Defendants' viola-
25   tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
26
     Huynh’s claim to his civil lawsuit against Walmart, and 2) costs to appeal District Judge
27

28
     ‘                                               174
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 1   Vince Chhabria’s dismissal of Huynh’s complaint against Walmart with the Ninth Circuit
 2   Court of Appeal.
 3
            299.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
 4
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
 5
     special damages and all appropriate compensatory relief.
 6

 7          300.    Additionally, Lighthouse Document Technologies, Inc. is also responsible for

 8   the injuries sought above because it is responsible for actions and misconducts of its em-

 9   ployee and/or agent (e.g., Renee Quezada). Please note there may be other employees within
10
     Epiq eDiscovery Solutions, Inc. who engaged in the rendering of services to the deRubertis
11
     Law Firm who action may also cause Lighthouse Document Technologies to be liable.
12
                                     Individual Defendant Matthew Boyle
13
            301.    As discussed above, Boyle engaged in the conducts of the Enterprise (Dissemi-
14

15   nate of false and misleading information to make the misleading statements made by

16   Walmart’s executives no longer misleading to further of the Enterprise’s common purpose to
17   defeat Legal Element No. 1 of the SEC 10b-5 claim. Their conducts contributed to the defeat
18
     of Legal Element #1 of the SEC 10-b 5 claim
19
            302.    As discussed in details above, these Defendants used and/or cause other to use
20
     the wire and/or mail infrastructure to carry out the Enterprise Fraudulent Coverup Scheme.
21

22   For example, Boyle involved in dissemination of misleading statements regarding the

23   Walmart Marketplace as well as other Walmart’s financial metric) the dissemination of false

24   information also result in the commission of obstruction of an official proceeding.
25          303.    The predicate acts perpetrated Boyle were not random because they were exe-
26
     cuted within the framework established by the Enterprise in coordination with the other RICO
27
     Defendants to achieve the Enterprise’s common purpose. The predicate acts they perpetrated
28
     ‘                                                 175
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 1   contribute to the dismissal of Huynh’s SEC whistleblower case (attacking Legal Element #1
 2   of the 10b-5 SEC action against Walmart).
 3
            304.    Lastly, these Defendants perpetrated predicate acts in furtherance of the Enter-
 4
     prise’s common purpose caused injury to Huynh’s properties (losing Huynh’s SEC reward).
 5
     Boyle engaged in multiple predicate acts, as described above. The conduct of each of the
 6

 7   RICO Defendants constitutes a pattern of racketeering activity within the meaning of U.S.C. §

 8   1961(5).

 9          305.     Huynh was injured in his property by reason of the RICO Defendants' viola-
10
     tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
11
     Huynh’s claim to his SEC award.
12
            306.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
13
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
14

15   special damages and all appropriate compensatory relief.

16                                      Individual Robert Ohmes
17          307.    As discussed above, Ohmes engaged in the conducts of the Enterprise (Dis-
18
     seminate of false and misleading information to make the misleading statements made by
19
     Walmart’s executives no longer misleading to further of the Enterprise’s common purpose to
20
     defeat Legal Element No. 1 of the SEC 10b-5 claim. These conducts contributed to the defeat
21

22   of Legal Element #1 of the SEC 10-b 5 claim

23          308.    As discussed in details above, Ohmes used and/or cause other to use the wire

24   and/or mail and Internet infrastructure to carry out the Enterprise Fraudulent Coverup
25   Scheme. For example, Ohmes involved in dissemination of misleading statements regarding
26
     the Walmart Marketplace as well as other Walmart’s financial metrics) the dissemination of
27
     false information also result in the commission of obstruction of an official SEC investigation.
28
     ‘                                                 176
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 1          309.    The predicate acts perpetrated Ohmes were not random because they were exe-
 2   cuted within the framework established by the Enterprise in coordination with the other RICO
 3
     Defendants to achieve the Enterprise’s common purpose. The predicate acts Ohmes perpe-
 4
     trated contribute to the dismissal of Huynh’s SEC whistleblower case (attacking Legal Ele-
 5
     ment #1 of the 10b-5 SEC action against Walmart).
 6

 7          310.    Lastly, these Defendants perpetrated predicate acts in furtherance of the Enter-

 8   prise’s common purpose caused injury to Huynh’s properties (losing Huynh’s SEC reward).

 9   Ohmes engaged in multiple predicate acts, as described above. The conduct of each of the
10
     RICO Defendants constitutes a pattern of racketeering activity within the meaning of U.S.C. §
11
     1961(5).
12
            311.     Huynh was injured in his property by reason of the RICO Defendants' viola-
13
     tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
14

15   Huynh’s claim to his SEC award.

16          312.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
17   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
18
     special damages and all appropriate compensatory relief.
19
            313.    Additionally, BOFA Securities Inc. which will be added as party in this action
20
     and replaced Bank of America Inc. is also responsible for the injuries sought above because it
21

22   is responsible for actions and misconducts of its employee and/or agent (e.g., Robert Ohmes).

23                                    Individual Marc Marchione

24          314.    As discussed above, Marchione engaged in the conducts of the Enterprise (ob-
25   struction of the OSHA investigation which allowed Walmart Inc. and the other RICO Defend-
26
     ants to take Huynh case to Federal Court where they leverage the relationship with Huynh to
27
     obtain Huynh from Huynh as well as disseminate false information to discredit Huynh with
28
     ‘                                                 177
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 1   the SEC). Marchione’s action contributed to the success of the Walmart Inc. to further of the
 2   Enterprise’s common purpose to defeat Legal Element No. 1 of the SEC 10b-5 claim.
 3
            315.    As discussed in details above, Marchione used and/or cause other to use the
 4
     wire and/or mail and Internet infrastructure to carry out the Enterprise Fraudulent Coverup
 5
     Scheme more than two instances. For example, Ohmes involved coordination with David
 6

 7   deRubertis and Payne & Fears via emails, mail and/or other mean of communications to ob-

 8   struct OSHA from investigating Huynh’s claim.

 9          316.    The predicate acts perpetrated Marchione were not random because they were
10
     executed within the framework established by the Enterprise in coordination with the other
11
     RICO Defendants to achieve the Enterprise’s common purpose. The predicate acts Marchione
12
     perpetrated contribute to the dismissal of Huynh’s SEC whistleblower case (attacking Legal
13
     Element #1 of the 10b-5 SEC action against Walmart).
14

15          317.    Lastly, Marchione perpetrated predicate acts in furtherance of the Enterprise’s

16   common purpose caused injury to Huynh’s properties (losing Huynh’s SEC reward). Mar-
17   chione engaged in multiple predicate acts, as described above. The conduct of his actions con-
18
     stitutes a pattern of racketeering activity within the meaning of U.S.C. § 1961(5).
19
            318.     Huynh was injured in his property by reason of the RICO Defendants' viola-
20
     tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
21

22   Huynh’s claim to his SEC award.

23          319.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-

24   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
25   special damages and all appropriate compensatory relief.
26

27

28
     ‘                                                 178
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 1                                Orrick Herrington & Sutcliffe LLP
 2          320.    As discussed above, Orrick’s employees and/or agents engaged in the conducts
 3
     of the Enterprise by collecting the misleading statements and manufacturing of evidence dis-
 4
     cussed above and worked with the Gibson Dunn and Walmart Participants to prove the non-
 5
     existence of the misleading statements made by Walmart to investors to the convince the SEC
 6

 7   that Walmart Inc. didn’t make misleading statements to investor). Ultimately, Orrick’s em-

 8   ployees and/or agents working together with the other RICO Defendants resulted in the SEC

 9   issuance of the non-enforcement actions against Walmart.
10
            321.    As discussed in details above, Orrick Herrington & Sutcliffe LLP used and/or
11
     cause other to use the wire and/or mail and Internet infrastructure to carry out the Enterprise
12
     Fraudulent Coverup Scheme. i.e., its involvement in the coordination and dissemination of
13
     misleading statements (regarding the whitewashing evidence statements made by Walmart to
14

15   investors to coverup the original misleading statements) to the SEC to be deceived and issue a

16   non-enforcement letter to Walmart.
17          322.    The predicate acts perpetrated by Orrick Herrington & Sutcliffe LLP’s em-
18
     ployees and/or agents were not random because they were executed within the framework es-
19
     tablished by the Enterprise in coordination with the other RICO Defendants to achieve the En-
20
     terprise’s common purpose. The predicate acts these individual perpetrated contribute to the
21

22   dismissal of Huynh’s SEC whistleblower case (attacking Legal Element #1 of the 10b-5 SEC

23   action against Walmart).

24          323.    Lastly, these Defendants perpetrated predicate acts in furtherance of the Enter-
25   prise’s common purpose caused injury to Huynh’s properties (losing Huynh’s SEC reward).
26
     Ohmes engaged in multiple predicate acts, as described above. The conduct of each of the
27

28
     ‘                                                179
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 1   RICO Defendants constitutes a pattern of racketeering activity within the meaning of U.S.C. §
 2   1961(5).
 3
            324.     Huynh was injured in his property by reason of the RICO Defendants' viola-
 4
     tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of
 5
     Huynh’s claim to his SEC award.
 6

 7          325.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-

 8   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and

 9   special damages and all appropriate compensatory relief.
10
                                           Payne & Fears LLP
11

12
            326.    As discussed above, Payne & Fears’ employees and/or agent engaged in the
13
     conducts of the Enterprise (obstruction of the OSHA investigation which allowed Walmart
14

15   Inc. and the other RICO Defendants to take Huynh case to Federal Court where they leverage

16   the relationship with Huynh to obtain Huynh from Huynh as well as disseminate false infor-
17   mation to discredit Huynh with the SEC). Payne & Fears’ employees and/or agent actions
18
     contributed to the success of the Walmart Inc. to further of the Enterprise’s common purpose
19
     to defeat Legal Element No. 1 of the SEC 10b-5 claim.
20
            327.    As discussed in details above, Payne & Fears’ employees and/or agents actions
21

22   and/or cause other to use the wire and/or mail and Internet infrastructure to carry out the En-

23   terprise Fraudulent Coverup Scheme much more than two instances of perpetration. For ex-

24   ample, Payne & Fears coordinated and communicated with Walmart, David deRubertis, and
25   Marchione via emails, mail and/or other mean of communications to obstruct OSHA from in-
26
     vestigating Huynh’s claim.
27

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 1          328.    The predicate acts perpetrated Payne & Fears’ employees and/or agents Mar-
 2   chione were not random because they were executed within the framework established by the
 3
     Enterprise in coordination with the other RICO Defendants to achieve the Enterprise’s com-
 4
     mon purpose. The predicate acts Payne & Fears’ employees and/or agents perpetrated contrib-
 5
     ute to the dismissal of Huynh’s SEC whistleblower case (attacking Legal Element #1 of the
 6

 7   10b-5 SEC action against Walmart).

 8          329.    Lastly, Payne & Fears’ employees and/or agents perpetrated predicate acts in

 9   furtherance of the Enterprise’s common purpose caused injury to Huynh’s properties (losing
10
     Huynh’s SEC reward). Payne & Fears’ employees and/or agents engaged in multiple predi-
11
     cate acts, as described above. The conduct of his actions constitutes a pattern of racketeering
12
     activity within the meaning of U.S.C. § 1961(5).
13
            330.     Huynh was injured in his property by reason of the RICO Defendants' viola-
14

15   tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of

16   Huynh’s claim to his SEC award.
17          331.    Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
18
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
19
     special damages and all appropriate compensatory relief.
20
                                         CLAIMS FOR RELIEF
21                                 SECOND CLAIM FOR RELIEF
22                              (Violations of RICO, 18 U.S.C. § 1962(d))
                                      (Against All RICO Defendants)
23                         Legal Elements of an 18 U.S.C. § 1962(d) Claim

24
         Under 18 U.S.C. § 1962(d), it is unlawful for any person to conspire to violate subsec-
25       tions (a), (b), or (c) of RICO. 18 U.S.C. § 1962(d).

26       The essential elements of a § 1962(d) conspiracy include: (1) knowledge of the corrupt
         enterprise's activities and (2) agreement to facilitate those activities. Salinas v. United
27       States, 522 U.S. 52, 66 (1997); Rose v. Bartle, 811 F.2d 331, 366 (3d Cir. 1989). Be-
28
     ‘                                                 181
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 1       cause there is no requirement of some overt or specific act, the RICO conspiracy pro-
         vision is even more comprehensive than the general conspiracy offense. Salinas, 522
 2
         U.S. at 63. Thus, "a defendant may be held liable for conspiracy to violate section
 3       1962(c) if he knowingly agrees to facilitate a scheme which includes the operation or
         management of a RICO enterprise." Smith v. Berg, 247 F.3d 532, 538 (3d Cir. 2001);
 4
         see also Salinas, 522 U.S. at 64 ("If conspirators have a plan which calls for some con-
 5       spirators to perpetrate the crime and others to provide support, the supporters are as
         guilty as the perpetrators.
 6

 7

 8          332.    Huynh realleges and incorporates herein by reference each and every foregoing
 9   paragraph of this Complaint as if set forth in full.
10
            333.    The RICO Defendants have unlawfully, knowingly and willfully combined,
11
     conspired, confederated and agreed together and with others to violate 18 U.S.C. § 1962(c) as
12
     described above, in violation of 18 U.S.C. § 1962(d).
13

14          334.    Using the framework to prove the existence of an agreement to engage in a

15   conspiracy and the specificity of the RICO Defendants’ commission of the illegal predicate

16   acts, it was more probable than not RICO Defendant had an agreement in place to violate 18
17   U.S.C. § 1962(d) for several reasons. Huynh alleges in details the very same elements that
18
     each Defendants above perpetrated. The only different here is instead of repeating the analy-
19
     sis as to each Defendants, Huynh will perform the analysis for all the Defendant then at the
20
     end Huynh will sought injuries as to each Defendants as discussed in the First Cause of Ac-
21

22   tion discussed above.

23          335.    The predicate acts and/or overt acts committed by the RICO Defendants as de-

24   scribe above were coordinated and interdependence of each other which resulted in the fulfill-
25
     ment of the Walmart’s Shareholder Fraud Enterprise’s common purpose. In short, the above
26
     factual allegations and analyses proved that it is more likely than not that the RICO Defend-
27
     ants entered in an agreement to conspire to violated 18 U.S.C. § 1962(c).
28
     ‘                                                  182
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 1            336.   Additionally, due to the high level of coordination and interdependency of the
 2   predicate acts and over acts perpetrated by the RICO Defendants, it was more likely than not
 3
     that RICO Defendants (specifically the Walmart Participants) had knowledge of the WSF
 4
     Coverup Enterprise’s activities.
 5
              337.   In short, there was an agreement among the RICO Defendants to conspire to
 6

 7   participate in the management and/or operation of the WSF Coverup Enterprise for the com-

 8   mon purpose of covering up Walmart’s $140 Bil fraud against shareholders and to ensure a

 9   criminal and civil risk-free future for the RICO Defendants. Therefore, the RICO conspired to
10
     violate 18 U.S.C. § 1962(c) in violation of 18 U.S.C. § 1962(d).
11
              338.   As a direct and proximate result of the RICO Defendants' conspiracy, the acts
12
     of racketeering activity of the Enterprise, the overt acts taken in furtherance of that conspir-
13
     acy, and violations of 18 U.S.C. § 1962(d), Huynh has been injured in his business and prop-
14

15   erties. The injuries sought as to each of the Defendants had already been discussed in the

16   First Cause of Actions to Huynh will not repeat it here in the interest of non-redundancy.
17            339.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
18
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
19
     special damages and all appropriate compensatory relief.
20
              340.   Defendants’ conduct was a substantial factor in causing that harm. The above-
21

22   described acts of Defendants, including by and through their managing agents, officers, or di-

23   rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional man-ner

24   in order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff’s rights.
25   Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests
26
     an assessment of punitive damages against Defendants in an amount to be assessed at time of
27
     trial.
28
     ‘                                                 183
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 1          341.     Pursuant to 18 U.S.C. § 1964(c), Huynh is entitled to recover treble damages
 2   plus costs and attorneys' fees from the RICO Defendants.
 3
                                     CLAIMS FOR RELIEF
 4                               THIRD CLAIM FOR RELIEF
                                        (Bivens Actions)
 5           (For the Named RICO Defendants Except the Excluded the Defendants Below53)
 6
                                          Elements of a § 1983 Action
 7
             “Traditionally, the requirements for relief under [§] 1983 have been articulated as: (1)
 8
     a violation of rights protected by the Constitution or created by federal statute, (2) proxi-
 9
     mately caused (3) by conduct of a ‘person’ (4) acting under color of state law.” Crumpton v.
10
     Gates, 947 F.2d 1418, 1420 (9th Cir. 1991). Or, more simply, courts have required plaintiffs
11
     to “plead that (1) the defendants acting under color of state law (2) deprived plaintiffs of
12
     rights secured by the Constitution or federal statutes.” Gibson v. United States, 781 F.2d
13
     1334, 1338 (9th Cir. 1986); see also Pistor v. Garcia, 791 F. 3d 1104, 1114 (9th Cir. 2015.
14

15
            342.    As the factual allegations above showed the named Defendants entered into an
16
     agreement with Judge Chhabria and Magistrate Judge Kim to committed overact acts to injure
17

18   Huynh in his property (specifically the dismissal of his SOX claims against Walmart Stores

19   Inc.). In the process of committed the overt act in further of the Walmart’s Shareholder Fraud

20   Coverup Enterprise’s common purpose, the Defendant Violated Huynh’s Right to Substantive
21   Due Process (i.e., right to access to the Court) and Equal Protection Under Law as guaranteed
22
     by the Fifth amendment of the constitution.
23

24          343.    As discussed above, the Defendants named in this cause of actions engaged in
25   over acts that violated Huynh’s substantive right to due process i.e., the right to have access to
26

27
     53
       This third cause of actions applied to all the Defendants except the following excluded De-
28   fendants: Payne & Fears, Orrick, Herrington & Sutcliffe, Ohmes, Boyle, and Marchione.
     ‘                                                 184
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 1   the Court by engaging evidence fabrication, destruction, and suppression which resulted in the
 2   dismissal of Huynh’s SOX Complaint against Walmart. Additionally, the named Defendants
 3
     also caused District Judge Vince Chhabria and Magistrate Judge Sallie Kim to treat Huynh
 4
     differently than other litigants (obstructed Huynh from entering evidence into the record (e.g.,
 5
     didn’t rule on Huynh’s motion for leave to supplement material facts so Huynh could defend
 6

 7   himself against Walmart’s motion for summary judgment, allowed Walmart to classify docu-

 8   ments as confidential when in the fact they were not to prevent Huynh from using them to

 9   prosecute his case against Walmart) that appeared in their Court’s room for no national basis
10
     (i.e., Huynh’s claim of deprivation of his Equal Protection Class of One). These Defendants
11
     were integral participants in the conspiracy with the other Defendants to commit overt acts
12
     which they knew or should have known will cause injuries to Huynh’s properties.
13

14          344.     In summary, each of the RICO Defendant knowingly participated in a conspir-
15
     acy with federal officials and has engaged in overt acts, as described above in furtherance of
16
     the WSF Coverup Enterprise’s illegal common purpose i.e., to conceal Walmart’s $140 Bil
17
     fraud against shareholders. As a foreseeable result of these overt acts, Huynh was injured in
18

19   his properties which include but are not limited to the loss of Huynh’s civil lawsuit against

20   Walmart, and the costs to appeal District Judge Vince Chhabria’s dismissal of Huynh’s com-

21   plaint with the United States Court of Appeals for the Ninth Circuit.
22

23          345.    Furthermore, the overt acts committed by the named Defendants in furtherance

24   of the WSF Coverup Enterprise’s common purpose, caused injuries to Huynh’s constitutional

25   properties (i.e., the loss of Huynh’s SOX claim against Walmart) through the violations of
26

27

28
     ‘                                                185
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 1   Huynh’s rights under the Fifth Amendment of the US Constitution. Namely, The RICO De-
 2   fendants robbed Huynh’s right to procedural and substantive due process and equal protection
 3
     under law (class of one).
 4

 5            346.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend-
 6   ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
 7
     special damages and all appropriate compensatory relief.
 8

 9            347.   Defendants’ conduct was a substantial factor in causing that harm. The above-

10   described acts of Defendants, including by and through their managing agents, officers, or di-
11
     rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional manner in
12
     order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff’s rights.
13
     Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests
14
     an assessment of punitive damages against Defendants in an amount to be assessed at time of
15

16   trial.

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     ‘                                                 186
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 1                     VERIFICATION OF FIRST AMENDED COMPLAINT
 2
         I, Tri Minh Huynh, hereby verify, under penalty of perjury, as follows:
 3

 4       I am over the age of 18 years. I am Plaintiff acting Pro Se in the above-entitled action, I
 5       have personal knowledge of the facts set forth in this Verified First Amended Complaint,

 6       and if called upon to do so, I could and would competently testify thereto.

 7       I verify under penalty of perjury under the laws of the United States that the foregoing is
 8       true and correct to the best of my knowledge, information, and belief.
 9
         Executed on this 6th day of April, 2022 in Bellevue, WA.
10

11
             Dated: April 6, 2022                           Respectfully submitted,
12                                                          /s/ Tri Minh Huynh
                                                            Tri Minh Huynh
13                                                          4015 134th Ave SE
                                                            Bellevue, WA 98006
14                                                          Telephone: (408) 757-5516
15                                                           Email: trimhuynh@outlook.com

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